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                    EXHIBIT 5
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                                                                           1                                                                                            2


 1                         UNITED STATES OF AMERICA                                         1   APPEARANCES OF COUNSEL:
                         UNITED STATES DISTRICT COURT
 2                      CENTRAL DISTRICT OF CALIFORNIA                                      2
                               WESTERN DIVISION
 3                                                                                          3   ON BEHALF OF PLAINTIFF:
                                  - - -
 4                     HONORABLE MARK C. SCARSI                                             4               KNOBBE, MARTENS, OLSON & BEAR, LLP
                 UNITED STATES DISTRICT JUDGE PRESIDING
 5                                - - -                                                     5               BY: CHRISTY LEA, ESQ.

 6                                                                                          6                  JOSEPH RE, ESQ.
      PAVEMETRICS SYSTEMS, INC.,        )
 7                                      )                                                   7                  NICHOLAS ZOVKO, ESQ.
               PLAINTIFF,               )
 8                                      )                                                   8                  ALAN LAQUER, ESQ.
      VS.                               )          CASE NO.:
 9                                      )          CV 21-01289-MCS                          9               2040 MAIN STREET
      TETRA TECH, INC.,                 )
10                                      )                                                  10               14TH FLOOR
               DEFENDANT.               )
11                                      )                                                  11               IRVINE, CA 92614
     ___________________________________)
12                                                                                         12

13                                                                                         13   ON BEHALF OF DEFENDANT:

14                                                                                         14               FINNEGAN HENDERSON
                  REPORTER'S TRANSCRIPT OF PROCEEDINGS
15                                                                                         15               BY: JAMES BARNEY, ESQ.
                          WEDNESDAY, AUGUST 24, 2022
16                                                                                         16                  AARON PARKER, ESQ.
                              LOS ANGELES, CALIFORNIA
17                                                                                         17                  NICHOLAS CERULLI, ESQ.

18                                                                                         18                  JENCY MATHEW, ESQ.

19                                                                                         19                  DANIEL CHUNG, ESQ.

20                                                                                         20               901 NEW YORK AVENUE NW

21                                                                                         21               WASHINGTON, DC 20001

22                                                                                         22
                         LAURA MILLER ELIAS, CSR 10019
23                      FEDERAL OFFICIAL COURT REPORTER                                    23
                        350 WEST 1ST STREET, ROOM 4455
24                       LOS ANGELES, CALIFORNIA 90012                                     24
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25                                                                                         25



                         UNITED STATES DISTRICT COURT                                                             UNITED STATES DISTRICT COURT




                                                                           3                                                                                            4


 1                                     INDEX                                                1   LOS ANGELES, CALIFORNIA; WEDNESDAY, AUG. 24, 2022; 8:42 A.M.

 2   WITNESSES FOR                                                                          2                                  - - -
     PAVEMETRICS:
 3                                                                                          3               THE CLERK:   Calling Case No. CV 21-1289.
                        DIRECT       CROSS        REDIRECT     RECROSS
 4                                                                                          4               Pavemetrics systems versus Tetra Tech, TAS.

 5   FRAKES, DAVID                                                                          5               Counsel, state your appearances, please.
     BY: MR. LAQUER       8                        28
 6   BY: MR. CHUNG                     9                                                    6                 (Appearances as heretofore noted.)

 7                                                                                          7               THE COURT:   Good morning.      So we've got one more
     REBUTTAL CASE
 8                                                                                          8   jury instruction issue; right?         Who is ready to address that?
     WITNESS
 9   FOR TETRA TECH:                                                                        9               MR. CHUNG:   Yes, Your Honor.        The parties have

10   MORELLAS,                                                                             10   reached an agreement on Instruction No. 21.          We have red line
     VASSILIOS
11                                                                                         11   copies for you.   If I may approach?
     BY:   MR. BARNEY     33                             101
12   BY:   MR. LAQUER                        84                      107                   12               THE COURT:   Please, thank you.        Okay.   This looks

13                                                                                         13   fine to me.   Is this agreed to by the parties?

14                                                                                         14               MR. RE:   Subject to your rulings, yes, Your Honor.
     JURY INSTRUCTIONS.................................. 108
15                                                                                         15               THE COURT:   Thank you.      Yeah.   And I will note for
     RULE 50 MOTION..................................... 144
16                                                                                         16   the record that there are objections outstanding to the

17   CLOSING ARGUMENT                                                                      17   Court's ruling which impact this instruction, and the parties

18   BY:   MR. BARNEY.................................... 164, 242                         18   have revised it in line with the Court's rulings

19   BY:   MS. LEA....................................... 204                              19   notwithstanding their objection.

20                                                                                         20               Thank you.   Okay, we'll make this change.

21   VERDICT............................................ 252                               21               We're all set on jury instruction and verdict form.

22                                                                                         22               What else do we need to discuss before the jury

23                                                                                         23   comes in?

24                                                                                         24               MR. RE:   Your Rule 50 A practice, Your Honor, I'm

25                                                                                         25   not familiar with how you like it done.          Is there anything



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                                                                          5                                                                                         6


 1   that needs to be in writing, and by when?                                             1                THE COURT:    Okay.    So does that work for Tetra

 2              THE COURT:    I think we can -- I mean, typically, I                       2   Tech?

 3   handle with oral motions, but it might make sense if the                              3                MR. BARNEY:     Yes, Your Honor, that's fine.

 4   parties feel like they would like to brief it, then I'm fine                          4                MR. RE:    I did receive instructions that we will be

 5   with that as well.                                                                    5   filing, the video transcripts, and make them part of the

 6              MR. RE:   And when would you like a Rule 50 A motion                       6   record although they obviously don't go to the jury, but they

 7   by?                                                                                   7   will be made part of the record today.

 8              THE COURT:    Um, let me see.     Why don't do we this.                    8                THE COURT:    Okay.

 9   Why don't we -- I guess we could deal with them -- if the                             9                MR. CHUNG:    No objection.

10   jury is gonna be going out this afternoon, they'll likely                            10                THE COURT:    Okay, anything else?

11   come back some time tomorrow.     Maybe we could deal with it --                     11                MS. LEA:     Well, I just will mention that we intend

12   maybe we could deal with it in the morning while the jury's                          12   to lodge the slides that we used with John Laurent to make

13   out?                                                                                 13   them part of the record.

14              MR. RE:   Well, I do have -- I suggest we have a few                      14                THE COURT:    Is there gonna be an objection to that?

15   minutes of oral presentation before the jury deliberates just                        15                MR. CHUNG:    If they're gonna be lodged in the

16   in case there's something that may be possibly removed from                          16   record for the jury, I think we would object to that.

17   the verdict form.                                                                    17                MS. LEA:     So I meant for the appellate court

18              THE COURT:    Okay.                                                       18   record, not for going back to the jury.

19              MR. RE:   Then all issues will be preserved subject                       19                THE COURT:    Okay.    What does Tetra Tech think about

20   to a writing subsequently to the schedule you set.                                   20   that?

21              THE COURT:    Okay.   So why don't we do this.   Why                      21                MR. CHUNG:    That's fine.    We have no objection to

22   don't we talk about it once we do the -- we'll do the jury                           22   that, Your Honor.

23   instructions hopefully before lunch, and then we can do                              23                THE COURT:    Okay, great.    Okay, anything else?

24   Rule 50 A motions over lunch.                                                        24                MR. LAQUER:     Your Honor, the parties have agreed to

25              MR. RE:   Thank you.                                                      25   submit the file history of the patents.



                        UNITED STATES DISTRICT COURT                                                                UNITED STATES DISTRICT COURT




                                                                          7                                                                                         8


 1              THE COURT:    And what are the exhibit numbers for                         1                THE CLERK:    All rise.

 2   the file history?                                                                     2                                (Jury present.)

 3              MR. LAQUER:    Exhibit No. 611 is the file history of                      3                THE COURT:    Welcome back to the jurors.    Thanks for

 4   the '557 patent.                                                                      4   all your hard work and paying so careful attention.          We'll

 5              THE COURT:    Okay.                                                        5   pick up where we left off.         We had a witness on the stand

 6              MR. LAQUER:    Exhibit No. 612 is the file history of                      6   being presented by Pavemetrics.

 7   the '293 patent.                                                                      7                You can proceed, Counsel.

 8              THE COURT:    Okay.                                                        8                        DIRECT EXAMINATION (RESUMED)

 9              MR. LAQUER:    And Exhibit No. 613 is the file                             9   BY MR. LAQUER:

10   history of the provisional patent application.                                       10   Q.      Welcome back, Dr. Frakes.

11              THE COURT:    Okay.   I'll wait until the jury comes                      11   A.      Thank you.

12   and put those are the record just so they're aware that                              12   Q.      Have you reviewed the MATLAB cracks files?

13   they're going to be in evidence.                                                     13   A.      I have.

14              MR. LAQUER:    Understood.   And I belive there's                         14   Q.      And what is your opinion regarding invalidity of Claim 8

15   already a printed set.    These are several thousand pages long                      15   of the '557 based on the UML system using that file?

16   so we would just request if we could take the existing                               16   A.      Um, my opinion is that a person of ordinary skill in the

17   printed set and make those available in the event that the                           17   art would find that claim obvious based on the UML sale.

18   jury does wish to refer to the file histories.                                       18   Q.      Is there any nexus between what Dr. Morellas alleges to

19              THE COURT:    Okay.   And the printed set is 611, 612                     19   be the patented feature and any secondary considerations of

20   and 613?                                                                             20   nonobviousness?

21              MR. LAQUER:    Yes, Your Honor.                                           21   A.      I don't see a nexus there because the features that

22              THE COURT:    Okay.   Anything else?                                      22   Dr. Morellas claims infringe are actually unused and

23              MR. BARNEY:    Nothing, Your Honor.                                       23   experimental features.

24              THE COURT:    They'll come in as soon as the jury is                      24   Q.      Has Dr. Morellas shown whether Tetra Tech's 3DTAS system

25   back.   Thank you.                                                                   25   utilizes Claims 1 and 21 of the '293 patent?



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                                                                          9                                                                                       10


 1   A.   No, he has not.                                                                  1   A.   Good morning.

 2   Q.   Why not?                                                                         2   Q.   And it's nice to meet you.       My name's Daniel Chung.     And

 3   A.   Uh, well, because he claims that it's the Tetra Tech                             3   I heard that you tried out for the, I guess, now Washington

 4   neural network that, uh, practices those claims, and he's                             4   Commanders football team, but didn't make the team; right?

 5   never looked at the neural network.                                                   5   As a long time D.C. sports fan and a D.C. native, I just want

 6                MR. LAQUER:     I pass the witness.                                      6   to note for the record that I think if you tried out this

 7                THE COURT:     Okay.   Thank you, Counsel.                               7   year, you may have a chance.       So think about that.

 8                Cross-examination?                                                       8                Let's just jump right into your opinions that you

 9                MR. CHUNG:     Yes, Your Honor.                                          9   just gave, and I want to start with infringement if we.         Can

10                THE COURT:     Oh, I'm sorry, yes.    And before I                      10   you can turn to slide 22 of your demonstratives?       Dr. Frakes,

11   forget, the parties have agreed to move in some exhibits that                        11   on top of the slide, it states noninfringement, sold without

12   are the file histories of the patents.          And these are the                    12   sensors in communication.      Did I read that correctly?

13   back and forth between the patentee and the Patent Office,                           13   A.   Yes, you did.

14   and they're kind of big documents, but they go through how                           14   Q.   And Doctor, you agree that the accused LRAIL systems

15   what was originally filed, how it was modified, those things.                        15   include sensors and at least one processor such as an

16                There are three of them.     Exhibit 611 is the file                    16   acquisition computer?

17   history for the '557 patent.        Exhibit 612 is the file history                  17   A.   They do include those parts.

18   for the '293.    And Exhibit 613 is a file history for the                           18   Q.   And Doctor, you agree that in order for the accused

19   provisional.    This was the first filing that lead to the                           19   LRAIL systems to operate, to collect and process data, the

20   patents.   And so 611, 612 and 613 are now in evidence.                              20   sensors are going to be in communication with at least that

21                   (Exhibits 611, 612, 613 admitted.)                                   21   acquisition computer.

22                THE COURT:     You can proceed, Counsel.                                22   A.   After the sale, correct.

23                               CROSS-EXAMINATION                                        23   Q.   And why don't we turn to slide 23 of your

24   BY MR. CHUNG:                                                                        24   demonstratives.     And if we can please zoom in on the

25   Q.   Good morning, Dr. Frakes.                                                       25   highlighted part of where it says controller, cables,



                        UNITED STATES DISTRICT COURT                                                               UNITED STATES DISTRICT COURT




                                                                         11                                                                                       12


 1   installation.    And I just want to highlight a part that I                           1   And Doctor, yesterday you told the jury that you looked into

 2   think you missed during your direct examination, and it                               2   the LRAIL TensorFlow folder.       Do you remember that?

 3   states the controller interfaces data and control signals                             3   A.   I do.

 4   between the host computer and the laser profilers.         Did I                      4   Q.   Doctor, you, in fact, did not review the LRAIL

 5   read that correctly, Dr. Frakes?                                                      5   TensorFlow code.

 6   A.   You did.                                                                         6   A.   Yes, I did.

 7   Q.   And I'm just trying to get a sense of what your position                         7   Q.   I'd like you to turn to your deposition testimony,

 8   is here so I'm gonna -- I'm gonna try to explain it.          Is what                 8   page 137, line 21 to page 138 to line 1.

 9   you're saying is that anybody abroad including in Canada can                          9                THE COURT:    Okay, let me look at that first,

10   sell as many infringing systems to U.S. customers to their                           10   Counsel.

11   heart's content and then escape liability for patent                                 11                THE WITNESS:   Sorry, can you restate where I can

12   infringement by simply delivering the system in separate                             12   find that?

13   boxes?   Is that the understanding of the law that you applied                       13                THE COURT:    Hang on one second.   Let me look at it

14   in your analysis?                                                                    14   first.    137, line 21 to 138, line 1; is that right?

15                MR. LAQUER:     Objection.                                              15                MR. CHUNG:    Yes, Your Honor.

16                Calls for a legal conclusion.                                           16                THE COURT:    And you wanna read that into the

17                THE COURT:     Uh, he can go ahead and answer it with                   17   record?

18   respect to your analysis of your opinion of infringement.                            18                MR. CHUNG:    Yes, Your Honor.

19                THE WITNESS:    Uh, no, I certainly didn't make any                     19                THE COURT:    Okay.   Any objection, Counsel?

20   claim that broad.    I think what I said was that the system                         20                MR. LAQUER:    Improper impeachment, Your Honor.

21   isn't plugged in when it's sold.                                                     21                THE COURT:    I think you can read it.   Go ahead.

22   BY MR. CHUNG:                                                                        22                MR. CHUNG:

23   Q.   Okay.     Well, Doctor, I believe the jury instructions                         23                "Q.   Okay.   And you said you didn't review the

24   will clarify all this.       Let's go to slide 18 of your                            24   TensorFlow code; correct?

25   demonstratives, and I wanna talk about the neural network.                           25                "A.   Correct."



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                                                                           13                                                                                        14


 1   Q.      Dr. Frakes, did I read that correctly?                                          1                MR. CHUNG:

 2                   MR. LAQUER:    I'm going to object that that was not                    2                "Q.   Have you reviewed the LRAIL neural network

 3   the full area that was identified.          There were higher line                      3   algorithms?

 4   numbers beginning at line 16, I believe, counselor said that                            4                "A.   I've seen code that calls them, and I'm

 5   he was seeking to read in?                                                              5   familiar with graphics that Pavemetrics has provided that

 6                   THE COURT:    I think we're okay.   Go ahead.                           6   demonstrate the architecture.       I have not reviewed their

 7   BY MR. CHUNG:                                                                           7   TensorFlow code directly, but I'm familiar with surrounding

 8   Q.      Dr. Frakes, did I read that correctly?                                          8   code, and I'm familiar with TensorFlow at a very basic level,

 9   A.      You did read that correctly.                                                    9   of course, from my previous work.

10   Q.      And Doctor, yesterday you testified to the jury that you                       10   Q.   Dr. Frakes, did I read that correctly?

11   looked inside the LRAIL neural network.          Do you remember                       11   A.   You did read that correctly.

12   that?                                                                                  12   Q.   Doctor, you do not dispute that the LRAIL uses a

13   A.      I do.                                                                          13   convolutional neural network with a convolution filter.

14   Q.      Doctor, it is true that you have not directly reviewed                         14   A.   Uh, I do not dispute that.

15   the LRAIL neural network algorithms?                                                   15   Q.   You do not dispute that the LRAIL convolution filter is

16   A.      That is not true.                                                              16   a zone of limited area.

17   Q.      I'd like to direct your attention to page 126, line 21                         17   A.   Yes, it is a zone of limited area.

18   to page 127, line 7 of your deposition transcript.                                     18   Q.   And aside from your position on the stride parameter of

19                   THE COURT:    Okay.   Any objection to 126, line 21                    19   two, you do not dispute that the LRAIL convolution filter

20   through 127, line 7?          Is that correct?                                         20   slides across an input image.

21                   MR. LAQUER:    Yes, Your Honor, improper impeachment.                  21   A.   With a slide -- with a stride value of two skipping

22                   THE COURT:    Was that the correct site?                               22   every other element, yes, it does slide across the -- the

23                   MR. CHUNG:    That was the correct site, Your Honor.                   23   image at the top input layer.

24                   THE COURT:    And you think it's improper?                             24   Q.   And it is true, Doctor, that you cannot say with

25                   Um. . . I think you can read it.     Go ahead.                         25   certainty whether or not the LRAIL convolution filter is a



                             UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                           15                                                                                        16


 1   gradient operator.                                                                      1   doing gradient measurements, you would actually have to, you

 2   A.      I can't say that it is.       That's for certain.                               2   know, look in and pull a filter out and say okay, well, this

 3   Q.      And you cannot say that it is not.                                              3   particular filter here does that, and that's not something I

 4   A.      Well, the filters that I looked at in the neural network                        4   have done so I can say that they do -- they do gradient

 5   were not gradient filters, and I did look.                                              5   operations, you know, with certainty."

 6                   MR. CHUNG:    I'd like to direct you and the Court's                    6   Q.   Doctor, did I read that correctly?

 7   attention page 123, lines 4 through 17 of your deposition                               7   A.   You did.      And I -- I think the issue we're running into

 8   transcript.                                                                             8   over and over here again is -- is timing.       Um, there are

 9                   THE COURT:    Any objections?                                           9   multiple --

10                   MR. LAQUER:    Again, this does not appear to be                       10                THE COURT:     He just asked you whether you read it

11   proper attempted impeachment, Your Honor.                                              11   correctly.    On redirect, you can -- you can explain that.

12                   THE COURT:    And the question was you could not say                   12                THE WITNESS:    Yes, Your Honor.

13   that they -- well, can I hear the question again?            Can -- can                13   BY MR. CHUNG:

14   you restate the question?                                                              14   Q.   Let's turn to slide 24 of your demonstratives.       Doctor,

15               MR. CHUNG:        You cannot say with certainty whether                    15   throughout this trial, we've been talking about Fake3D and

16   or not the LRAIL convolution filter is a gradient operator.                            16   mixed images.      Right?

17                   THE COURT:    Okay.   You can go ahead and read it.                    17   A.   Correct.

18                   MR. CHUNG:                                                             18   Q.   And Doctor, you agree that the Mixed Image in the

19                   Q.    Do convolutional neural networks ever calculate                  19   accused LRAIL software meets the court's definition of track

20   gradient measurements?                                                                 20   elevation map.

21                   "A.    Do they ever calculate gradient measurements?                   21   A.   Yes, although it was never configured to run.

22   Well, you would have to know what a filter is inside of the                            22   Q.   Doctor, you agree that the Mixed Image in the accused

23   network, and they are learned.          You know, they are not                         23   LRAIL software meets the court's definition of track

24   specified so filters within the networks, they become what                             24   elevation map?

25   they become.          And so if you wanted to see if filters were                      25   A.   I do.



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                                                                           17                                                                                       18


 1   Q.      Let's turn to slide 15 of your demonstratives.       And I                      1   rules.    Please identify yourselves so court reporter can take

 2   just want to highlight the source code are and the version                              2   it down.

 3   number.    Doctor, for the r10323 version of source code, it is                         3               MR. LAQUER:     We object.   This is violating the

 4   enabled to identify features from Fake3D by a configuration                             4   Court's summary judgment order.

 5   file; correct?                                                                          5               MS. LEA:     So this is actually combining that

 6   A.      It can be.                                                                      6   software version r10323 with the system that was sold in

 7   Q.      Let me try that again.      For the r10232 version of source                    7   Sale A.    He's talking about a configuration.     Obviously, it

 8   code, it is enabled to identify features from Fake3D by                                 8   wasn't configured with Sales 2 and 3 and 4.       It was never

 9   configuration file; correct?                                                            9   even put on with them.      This is different than their

10   A.      Partially correct.                                                             10   availability theory.      It's configured with the system.    We

11                MR. CHUNG:     May I direct your attention and the                        11   won summary judgment on that system as it was sold

12   Court's attention to page 79, line 15 to line 22 of your                               12   pre-notice.    They're trying to claw back, Your Honor.

13   deposition transcript.                                                                 13               THE COURT:    So this is referring to the first

14                THE COURT:     Counsel, on line 19 of page 79, there's                    14   system and not the others.      Is that the argument?

15   something that says "it" says.         What is "it" there?                             15               MS. LEA:     Referring to the 2020 system that we won

16                MR. CHUNG:     I believe it's referring to Dr. Frakes'                    16   summary judgment on talking about how it's configured on the

17   rebuttal report.                                                                       17   actual system not how it's available for Sales 2, 3 and 4.

18                THE COURT:     Okay.   Is that correct?                                   18               THE COURT:    Counsel.

19                MR. LAQUER:     Your Honor, we have an objection based                    19               MR. CHUNG:    I was just referring specifically to

20   on a prior order from Your Honor that I believe may need to                            20   the r10323 version.      I can ask the question again if you

21   be addressed --                                                                        21   don't want me to mention the other versions of the code or I

22                THE COURT:     At side bar?                                               22   can just skip over the other references to these versions.

23                MR. LAQUER:     Yes.                                                      23               Are you talking about the 10205?

24           (The following proceedings were held at side bar.)                             24               MS. LEA:     10232 and how it's configured and used on

25                THE COURT:     Okay.   Just reminding everybody of the                    25   a particular system.      We won summary judgment on that.    Your



                           UNITED STATES DISTRICT COURT                                                            UNITED STATES DISTRICT COURT




                                                                           19                                                                                       20


 1   theory in opening is availability.         It's available to be used                    1   on a sale of an LCMS system to UMS Lowell in 2012; is that

 2   with Sales 2, 3 and 4.                                                                  2   right?

 3                MR. CHUNG:     I think that's the entire point of this                     3   A.   In part.

 4   trial is that it's a disputed fact whether or not -- which                              4   Q.   And you rely on source code version r8320 that was

 5   version of code and what's available.                                                   5   created May 2014; is that right?

 6                THE COURT:     I think that's correct.     I think you                     6   A.   Yes.

 7   can go ahead and read it.                                                               7   Q.   And you rely only on Pavemetrics, the accused infringer,

 8                MR. CHUNG:     Thank you.                                                  8   for your assumption that the r8320 source code version was

 9                            (Side bar concluded.)                                          9   used in connection with a UML sale; isn't that right?

10                THE COURT:     Counsel, please proceed.                                   10   A.   Uh, the fact witnesses, yes, both John and Jeff.

11                MR. CHUNG:     Thank you, Your Honor.     I'd like to                     11   Q.   And Doctor, you were here yesterday when Dr. Hebert of

12   publish to the jury lines 15 through 22 of page 79 of                                  12   Pavemetrics testified that the r8320 version of source code

13   Dr. Frakes' deposition transcript.                                                     13   cannot possibly be part of that 2012 UML sale.       You were here

14                "Q.     So in the second -- I'm sorry, third column,                      14   for that?

15   it says Fake3D neural networks for the first three versions                            15   A.   I was.

16   of code which are the r10205 version, r10323 version and                               16   Q.   And Doctor, you were here yesterday when Dr. Hebert

17   r10494 version.       For all three of these versions, it says                         17   testified that Pavemetrics did not even deliver processing

18   enabled to identify features from Fake3D by a configuration                            18   software to UMS Lowell as part of the 2012 UML sale.         You

19   file.    Is that right?                                                                19   were here for that as well?

20                "A.     That's correct.                                                   20   A.   Yes, not until later did they deliver it.

21   Q.      Dr. Frakes, did I read that correctly?                                         21   Q.   And Doctor, you were here yesterday when Dr. Hebert

22   A.      You did.                                                                       22   testified that the r8320 version of source code was never

23   Q.      Thank you.    Now, let's talk about your opinions on                           23   disseminated to the public.      You were here for that, too?

24   validity.    Please turn to slide 37 of your demonstratives.                           24   A.   Yes, although its products were.

25   Dr. Frakes, for your UML sale and support analysis, you rely                           25   Q.   And Doctor, do you agree that your opinions are only as



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                                                                           21                                                                                       22


 1   good as their underlying facts and assumptions?                                         1   known operators such as the Sobel filter?

 2   A.     I do agree with that.                                                            2   A.      Well, as you know, um, direct infringement and

 3   Q.     I'd like to move next to the UML-TRB article.          Let's                     3   obviousness have very different, um, types of requirements.

 4   turn to slide 40 of your demonstratives.         And Doctor, you                        4   Uh, we're not talking about a word-for-word requirement for

 5   were also here yesterday for Mr. Laurent's testimony?                                   5   obviousness.    Rather the point is that it would be obvious to

 6   A.     Yes, I was.                                                                      6   someone of ordinary skill in the art to predict the invention

 7   Q.     And you understand that Mr. Laurent is a co-author of                            7   based on the prior art.

 8   UML-TRB article?                                                                        8                Now, Canny and Sobel kernels being in the prior art

 9   A.     I do.                                                                            9   for someone to change them and make them flexible in size and

10   Q.     And doctor, you were here yesterday for Mr. Laurent's                           10   shape but as we heard from Dr. Mesher and from Dr. Morellas

11   testimony about the 3D merged image being just intensity?                              11   is not a big leap.      So to see, that speaks to obviousness.

12   A.     You may have to refresh my memory on that.                                      12   Q.      Doctor, I'd like to direct your attention to Exhibit 512

13   Q.     How -- how about this?       An image that is just intensity                    13   in your binder?

14   does not meet the track elevation map element of Claim 1 of                            14                THE COURT:   I just wanted to jump in real quick,

15   the '293 patent; is -- is that correct?                                                15   sorry.    I just wanted to clear up something.      There's been

16   A.     I agree with that.                                                              16   some discussion about a word-for-word test for infringement,

17   Q.     Thank you.     Let's turn to slide 58 of your                                   17   and there was just some testimony that the test for

18   demonstratives.      So Doctor, I understand your opinion to be                        18   obviousness and infringement might be different.

19   that Claim 1 of the '293 patent would have been obvious in                             19                I want you to ignore all the advice from the

20   view of well-known methods like the Sobel and Canny                                    20   lawyers and the witnesses with respect to what the standards

21   techniques.      Is -- is that fair?                                                   21   are, what the legal test is for infringement, this word for

22   A.     Yes, it is.                                                                     22   word stuff or a different test.      We'll give you jury

23   Q.     So I'm actually a little confused by that opinion,                              23   instructions at the end of the case so we'll give you the

24   Doctor.   Isn't it true that you submitted a sworn declaration                         24   appropriate test to use.      So don't -- don't pay too much when

25   to this court opining that Claim 1 cannot cover the use of                             25   witnesses or the lawyers talk about a particular test,



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                                                                           23                                                                                       24


 1   especially if it's not the same as what the jury instructions                           1                THE COURT:   You can go ahead and do that.

 2   are.                                                                                    2                MR. CHUNG:   In my opinion, the prosecution history

 3                  I'm sorry.   Go ahead, Counsel.                                          3   confirms that the claim requires a very specific algorithm

 4   BY MR. CHUNG:                                                                           4   for identifying the features of the rail track bed and cannot

 5   Q.     I'd like to direct your attention, Dr. Frakes, to                                5   cover use of known operators for calculating differential

 6   Exhibit 512 in your binder.                                                             6   vertical measurements such as Sobel filters or other known

 7   A.     Okay, I'm there.                                                                 7   differential operators.

 8   Q.     And this is a declaration that you submitted to this                             8   Q.      Dr. Frakes, did I read that correctly?

 9   court; correct?                                                                         9   A.      Yes, you did.

10   A.     Yes, it is.                                                                     10   Q.      And in fairness, Doctor, a couple weeks later, you

11   Q.     On the last page of this declaration, you submitted this                        11   submitted another sworn declaration to this court to clarify

12   declaration under penalty of perjury; is that correct?                                 12   that you actually do not believe that Claim 1 excludes well

13   A.     Actually, it looks like the last page is my CV.                                 13   known operators just as the Sobel filter.      Do you recall

14                  THE COURT:     Page 43, the last page of the                            14   that?

15   declaration.                                                                           15   A.      Not specifically, but if you care to refresh my memory,

16                  THE WITNESS:    Yes, that's correct.                                    16   I'd be glad to look at the article.

17   BY MR. CHUNG:                                                                          17   Q.      Let's turn to the last tab in your binder.     It's the

18   Q.     I'd like to direct your attention to paragraph 83 of                            18   supplemental declaration there.      And it's paragraph 5.    Do

19   that declaration.      Do you see that?                                                19   you see paragraph 5?

20   A.     Paragraph 83?                                                                   20   A.      Yes, I do.

21   Q.     Yes, Doctor.                                                                    21   Q.      Does that refresh your recollection?

22   A.     Yes.                                                                            22   A.      It does, thank you.

23                  THE COURT:     Do you want to publish that as                           23   Q.      And -- and the reason why I'm a little bit confused here

24   impeachment, Counsel?                                                                  24   is because a couple months later, in your deposition, you

25                  MR. CHUNG:   Yes, Your Honor.                                           25   testified under oath that you were not aware of anything



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                                                                      25                                                                                          26


 1   incorrect in your original declaration, the one in which you                       1   correctly?

 2   opine that Claim 1 cannot cover the use of known operators                         2   A.      I believe so.

 3   such as the Sobel filter; is that right?                                           3   Q.      Doctor, you would agree that the length of a joint bar

 4   A.   Yes, that's right.                                                            4   could be measured without applying a minimum length

 5   Q.   And today just -- just to confirm, you're now saying                          5   threshold.

 6   that Claim 1 can cover well known operators such as the Sobel                      6   A.      Yes, that's possible.

 7   filter and the Canny method; is that right?                                        7   Q.      And you would also agree that the length of a joint bar

 8   A.   Well, I've presented various opinions on -- on those                          8   could be measured without applying a maximum length

 9   operators.    And when it comes to Claim 1, what I have said is                    9   threshold.

10   that clearly, the gradient neighborhood must be something                         10   A.      I'd also agree with that.

11   that is flexible and that is adaptive based on testimonies                        11   Q.      Okay.    I'm gonna try to distill down your obviousness

12   we've heard from Dr. Mesher and Dr. Morellas.     I've further                    12   position, Doctor.       It appears that in your view, the claimed

13   gone on to say that in light of Sobel and Canny in prior art,                     13   inventions of the '293 and '557 patents would have been

14   it would be obvious to someone of ordinary skill in the art                       14   obvious because a person of ordinary skill in the art would

15   that this claim is invalid.    Those are the opinions I've set                    15   have taken all of the information at his or her disposal and

16   forth.                                                                            16   modified Pavemetrics' prior system.

17   Q.   Is that now your fifth opinion on the Sobel and Canny                        17                   Is that a fair characterization of your opinion?

18   filters?                                                                          18   A.      Yeah, I think that's a fair.       The prior art that's

19   A.   I haven't been counting.                                                     19   referenced is interesting in this case because it's actually

20   Q.   Let's move on.    Let's talk about Claim 21 of the '293                      20   so focused in the area of application.

21   patent.    Let's look at Exhibit 4 of your demonstratives.   And                  21                   You know, I've been asked to look at a lot of prior

22   I'm gonna read slowly for the court reporter here.    Claim 21                    22   art before, and sometimes things come, you know, from far

23   requires determining whether the length of the joint bar                          23   afield.    They wouldn't make sense to take technology from a

24   candidate falls between a minimum joint bar length threshold                      24   spaceship and put it into a medical device.          But that's not

25   and a maximum joint bar length threshold.    Did I read that                      25   the case here.       All this prior art is very clustered in this



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 1   application space of inspecting rail and road.     So combining                    1   A.      I believe I was.

 2   features from it is not at all a big leap from someone of                          2   Q.      Okay.    And you were here when Mr. Habel testified that

 3   ordinary skill in the art.                                                         3   it was not until 2018, early 2019 when Pavemetrics decided to

 4   Q.   Okay.     Doctor, you were here for the testimony of                          4   transition the LRAIL software to deep neural networks.

 5   Mr. Habel, President and CEO of Pavemetrics?                                       5                   You were here for that?

 6   A.   I was.                                                                        6   A.      I think we can safely assume I was here for all of

 7   Q.   And you're here when Mr. Habel testified about a 2014                         7   Mr. Habel's testimony.

 8   Pavemetrics' market report in which they expressed that                            8   Q.      Well, Doctor, it appeared that the claimed inventions at

 9   quote, "we don't yet have all the algorithms for automated                         9   the time did not seem so obvious to Pavemetrics, did it.

10   distress analysis."    You were here for that?                                    10   A.      Well, you are referencing Mr. Habel's testimony, and I

11   A.   I don't remember those exact words, but I'll take your                       11   believe he's a telecommunication's expert, but, again, based

12   word for it.                                                                      12   on my knowledge of a person of ordinary skill in the art, it

13   Q.   And you were here when Mr. Habel testified about a 2016                      13   would have been obvious.

14   Pavemetrics' marker report in which they expressed that we                        14                   MR. CHUNG:    Pass the witness, Your Honor.

15   don't yet have a killer app.    You were here for that?                           15                   THE COURT:    Thank you, Counsel.

16   A.   I was.                                                                       16                   Any redirect?

17   Q.   And you were when Mr. Habel testified about that same                        17                   MR. LAQUER:    Yes, Your Honor.

18   2016 March report, Pavemetrics expressed that we still have                       18                                REDIRECT EXAMINATION

19   plenty to learn?                                                                  19   BY MR. LAQUER:

20   A.   I don't recall that exactly, but, again, I'll take your                      20   Q.      Dr. Frakes, can you explain how and when you reviewed

21   word for it.                                                                      21   LRAIL's neural network files throughout the course of this

22   Q.   And you were here when Mr. Habel testified about an                          22   case?

23   email he sent in 2017 saying that he wanted to know exactly                       23   A.      Yes.    I believe, uh, that the majority of my review was

24   what Tetra Tech is doing for rail inspection.                                     24   after my deposition that was being referenced by counsel.

25                You were here for that?                                              25   Q.      You were asked about LRAIL software r10323.       Do you



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 1   recall whether that version was ever used with any accused                           1                MR. LAQUER:     This has been available to both sides

 2   LRAIL or a unit too early to be at issue here?                                       2   experts.

 3               MR. CHUNG:     Objection.                                                3                THE COURT:    I thought he said on the stand he did

 4               THE WITNESS:    I think it was not --                                    4   review it after the deposition.

 5               MR. CHUNG:     Can we have a side bar?                                   5                MR. LAQUER:     The question on the stand was

 6               THE COURT:     Um, sure.                                                 6   regarding the TensorFlow code.

 7        (The following proceedings were held at side bar.)                              7                THE COURT:    I think it's improper for him to give

 8               THE COURT:     Counsel, you have an objection?                           8   an opinion on things reviewed after the deposition.          It's

 9               MR. CHUNG:    I do.    From what we just heard,                          9   different than the patent.         If he reviewed the patent before

10   Dr. Frakes is saying that he reviewed all this new stuff                            10   the deposition and then looked at it again, that's fine.            If

11   after his deposition, after the close of expert discovery,                          11   it's something he didn't look at prior to his deposition,

12   after the close of fact discovery which is completely                               12   it's improper for him to testify about opinions based on

13   improper.   It goes to the same issues we've been dealing with                      13   that.

14   and I want to put that on the record.                                               14                Where do we stand with respect to this particular

15               THE COURT:     I think it is improper if he reviewed                    15   question?

16   something after his expert report, after his deposition.       I                    16                Remind me the particular question was the r10323

17   don't see how he can testify to it because he can't have                            17   unit at issue responsive to a question that came up for

18   opinions about -- these would seem to be new opinions.                              18   cross-examination which imply accused versions infringed

19               MR. LAQUER:     Your Honor, he did review it earlier.                   19   based on functionality of a software version?

20   Both sides' experts throughout the course of discovery were                         20                MR. CHUNG:    The problem with the question is after

21   reviewing things.    It's not different than the expert                             21   that he reviewed TensorFlow after the deposition.         During

22   reviewing a patent in preparation of testifying later after                         22   cross-examination, he said he did not review it.

23   the deposition.                                                                     23                THE COURT:    I'm gonna strike it from the record and

24               THE COURT:    Are you saying he reviewed it before,                     24   we'll go on with this question.

25   and then reviewed it again?                                                         25                MR. CHUNG:    Understood, Your Honor.



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 1                         (Side bar concluded.)                                          1   opinions in any way?

 2               THE COURT:     Okay.   We had an objection to, um, a                     2   A.      No way whatsoever.

 3   question that was asked of the witness, um, Dr. Frakes, how                          3                MR. LAQUER:     No further questions.

 4   and when you examined the LRAIL neural network, and the                              4                THE COURT:    Thank you, Counsel.

 5   answer was after my deposition being referenced by counsel.                          5                Does Pavemetrics have a next witness to call?

 6               So the way this works with experts is they prepare                       6                MS. LEA:     No, Your Honor.

 7   a report, um, giving their opinions, and then the other side                         7                THE COURT:    Okay.    I understand that at the close

 8   can take their depositions and ask them questions about it.                          8   of these cases, there will be some motions.          We'll defer that

 9   So it's improper for a witness to talk about opinions or                             9   as we talked about earlier to the lunch break so we don't

10   review -- opinions based on review they did after their                             10   take the jury's time.

11   deposition.                                                                         11                Does Tetra Tech have any rebuttal witnesses at this

12               So I'm gonna strike that question and answer, and                       12   time?

13   we'll -- we'll move on.      So the -- the question about                           13                MR. BARNEY:     We do, Your Honor.

14   reviewing code after the deposition, that's stricken from --                        14                May I call my next witness?

15   from the record.                                                                    15                THE COURT:    Please.

16               Counsel, please proceed.                                                16                MR. LAQUER:     Your Honor?    I was gonna ask if our

17   BY MR. LAQUER:                                                                      17   witness could leave the stand?

18   Q.   Dr. Frakes, you were asked about LRAIL software r10323.                        18                THE COURT:    Oh, yeah.    Yes.

19   Do you recall whether that version was ever used with any                           19                MR. BARNEY:     May I proceed, Your Honor.

20   accused LRAIL or a unit too early to be at issue here?                              20                THE COURT:    Yes.

21   A.   It was never used with a case version.                                         21                MR. BARNEY:     Your Honor, Tetra Tech calls as its

22   Q.   Did you learn anything new in any of Tetra Tech                                22   next witness, rebuttal witness Dr. Morellas.

23   questions to you?                                                                   23                THE CLERK:    Raise your right hand.

24   A.   I did not.                                                                     24                               (Witness sworn.)

25   Q.   Did any of Tetra Tech's questions change any of your                           25                THE CLERK:    Please be seated.



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  1               Will you please state your name for the record                          1   and these are the four places where there is a dispute.

  2   again.                                                                              2   Q.      And what I'd like to do, Doctor, is just go through each

  3               THE WITNESS:    Vassilios Morellas, and that's                          3   one of these and see if you have any opinions that you would

  4   V-a-s-s-i-l-i-o-s M-o-r-e-l-l-a-s.                                                  4   like to express in response to Dr. Frakes' opinion.          Is that

  5               THE CLERK:     Thank you.                                               5   okay?

  6                             DIRECT EXAMINATION                                        6   A.      That is okay.

  7   BY MR. BARNEY:                                                                      7   Q.      So let's go to the first one.    Were you here when

  8   Q.   Good morning, Dr. Morellas.                                                    8   Dr. Frakes opined that the LRAIL system does not meet the

  9   A.   Good morning.                                                                  9   requirement in Claim 1, that the sensor is in communication

 10   Q.   Were you here yesterday and this morning for Dr. Frakes'                      10   with the at least one processor?

 11   testimony regarding his opinions on infringement and                               11   A.      Yes, I was.

 12   validity?                                                                          12   Q.      And do you agree with that opinion?

 13   A.   Yes, I was.                                                                   13   A.      Uh, no, I do not agree.    As we heard from Dr. Hebert,

 14   Q.   Do you have any disagreements with those opinions                             14   the sale is a turnkey system that includes hardware, software

 15   expressed by Dr. Frakes?                                                           15   for both acquisition and processing, and in the end, if I am

 16   A.   Yes, I do.                                                                    16   a railway owner, and I see this brochure, and I decide to

 17   Q.   And have you prepared some slides today to help                               17   purchase the system, I expect at the end of the day that the

 18   illustrate your testimony?                                                         18   system would be able to identify all features and all of

 19   A.   Yes.     I have.                                                              19   these functions that appear to be in the brochure.

 20   Q.   So let's begin with Dr. Frakes' opinions on                                   20   Q.      Okay.    And do you understand the accused acts of

 21   infringement.    If we could go to next slide, please.     What                    21   infringement with respect to '293 includes the sale of the

 22   limitations -- as you understood his testimony, which                              22   system?

 23   limitations in Claim 1 of the '293 patent is Dr. Frakes                            23   A.      Yes.

 24   contending are not satisfied by the LRAIL system?                                  24   Q.      Okay.    And you mentioned something earlier about a

 25   A.   Yes.     I have highlighted those with the yellow marker,                     25   turnkey sale.       What's your understanding of a turnkey sale?



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                                                                        35                                                                                        36


  1   A.   A turnkey sale is a system that by the flip of a button                        1   Q.      Let's move on to the next limitation.    Were you here

  2   would be able to install the software and does all the --                           2   when Dr. Frakes opined that he does not believe that the

  3   whatever it -- it would be able to use it right away.                               3   limitation configure to run an algorithm is satisfied because

  4   Q.   And if Pavemetrics made a turnkey sale of the LRAIL                            4   the LRAIL system is configured with a default that does

  5   system to CSX, would that -- and if that system met all the                         5   not -- does not -- does not call up the Fake3D or the Mixed

  6   claim limitations, would that be an infringement of the                             6   Image algorithm?       Were you here for that?

  7   claim?                                                                              7   A.      Yes, I was.

  8   A.   Yes, it would be.                                                              8   Q.      And do you agree with him that that means the limitation

  9   Q.   And does it matter how they actually package it up and                         9   is not satisfied?

 10   ship it into the United States?                                                    10   A.      I disagree.    And actually, I look at the court's claim

 11               MR. LAQUER:     Objection, calls for a legal                           11   construction for the term is configured to run the algorithm,

 12   conclusion.                                                                        12   and this means that it's programmed to run the algorithm

 13               THE COURT:     Yeah, I think it does.                                  13   without the need to rebuild, rewrite or recompile the code.

 14               Maybe move on to his opinions.                                         14   And I use this more times it was an example.

 15               MR. BARNEY:     Thank you, Your Honor.                                 15                   So, for example, we buy Microsoft software, okay,

 16   Q.   Uh, you mentioned the materials you reviewed from                             16   and when we buy it, it comes with three preconfigured

 17   Dr. Hebert?                                                                        17   features, but through the different menus, we can check the

 18   A.   Yes.                                                                          18   boxes there that reconfigure in the system.          For example, in

 19   Q.   And how does -- Dr. Hebert's opinion, what did he have                        19   this case, we check the spelling as we type.          There a number

 20   to say about whether when the system is operating, the                             20   of other options that we have.       So you can consider this

 21   computer is in communication with the sensor?                                      21   clicking of the boxes as a zero or one function.         You disable

 22   A.   Well, I disagree with him because if I am buying the                          22   it or you're enabling it.

 23   sensor, uh, sensor by themselves do not do anything.       I have                  23   Q.      And let me just ask a few follow-up questions to make

 24   to have a computer to be able to interface with the sensor                         24   sure I understand just using your example of the spell check

 25   and get the data from the environment.                                             25   feature on Microsoft Word which most people are familiar



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  1   with.                                                                                  1   manual say about this configurability of the system?

  2   A.      Okay.                                                                          2   A.    It says the LCMS system is delivered with libraries

  3   Q.      Um, and so when you first open up Word after you                               3   either for Windows 7 or Windows 8, and the only thing that

  4   purchased it, if the configuration is the way we see it, does                          4   the user has to do is easily configure and operate the

  5   that mean that the spell checker has been disabled by                                  5   system.

  6   default?                                                                               6   Q.    Okay.    And does it say it allows the user to easily

  7   A.      Correct.                                                                       7   configure and operate the system?

  8   Q.      Okay.    And if you want to enable the spell checker, what                     8   A.    Yes.

  9   do you have to do?                                                                     9   Q.    Okay.    And so if a user wants to operate LRAIL using

 10   A.      Just check the box.                                                           10   Fake3D or Mixed Image, how difficult is that for the user to

 11   Q.      And when you check that box, does that rewrite the                            11   do?

 12   software code?                                                                        12   A.    It's very easy.

 13   A.      No.                                                                           13   Q.    Okay.    And is that basically the same thing as we saw

 14   Q.      Does it rebuild the software?                                                 14   with Microsoft Word, just essentially clicking a button to

 15   A.      No.                                                                           15   call up that -- that feature?

 16   Q.      Does it recompile the code?                                                   16   A.    Correct.

 17   A.      No.                                                                           17   Q.    In doing so, does that rewrite the code?

 18   Q.      Is it a redesign of the hardware or software?                                 18   A.    No.

 19   A.      No.                                                                           19   Q.    Does that reconfigure the code?

 20                   MR. BARNEY:    Now, turning to the LRAIL system, and                  20   A.    No.

 21   we can go to Exhibit 28, please?                                                      21   Q.    And does it require a redesign of the system?

 22                   And this is in evidence, Your Honor.    Page 13?    And               22   A.    No.

 23   if I could blow up just the introduction paragraph.         And the                   23   Q.    All right.      So if we could go back to your presentation,

 24   second paragraph down, if we can highlight that?                                      24   please?     And so Doctor, what is your opinion as to whether --

 25   Q.      Dr. Morellas, what does the LRAIL software and hardware                       25   do you agree with Dr. Frakes that this configured to run an



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                                                                           39                                                                                       40


  1   algorithm limitation is not satisfied?                                                 1   A.    That is correct.

  2   A.      I do not agree with him.                                                       2   Q.    Now, Doctor, do you agree with Dr. Frakes that because

  3   Q.      So in your opinion, is this limitation satisfied by the                        3   there's a stride of two that that means that the limitation's

  4   LRAIL system?                                                                          4   not met under that construction?

  5   A.      It is satisfied.                                                               5   A.    I do not agree with him.

  6   Q.      Let's go to the next issue.       Do you -- were you here                      6   Q.    Can you explain why, please?

  7   when Dr. Frakes was explaining that because -- in his opinion                          7   A.    Yes.    I have prepared a little animation here.       You can

  8   because the neighborhood, the window, that's used to slide                             8   see the yellow neighborhood which is the, uh -- that is

  9   over the data in the LRAIL system has a stride of two that it                          9   moving throughout the image.       And as it moves, you see the

 10   doesn't satisfy the, um -- that limitation as construed by                            10   six boxes and the 6 pixels that it left behind.       These are

 11   the court?                                                                            11   pixels that have already been contributed to the operation.

 12   A.      Yes, I have.                                                                  12   So every time that the yellow box covers part of the image,

 13   Q.      Okay.    And just so -- we've seen this a bunch of times.                     13   there is some computations that are happening.       Okay?

 14   I'm gonna try not to belabor this, but let me just make sure                          14                 Next?   You see the new six boxes appear in the

 15   we've all got the right limitation and construction in mind.                          15   image.    And then the neighborhood moves, next, yeah, down two

 16   So the limitation at issue here is moving the gradient                                16   pixels.     One more please.    And you can see how by moving --

 17   neighborhood like a sliding window over the 3D elevation data                         17   by sliding the window throughout the image, all the pixels in

 18   using the processor.          Am I right about that?                                  18   the image get to be contributing to the operation.

 19   A.      You're right.                                                                 19   Q.    Okay, Doctor, I just have a few follow-up questions.

 20   Q.      And the court has construed that?                                             20   The yellow window that we saw moving across the data, um, is

 21   A.      Yes.                                                                          21   that the gradient window?

 22   Q.      And I'm gonna read the construction, and I'll ask you                         22   A.    Correct.

 23   some questions.       And so the Court's construction was                             23   Q.    And does it have some numbers in it and some weights?

 24   sequentially and completely applying the gradient                                     24   A.    Yes.

 25   neighborhood to the 3D elevation data; is that correct?                               25   Q.    And as it moves across the data which is now colored



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  1   green, what is it doing with respect to the data that's down                      1   operation satisfy the court's construction?

  2   in the pixel level?                                                               2   A.      It does satisfy the court's construction.

  3   A.   Uh, that is a combination.    There are some applications                    3   Q.      Is it being applied sequentially?

  4   that happen between the weight of the filter and the values                       4   A.      Yes.

  5   of the pixels.                                                                    5   Q.      Is it being applied completely?

  6   Q.   Okay.    So it's running calculations.   It's taking its                     6   A.      Yes.

  7   weighting values, and it's performing calculations based on                       7   Q.      Okay.    Now, how do you respond to the assertion that

  8   the values down at the pixel levels.                                              8   because the Karami book that you relied on calls this 2by2

  9   A.   Yes.    It's weighting all the values of the pixels by the                   9   movement skipping one element that that somehow means that

 10   weight of the filter.                                                            10   the claim limitation can't be met?          How do you respond to

 11   Q.   Okay.    And as it moves along that we just saw in your                     11   that?

 12   animation, um, each time it moves by, u, two, it then stops                      12   A.      Although I agree with the text in the book, again, my

 13   and performs calculations on the nine pixels beneath it.                         13   opinion is that the neighborhood is sliding throughout the

 14   A.   Correct.                                                                    14   image sequentially and completely.

 15   Q.   And then it moves over two more and performs                                15   Q.      Okay.    Does the court's claim construction say anything

 16   calculations on the nine pixels beneath it.                                      16   about whether it has to be a stride of 1 or a stride of 2?

 17   A.   Correct.                                                                    17   A.      No, there is nothing.

 18   Q.   Is there -- is there any pixel, Doctor, in the image                        18   Q.      So in your opinion, is this limitation satisfied --

 19   that gets entirely left out of that process?                                     19   A.      Correct, it --

 20   A.   Uh, no pixel's left behind.                                                 20   Q.      -- by the LRAIL?       I'm sorry, I -- probably -- I messed

 21   Q.   Is there any pixel in the image that doesn't get to                         21   up my question.       Is this limitation satisfied by the LRAIL

 22   contribute to the calculation to the -- of the gradient?                         22   system in your opinion?

 23   A.   No.                                                                         23   A.      Yes.

 24   Q.   And so in your opinion, just from what we've seen, even                     24   Q.      Let's go on to the next limitation.       Actually, before we

 25   with a stride of two, does this gradient neighborhood                            25   do that, did you -- were you here when Dr. Frakes was talking



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  1   about, um, the TensorFlow, uh, software versus some other                         1   what is called an application programming interface.

  2   type of deep neural network?                                                      2   Q.      Okay.    Are these also sometimes called developer tools?

  3   A.   Yes.                                                                         3   A.      That's correct, yes.

  4   Q.   Okay.    Um, and just so we're all on the same page, is                      4   Q.      So whether you're using TensorFlow or you're using

  5   there any dispute in this case that the LRAIL system, the                         5   PyTorch or you're using deep CNET, are you essentially

  6   accused LRAIL system uses a deep convolutional neural                             6   building the same deep neural network?

  7   network?                                                                          7                   MR. LAQUER:    Objection, leading.

  8   A.   Uh, I don't think there is any dispute on that.                              8                   THE COURT:    You can answer.

  9   Q.   Okay.    And I think we also heard Dr. Frakes also agree                     9                   THE WITNESS:    Yes.   Like I said, you can design the

 10   with that same point.                                                            10   same network by using different tools.

 11   A.   Correct.                                                                    11   BY MR. BARNEY:

 12   Q.   So there is something we agree on in this case; right?                      12   Q.      Okay.    And have you actually used some of these

 13   A.   Yes.                                                                        13   different tools to create deep neural networks?

 14   Q.   Okay.    Could have the next slide, please?   So Doctor, in                 14   A.      Yes.    I have used TensorFlow and PyTorch.

 15   this illustration that you've provided umm, down along the                       15   Q.      Okay.    And between TensorFlow and PyTorch, did it matter

 16   bottom, we've got these different names; TensorFlow, PyTorch,                    16   which one you use in terms of the end product that you

 17   theano and deep CNET.   What are those?                                          17   created in terms of a deep neural network?

 18   A.   Yeah.    Uh, these are basically neural network libraries.                  18   A.      No, there's no difference.

 19   As we heard, TensorFlow comes from Google, PyTorch comes from                    19   Q.      Okay.    And once that deep neural network is created

 20   Facebook, theano is from the University of Montreal, and we                      20   using either TensorFlow or PyTorch or something else, do -- d

 21   heard also about the deep CNET that was used in one of the                       21   all deep neural networks operate by the same principles?

 22   papers.    So basically, these are tools that a user can use to                  22   A.      Yes.

 23   develop, to design his or her own neural network.    In other                    23   Q.      And can you, uh, explain to the jury what those

 24   words, I can -- I can design the same architecture by using                      24   principles are?

 25   either TensorFlow or PyTorch or other design libraries.    It's                  25   A.      Yeah.    The principle that is of course in variant is the



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  1   fact that there is always a gradient neighborhood that is                               1   gradient neighborhood?

  2   sliding throughout the image.                                                           2   A.   Yeah, I was.

  3   Q.      Okay.    And can you just break that down a little bit                          3   Q.   Okay.    And with respect to the phrase -- the word

  4   more?    We've got a picture of a woman, and there's some parts                         4   appropriate, were you here when Dr. Frakes opined that

  5   of her face that have been sort of identified.          Can you                         5   because in his opinion, the neighborhood that's created

  6   provide a little more detail about what's happening there?                              6   during a training of the neural network is fixed at the end

  7   A.      Yeah.    As we see there, and as Dr. Frakes explained                           7   of that process that that means it can't be an appropriate

  8   yesterday, there are different layers of convolution.          We                       8   gradient neighborhood when used in the LRAIL system?      Did you

  9   call them convolutional layers.          And in each layer, there are                   9   hear that?

 10   the filters that, uh, basically sweep the image making all                             10   A.   Yes, I heard that.

 11   these, uh, calculations.                                                               11   Q.   What's your response to that?

 12                   And at the end of the day, if we are interested in                     12   A.   Uh, I don't agree with this, uh, because as I include in

 13   the face, we would be able to find presentations of the face                           13   here, there are three different, uh, parts of the code, one

 14   in the, uh -- in the last layer of the convolutional, uh,                              14   for fastener and one for spike and one for tie.      So as we

 15   layer.                                                                                 15   saw, there are -- there are different features in the, uh,

 16   Q.      And did you apply this understanding of how deep neural                        16   railway product.    You have different dimensions and different

 17   networks operate to your analysis in this case?                                        17   looks.

 18   A.      Yes, I did.                                                                    18                So we have to have different, uh, appropriate

 19   Q.      And in your opinion, does it change your opinion at all                        19   gradient neighborhoods to be able to -- to -- to tell the

 20   to know that the deep neural network was created with                                  20   fact they are different on the spike or the tie.      We have are

 21   TensorFlow versus something else?                                                      21   different dimensions, different, uh, characteristics.

 22   A.      No, it does not.                                                               22                MR. LAQUER:    I'm gonna object as beyond the scope

 23   Q.      Okay.    Let's go to the next dispute.     Were you here when                  23   of the report, Your Honor.

 24   Dr. Frakes opined that the LRAIL system in his opinion does                            24                THE COURT:    Is this discussion in his report?

 25   not satisfy the requirement of defining an appropriate                                 25                MR. BARNEY:    I believe he does discuss this,



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  1   Your Honor, and it's directly responsive to what Dr. Frakes                             1   like what it's looking for, it circles or boxes it.

  2   opined on.                                                                              2   A.   That is correct.

  3                   MR. LAQUER:    I'd like to see where they believe in                    3   Q.   Now -- and you personally programmed, uh, visual, um,

  4   the report there's an argument or an opinion that the                                   4   computer vision programs like that?

  5   appropriateness is based on a particular feature.                                       5   A.   Yes.    Many times.

  6                   MR. BARNEY:    Your Honor, he actually opined about                     6   Q.   In fact, I think you testified you did some of that

  7   this in his opening testimony.          So actually the codes you're                    7   stuff at Honeywell?

  8   looking at here, this actually comes from what he's already                             8   A.   Correct.

  9   testified about in this case, and there was no objection when                           9   Q.   So Doctor, if you're programming a neural network, and

 10   he testified about it.                                                                 10   you're training a neural network, and you want it to

 11                   THE COURT:    Okay.   You can proceed then.                            11   recognize faces, um, I'm assuming that's gonna be one type of

 12   BY MR. BARNEY:                                                                         12   gradient window with a particular size and weight.

 13   Q.      Doctor, I don't know whether you were done with your --                        13   A.   Yes.

 14   your testimony, but let me see if I can just back this out                             14   Q.   But what if I ask you to program the network to only

 15   and to make sure I understand.          Throughout this case, both                     15   look for eyeballs, not the entire face, but I wanna actually

 16   sides have used this example of the iPhone, and, you know,                             16   pull out just the people's eyeballs.      You with me so far?

 17   and you look at a picture, and you get a box around a face                             17   A.   Yes.

 18   that's on the iPhone.         You're familiar with that?                               18   Q.   Is that going to be a different type of gradient network

 19   A.      Yes.                                                                           19   with different weightings and different size?

 20   Q.      And is that an example of -- of what a neural network                          20   A.   Yes.

 21   can do?                                                                                21   Q.   Okay.    Is that -- and why is that?

 22   A.      Exactly.                                                                       22   A.   Because this is a different, uh, feature than the face.

 23   Q.      Okay.    And so it's sliding a window, and it has some                         23   Q.   The eye is different than the entire face.

 24   information that it's looking for, and when it -- because                              24   A.   Of course.

 25   it's been trained, and when it gets to a spot where it looks                           25   Q.   Okay.    So coming back to the LRAIL system, is the LRAIL



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  1   system designed to search for different types of features?                        1   searching for a spike?

  2   A.     Yes.                                                                       2   A.      No.

  3   Q.     Okay.   And so you mentioned fasteners, spikes and ties.                   3   Q.      When it's searching for a spike, is it gonna use the

  4   What is a tie?                                                                    4   same gradient neighborhood that it uses for searching for a

  5   A.     Uh, a tie is, uh, the wooden block that, uh, uh,                           5   tie?

  6   supports basically the rails.                                                     6   A.      No.

  7   Q.     Okay.   It's the ones that go horizontally, uh --                          7   Q.      Okay.    So in your opinion, what does that mean in terms

  8   A.     Yeah.                                                                      8   of this requirement of the algorithm defining an appropriate

  9   Q.     What is a spike?                                                           9   gradient neighborhood?

 10   A.     A spike, uh, is something that is like a metal nail that                  10   A.      Like I said, in order to detect different types of

 11   helps the fastener to clamp down the rail.                                       11   features in the railway track, you need to have to have

 12   Q.     Okay.   And what is a fastener?                                           12   different neighborhoods.

 13   A.     The fastener is the part that keeps the, uh, rail down                    13   Q.      And in your opinion, is this limitation satisfied by the

 14   on the, uh, tie.                                                                 14   LRAIL system?

 15   Q.     Okay.   Do ties and spikes and fasteners have -- are they                 15   A.      It is.

 16   different sizes from each other?                                                 16   Q.      Let's go to the next point, please.    When were you here

 17   A.     Yes.                                                                      17   when Dr. Frakes was talking, uh, about the -- whether or not

 18   Q.     Am I -- am I correct that a tie is much bigger than a                     18   Fake3D includes elevation data?

 19   spike?                                                                           19   A.      Yes, I was.

 20   A.     Yes.                                                                      20   Q.      Okay.    And did you hear when he said that reasonable

 21   Q.     Okay.   Do they have different shapes?                                    21   people might disagree about whether it includes elevation

 22   A.     Yes.                                                                      22   data?

 23   Q.     Okay.   So in the LRAIL system that you reviewed, um,                     23   A.      Yes.

 24   when the system is searching for a fastener, is it going to                      24   Q.      Okay.    You're a reasonable person; right?

 25   use the same gradient neighborhood that it uses when it's                        25   A.      Excuse me.    I hope I am.



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  1   Q.     Okay.   Do you have any doubt in your mind whatsoever                      1   channel two be, uh, the intensity and its, uh, uh, image.

  2   that in the -- in the, uh, LRAIL code, the Fake3D, uh, image                      2   Q.      Now, Doctor, with respect to the requirement in the

  3   includes elevation data?                                                          3   claim that the appropriate gradient neighborhood representing

  4   A.     I don't have any doubt.                                                    4   a small 2D track section over which differential vertical

  5   Q.     Any doubt whatsoever?                                                      5   measurements are calculated, do you see that portion of the

  6   A.     No doubt.                                                                  6   claim?

  7   Q.     And how can you be so sure, Doctor?                                        7   A.      Yes.

  8   A.     Because I -- I explained last week, and I have put this                    8   Q.      Now, if the image data that's being inputted into the

  9   slide here as well, uh, this part of the code where you see                       9   neural network includes elevation data as I believe you just

 10   that the, um, uh, purple boxes that contain variables that                       10   testified in the LRAIL system, what's your opinion as to

 11   are associated with the range data, and the blue boxes that                      11   whether differential vertical measurements are calculated?

 12   contain the intensity information come together to create                        12   A.      Differential vertical measurements would be calculated.

 13   the, uh -- the variable that is surrounded by, uh, the green                     13   Q.      And why is that?

 14   box.                                                                             14   A.      Next slide, please?    So imagine that we have a gradient

 15   Q.     And so the portions of the code in both Fake3D and Mixed                  15   neighborhood that is shown in the left with a 3 by 3 window,

 16   Image -- is that your opinion in Mixed Image as well?                            16   uh, and as we do the gradient operations again by sliding

 17   A.     Yes.                                                                      17   this neighborhood throughout the image, every time that, uh,

 18   Q.     And so both in Fake3D and Mixed Image, is it your                         18   the gradient neighborhood covers part of the image, there are

 19   opinion that the image data includes both elevation and                          19   calculations, gradient operations that are happening, and the

 20   intensity data?                                                                  20   output is a differential, uh, vertical measurement.

 21   A.     Yes.    In fact, the -- in the Mixed Image like the                       21   Q.      So Doctor, we've gone through, I believe, all the

 22   channels -- the, uh, color channels there that come together                     22   limitations that Dr. Frakes identified as being in dispute in

 23   to create the color perception that we perceive, the same way                    23   Claim 1.       And now that we've gone through all of them, has

 24   it comes in this particular structure with channel one being                     24   anything changed your opinion, uh, that you expressed last

 25   the range, uh, channel three being, uh, the intensity and                        25   week that Claim 1 is infringed by the LRAIL system?



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  1   A.      I have not changed my opinion.                                                1   Q.      Generally speaking, forget about LRAIL, forget about

  2   Q.      Uh, let's, uh, now look at a different, uh, claim, and                        2   anything else, generally speaking, can a mask take any shape?

  3   that's Claim 8 of the '557 patent.         Which limitations of                       3   A.      It could in some occasions depending on the application,

  4   Claim 8 did Dr. Frakes say that he disputed?                                          4   yeah.

  5   A.      Again, I have highlighted the portions in dispute here.                       5   Q.      But now, in this particular code, in this LRAIL code, in

  6   Q.      Okay.    And I'd like to just briefly talk about each one                     6   this particular mask that you've identified, is it being

  7   of these again?                                                                       7   applied to a particular shape?

  8   A.      Sure.                                                                         8   A.      Yes.

  9   Q.      Uh, let's go to the first one.      So were you here when                     9   Q.      And what shape is that?    What is it that it's being

 10   Dr. Frakes opined that he does not believe that what you've                          10   applied to?

 11   identified in your opinion, um, actually satisfies the                               11   A.      It's on the rails which is rectangular in this case.

 12   requirement of inputting rail based edge feature coordinates?                        12   Q.      The rail base.   Is it being applied to the rail base?

 13   A.      I heard that.                                                                13   A.      The rail base, yes.

 14   Q.      And do you agree with him?                                                   14   Q.      So when that mask which in general could take any shape

 15   A.      I do not.                                                                    15   is applied to the rail base, what shape does it take?

 16   Q.      What -- what is the basis for disagreeing with you?                          16   A.      Rectangular.

 17   A.      The basis for disagreement with me is the definition of                      17   Q.      Okay.   And so what is your opinion as to whether that

 18   the mask.       Okay?    And a mask in the case of the, uh, rails is                 18   mask applied in that rail base as you've identified in the

 19   these rectangular boxes, uh, the red boxes that you see on                           19   code, uh, contains edge feature coordinates?

 20   the right-hand side of the, uh -- of the, uh, slide.                                 20   A.      It does contain.    As I -- as I explained again, the four

 21   However, the mask itself is defined by the coordinates of the                        21   corners are the, uh, rail base, uh, feature, um, coordinates.

 22   four vertices of the rectangle.                                                      22   Q.      Okay.   I think we heard the description that Mr. -- or

 23   Q.      I wanna just take a step back and make sure we're all on                     23   Dr. Frakes used, and he said a mask is a blob.      You remember

 24   the same page.                                                                       24   that?

 25   A.      Yeah.                                                                        25   A.      Yes.



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  1   Q.      Okay.    But when it's applied to a rail base, is it a                        1   Q.      Okay.   And what shape are the ties?

  2   blob?                                                                                 2   A.      It's rectangular again.

  3   A.      Um, well, in -- in a sense yes, because, uh, uh, we are                       3   Q.      And so Doctor, what is your opinion as to whether the

  4   interested in the particular, uh, pixels that are inside                              4   mask that you've identified when it's applied to a

  5   that, uh -- that mask.                                                                5   rectangular railroad tie is an input of tie bounding box

  6   Q.      Okay.    But is it a blob with a particular shape?                            6   data?

  7   A.      Yes.                                                                          7   A.      I agree with that.    These are tie bounding box data.

  8   Q.      And what is that shape?                                                       8   Q.      And you've actually looked at the output-- the example

  9   A.      Uh, rectangular.                                                              9   of output data from this particular, um, function; correct?

 10   Q.      Thank you.      If I could have the next limitation, please.                 10   A.      Correct, and I showed them last week in my slides.

 11   Now, uh, did -- were you here when Dr. Frakes, uh, opined                            11   Q.      And what was the shape of that output?

 12   that -- or disagreed with you, I should say, that the -- the                         12   A.      Uh, rectangular.

 13   mask that you've identified, pucOneTieMask, is not an input                          13   Q.      Did it include data about the vertices of the rectangle?

 14   of, uh, tie bounding box data.         Were you here for that?                       14   A.      Correct.   It was, yeah, the corners of the difference of

 15   A.      Yes, I was.                                                                  15   the four vertices were there.

 16   Q.      And do you agree with his opinion?                                           16   Q.      And how does that relate, if at all, to your opinion

 17   A.      No, I don't.                                                                 17   that the input that was provided by this particular mask is

 18   Q.      Okay.    And is this basically relating to the exact same                    18   the input of tie bounding box data?

 19   issue we just discussed?                                                             19   A.      We're all in agreement about that.

 20   A.      Exactly.                                                                     20   Q.      Uh, and finally, let's go the next limitation.    Uh, were

 21   Q.      Okay.    And so, uh, you agree that it's a mask; right?                      21   you here when Dr. Frakes opined that he did not believe, uh,

 22   A.      Yes.                                                                         22   you had proven that the, uh -- that there was a tie surface

 23   Q.      But is it just a mask or is it a mask being applied to                       23   plane model because in the LRAIL, um, the analysis only uses

 24   something?                                                                           24   half of a tie?

 25   A.      A mask being applied to the tie.                                             25   A.      I was here, yeah.



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  1   Q.      Okay.    And what's your -- what's your, uh, opinion as to                   1   A.     Yes.

  2   whether that's correct?                                                              2   Q.     Okay.    So does the claim require the tie surface plane

  3   A.      Uh --                                                                        3   data to be exact?

  4   Q.      Whether his opinion is correct.                                              4   A.     No.

  5   A.      Uh, I don't agree with him simply because as you can                         5   Q.     Is there anything in the claim that you've read that

  6   see, a portion or a half tie, uh, appears to be in the same                          6   requires it to be the entire -- to extend across the entire

  7   surface of a whole tie, okay, and the presentation -- well,                          7   tie?

  8   even for the presentation of the half tie, it would be the                           8   A.     No.

  9   same as the presentation of a whole tie.                                             9   Q.     Is there anything -- is there any claim construction

 10                   But, again, in the code, you see that the                           10   you're aware of that requires it to extend across the entire

 11   adPlaneParams coordinates that are highlighted by the red box                       11   tie?

 12   is the, uh, approximate, uh, tie surface plane that is being                        12   A.     No.

 13   used in the code.                                                                   13   Q.     Okay.    Now, let's go back to slide 15, please.

 14   Q.      And you mentioned the word approximate, and I want to go                    14                  Now, Doctor, if you want to identify an approximate

 15   back up.       Now, Dr. Frakes was focusing on this portion of                      15   plane of something that's flat, do you need to analyze the

 16   step b, but actually, the tie surface plane model comes into                        16   entire flat surface?

 17   play in the previous step; isn't that right?                                        17   A.     No.

 18   A.      Yes.                                                                        18   Q.     Why is that?

 19   Q.      So let's take a look at --                                                  19   A.     Uh, because first of all, the plane is infinite,

 20                   Go back to slide 12, please.                                        20   theoretically, and I don't need to get all the points to be

 21                   And if you look up in step a, when that tie surface                 21   able to identify the -- to come up a with a representation of

 22   plane data first comes into the system, how is it described                         22   the whole plane.

 23   in the claim?                                                                       23   Q.     And so, Doctor, in your opinion, is this limitation

 24   A.      Um, as an approximate tie surface plane.                                    24   satisfied by the LRAIL system?

 25   Q.      Approximate.                                                                25   A.     It is.



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  1   Q.      Okay.    And, again, in summary, now that we've gone                         1   uh, the invention.      In other words, uh, I don't rely on

  2   through the three disputes that Dr. Frakes had on Claim 8,                           2   hindsight.

  3   does that change your opinion at all that you expressed last                         3   Q.     Okay.    And I want to make sure I understand -- or I want

  4   week that Claim 8 is infringed by the LRAIL software?                                4   to see what your understanding of hindsight is, and I'm gonna

  5   A.      No, I don't change my opinion at all.                                        5   give you a hypothetical.

  6   Q.      Let's change gears and talk about invalidity.                                6   A.     Sure.

  7                   And let's start, uh, with the first ground and the                   7   Q.     The hypothetical is that I've just invented a

  8   first argument that we heard Dr. Frakes express.       And that                      8   combination microwave/frying pan.      It's a frying pan that's

  9   was an obviousness argument; right?                                                  9   got microwave technology in it, and you can just put it on

 10   A.      Right.                                                                      10   you countertop and fry's eggs on it without using a stove.

 11   Q.      Can you explain your understanding, um, that you used                       11   Are you with me so far?

 12   when you did your obviousness analysis?                                             12   A.     Sure.

 13   A.      Yes.    My understanding is that a patent claim is obvious                  13   Q.     Now, if that's my invention --

 14   if -- if it would have been obvious for a person of ordinary                        14   A.     Okay.

 15   person skill in the art at the time that the invention was                          15   Q.     -- and you look back at the prior art before my

 16   made.                                                                               16   invention, and you find references to frying pans, and you

 17   Q.      Okay.    Are there any particular factors that must be                      17   find references to microwaves, does that mean my invention is

 18   considered?                                                                         18   obvious?

 19   A.      Yes.    There are four different factors; the prior art,                    19   A.     No.

 20   the difference between the prior art and the claimed                                20   Q.     Why?

 21   invention, the level of ordinary skill in the art and some                          21   A.     Uh, because if it was obvious, somebody would have gone

 22   additional considerations.                                                          22   back and, uh -- and done it before you.

 23                   In addition, uh, a person of ordinary skill in the                  23   Q.     Does -- the fact that references exist in the prior art

 24   art -- in the art we have a particular motivation, uh, to be                        24   that teach all the elements collectively, does that

 25   able to combine different documents in order to come up with,                       25   necessarily mean the patent is obvious?



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  1   A.     No.                                                                         1   understanding?

  2   Q.     Okay.   What do you have to have?   I mean, is there some                   2   A.     Yes.

  3   special thing you have to have to be able to combine these                         3   Q.     Okay.    And do you have an understanding of what it

  4   things?                                                                            4   takes, what are the requirements for something to qualify as

  5   A.     Yeah, you have to have a reason.    Uh, you have to be                      5   a public use or an on sale prior art?

  6   triggered by something to be able to go and pick those                             6   A.     Sure.    Next slide, please?       Yeah.    I wanna draw your

  7   different pieces and put them together as a -- as a new                            7   attention to those highlighted areas.             The yellow part is

  8   invention.                                                                         8   above the publically known.

  9   Q.     So let's take a look -- well, first of all, you mention                     9                  MR. LAQUER:    Objection, Your Honor.

 10   in Step 1 that you're supposed to consider the scope and                          10                  The jury will be instructed later.

 11   content of the prior art.                                                         11                  THE COURT:    Yeah.   I think, again, when we're

 12   A.     Yes.                                                                       12   testifying about the law, that's something you're going to

 13   Q.     Um, can you -- do you have an understanding of prior art                   13   get.    You can ask him what he based his opinions on, but as

 14   is just generally speaking?                                                       14   far as having him opine on the law, that's improper.

 15   A.     Yes.    Next slide please?   Prior art is any of these                     15                  MR. BARNEY:    Understood, Your Honor.

 16   elements, five elements; other patents, publications, uh, if                      16                  I can move on.

 17   the, uh -- the system was public use or on sale or any other                      17                  THE COURT:    Thank you.

 18   information that is publically available about the, uh -- the                     18   BY MR. BARNEY:

 19   system.                                                                           19   Q.     Let's turn to Dr. Frakes' first, um, first ground.

 20   Q.     Okay.   Now, Dr. Frakes mentioned some publication, a                      20   A.     Okay.

 21   2014 publication, for instance, or a Lorente publication.        Do               21   Q.     And, uh, what was his first -- what is his first

 22   you have any dispute that those are prior art?                                    22   argument or first ground?

 23   A.     No, I do not have any dispute on that.                                     23   A.     Uh, it's the UML sale and support.

 24   Q.     Uh, but some of the stuff he talked about, I believe was                   24   Q.     Okay.    And I want to take a look at what that actually

 25   more in the nature of a public use.      Is that your                             25   is.    What references does Dr. Frakes use to create what he



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  1   calls the UML sale and support?                                                    1   Q.     And, of course, you were here for the testimony of

  2   A.     Yeah.   He combines four references.   Top left is the                      2   Dr. Frakes.

  3   purchase order to UML.     Top right is the laser crack                            3   A.     Yes.

  4   measurement system.     And at the bottom are two software                         4   Q.     Okay.    In any of that testimony, did you hear any

  5   codes.    The left one is software version r8323, and the right                    5   evidence to your knowledge that these two portions of code

  6   is an undated, uh, part of code.      Uh, it's a MATLAB code.                      6   were made publically available?

  7   Q.     And Dr. Frakes, again, do you have any dispute that the                     7   A.     No.

  8   2012 manual is a public -- a printed publication or a prior                        8   Q.     Did you hear any testimony or evidence that they were

  9   art?                                                                               9   actually provided to --

 10   A.     I do not have any dispute.                                                 10                  MR. LAQUER:    Objection.    Legal conclusion,

 11   Q.     And do you have any dispute that the Pavemetrics'                          11   Your Honor.      Software doesn't need to be publically

 12   invoice that's on the upper left-hand side is prior art?                          12   available.      The question is whether the product --

 13   A.     I don't have any dispute.                                                  13                  THE COURT:    Sorry, hang on one second.

 14   Q.     What about the two software, uh, snippets?                                 14                  I think he can answer.

 15   A.     Uh, these are not prior art for me.                                        15   BY MR. BARNEY:

 16   Q.     And why do you -- why do you say that?                                     16   Q.     Doctor, I'll just repeat my question.           Did you see any

 17   A.     Uh, because as you can see, the date, uh, of the                           17   testimony or evidence that lead you to conclude or believe

 18   software code r8320 is 2014, uh, and the sale was done, uh,                       18   that these portions of software code were actually delivered

 19   two years before that in 2012.      And as far as the mat lab,                    19   to the University of Massachusetts Lowell?

 20   uh, code, there is no date on it.                                                 20   A.     I did not see any evidence.

 21   Q.     Uh, were you here for the testimony of Dr. Hebert?                         21   Q.     Okay.    Did you see any evidence or hear any testimony

 22   A.     Yes.                                                                       22   that lead you to conclude that these specific portions of

 23   Q.     Okay.   And were you here for the testimony of the other                   23   code were actually used by the University of Massachusetts in

 24   Pavemetrics' fact witnesses?                                                      24   an actual, operational, um, rail inspection, um, system?

 25   A.     Yes.                                                                       25   A.     No, I have not.



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  1   Q.   Did you see any evidence or hear any testimony that                              1   the next slide.       Um, what is your opinion as to whether those

  2   these specific snippets of code or these -- these code                                2   four references which Dr. Frakes calls the UML sales support

  3   modules were actually commercially exploited by the                                   3   disclose or teach a track elevation map?

  4   University of Massachusetts?                                                          4   A.      No.    Um, the UML sale and support does not generate a

  5   A.   No, I have not.                                                                  5   track elevation map.

  6   Q.   So what's your conclusion -- or do you have an                                   6   Q.      Okay.    And -- and what, uh -- what is the basis for

  7   understanding or conclusion as to whether these particular                            7   that?    The next slide, please?      Can you explain why you

  8   portions of code that there's any evidence to show that they                          8   concluded that?

  9   actually were publically used?                                                        9   A.      Yes.    Um, I have put side by side two, uh, pieces of

 10   A.   No, I do not have any evidence of that.                                         10   code, one coming from the software version 8320 and the other

 11   Q.   Now, let's just assume for the sake of argument that                            11   one from the LRAIL system.       Uh, and I have, uh, actually

 12   they are prior art, okay, for the rest of my questioning?                            12   looked at the code associated with a particular function to

 13   A.   Okay.                                                                           13   get 3D intensity from the LCMS Fake3D, uh, structure.

 14   Q.   Okay.    And let's go to the next slide, please.       What,                    14                   And as you can see on the left code, there is no

 15   uh -- let me have the next slide after that.      Um, assuming                       15   mentioning of any, uh, range data that's coming to the final

 16   that they are prior art, and that all four of these things                           16   variable, the PadInt.       However, we show extensively, last

 17   can be combine -- combined together in the way that                                  17   week, there is evidence coming in purple boxes of range

 18   Dr. Frakes has done, um, in your opinion, would that -- even                         18   information and the intensity information coming from the

 19   with that combination of four references, would that actually                        19   blue boxes that comes together to create a 3D structure and

 20   disclose the elements of Claim 1?                                                    20   the variable.

 21   A.   No, they wouldn't be able to disclose steps b and c                             21   Q.      And just to make sure I understand your testimony, on

 22   because there was no track elevation map, no appropriate                             22   the right-hand side of your demonstrative, that's the, uh,

 23   gradient neighborhood or identify a railway track bed feature                        23   accused LRAIL system, uh, that's at issue in this case; is

 24   from the track elevation map.                                                        24   that correct?

 25   Q.   Okay.    So let's take those one at a time if I could have                      25   A.      That's correct.



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  1   Q.   And you testified last week that you went through that                           1   Q.      And is there anything that supports your opinion --

  2   code, and you were able to find exactly where there's                                 2   beyond just looking at the code that you've just testified

  3   intensity data and elevation data combined into a 3D image                            3   about, is there anything else that you considered that

  4   for purposes of the neural network analysis.                                          4   relates to your opinion?

  5   A.   Correct.                                                                         5   A.      Yes.    Next slide, please.   We heard yesterday from, uh,

  6                MR. LAQUER:    Objection, leading.                                       6   Mr. Laurent that, um, the 3D merge is just intensity and does

  7                MR. BARNEY:    I could rephrase, Your Honor.                             7   not include range data.

  8                THE COURT:    Thank you.                                                 8   Q.      Okay.    And so you agree with him that the prior art

  9   BY MR. BARNEY:                                                                        9   code, um, the 3D merged, uh, portion of that, is not

 10   Q.   Doctor, I just want to clarify that on the right, that's                        10   including intensity data?

 11   the accused system.                                                                  11   A.      It does not include, uh, range data.

 12   A.   That's correct.                                                                 12   Q.      I'm sorry, does not include range data?

 13   Q.   Did you find anything like that in the system on the                            13   A.      Range data.    It does not.

 14   left which is the prior art system that Dr. Frakes is                                14   Q.      And just to remind us, is range data the same thing as

 15   referring to?                                                                        15   elevation data?

 16   A.   No, I have not found anything like that.                                        16   A.      Correct.    Yes.

 17   Q.   Did you find any of the information like you see in the                         17   Q.      All right.    So Doctor, so what's your opinion as to

 18   purple boxes that show that elevation data is provided into                          18   whether the prior art that, uh, Mr. Frakes went through, uh,

 19   the, um -- is provided into the, uh -- the image that's being                        19   satisfies Limitation B?

 20   analyzed?                                                                            20   A.      It does not satisfy it.

 21   A.   No, I have not seen it.                                                         21   Q.      Did you, did you look at the next Limitation C?

 22   Q.   And so what does that lead you to believe in terms of                           22   A.      Yes.

 23   whether or not the prior art discloses an elevation map as                           23   Q.      And what is your opinion as to whether the prior art,

 24   the court has construed it?                                                          24   the UML system, satisfies the first portion of Limitation C?

 25   A.   It does not disclose an elevation map.                                          25   A.      Uh, it does not because, again, uh, C requires that the



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  1   identification of, uh, railway track bed features from the                           1   Q.      Does a Sobel filter always have a predesigned -- a

  2   track elevation map, and as we can see in this part of the                           2   predefined size and weight?

  3   code, um, that has the, uh, rail edges, uh, no Fake3D is used                        3   A.      Yes.

  4   to detect those.                                                                     4   Q.      Does it have the same predefined size and weight

  5   Q.   All right.     And how about -- if I could have the next                        5   regardless of what image or feature you're searching for?

  6   slide.     How about the requirement of defining an appropriate                      6   A.      Correct.

  7   gradient neighborhood representing a small 2D track, uh,                             7   Q.      And so is it flexible in the sense that you can change

  8   section over which differential vertical measurements are                            8   the size and weight depending on what type of feature you're

  9   calculated?                                                                          9   looking for?

 10                Do you have an opinion as to whether the UML                           10   A.      No.

 11   system, the prior art system that Dr. Frakes referred to,                           11   Q.      Okay.    So in your opinion, does -- the use of a Sobel

 12   satisfies that limitation?                                                          12   filter in the prior art UML system, does that satisfy this

 13   A.   It does not because as we heard yesterday, uh, from, uh                        13   requirement of step c?

 14   Dr. Hebert, they are using Sobel filters, and Sobel filters                         14   A.      No, it does not satisfy it.

 15   are pretty fine.                                                                    15   Q.      Okay.    If I could have the next slide, please?

 16   Q.   Well, wait a second, Doctor.       I thought you said that                     16                   Now, I want to talk about the second argument that

 17   having a, uh -- a fixed filter is okay as long as you're                            17   Dr. Frakes went through.

 18   choosing different sized fixed filters searching for                                18                   THE COURT:   Counsel, let me stop you, and we'll

 19   different images?                                                                   19   just take our morning break now for 10 minutes, and we'll

 20   A.   Well, in this particular, uh, case, the filter has fixed                       20   pick up then.       Thank you.

 21   weights in them.     The weight does not change.     And                            21                   THE CLERK:   All rise.

 22   traditionally, it's a 3by3, um, filter.                                             22                                (Jury not present.)

 23   Q.   Okay.     I want to make sure I understand this.      Sobel                    23                   THE COURT:   Okay, we'll reconvene at 10:40.

 24   filter, how old is that technology?                                                 24                                 (Recess taken.)

 25   A.   Uh, I would say probably 40 years old technology.                              25                   THE CLERK:   All rise.



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  1                              (Jury present.)                                           1   particular, uh, what do you think is missing, if anything,

  2                THE COURT:    Okay.   Counsel, you can proceed.                         2   from the combination of these five references?

  3                MR. BARNEY:    Thank you, Your Honor.                                   3   A.      I think the combination does not disclose steps b and c.

  4   Q.   Doctor, before the break, we were just beginning your                           4   Q.      Okay.    And let's take those one at a time.      What is your

  5   commentary on Dr. Frakes' second invalidity argument.          And if                5   opinion or why do you feel that, um -- the combination of

  6   I could have the next slide?                                                         6   the, um, UML system prior art and the Lorente paper, why do

  7                What do you understand Dr. Frakes' second                               7   believe that even combining those together, it still doesn't

  8   invalidity argument to be?                                                           8   disclose a track elevation map?

  9   A.   Uh, it's a combination of the UML sale and support and                          9   A.      Uh, we saw earlier that the UML sale and support does

 10   the Lorente paper.                                                                  10   not, uh, define a track elevation map.          Now, with the

 11   Q.   Okay.     And just for the record, you're talking about                        11   inclusion of the Lorente paper, in the Lorente paper, they

 12   EC-TRB2014, and you're gonna refer to that as the Lorente                           12   study a range base -- a rail track inspection system, and as

 13   paper?                                                                              13   the report says, they do not using -- uh, they use only range

 14   A.   Correct.                                                                       14   data.

 15   Q.   And Doctor, how many total references are in this                              15   Q.      Okay.    I'm gonna take a step back and make sure I

 16   combination that Dr. Frakes is asserting renders our claims                         16   understand what you're saying.           The way the court has

 17   obvious?                                                                            17   construed a track elevation map, am I correct that it has to

 18   A.   It's about five references.                                                    18   include both intensity and elevation data?

 19   Q.   Okay.     Again, assuming that the two, uh, snippets of                        19   A.      Correct.

 20   source code actually are prior art, is it your opinion -- or                        20   Q.      And as you were testifying before, you don't believe the

 21   what is your opinion as to whether the combination of all                           21   UML system, the four references that Dr. Frakes is using,

 22   five of these references would render the claims of our                             22   actually discloses the use of elevation data in an elevation

 23   patents invalid?                                                                    23   map.

 24   A.   Again, uh, I don't agree with that.                                            24   A.      Correct.

 25   Q.   And let's see the next slide, please.       And in                             25   Q.      Okay.    And so in order for this Lorente paper to what we



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  1   say cure that defect, to fill that gap that's missing, what                        1   wouldn't be able to say that?

  2   would Lorente have to disclose?                                                    2   A.    Correct.

  3   A.     He'd have to disclose that that includes both range and                     3   Q.    Okay.    Um, and so what's your opinion as to whether the

  4   intensity.                                                                         4   combination of all five of these references discloses an

  5   Q.     Okay.   And what -- what does, in fact, Lorente disclose?                   5   elevation map?

  6   Does he disclose both the use of range and intensity?                              6   A.    No, they do not.

  7   A.     No.    In fact, actually, I have underlined, uh, some text                  7   Q.    And how about the next limitation?       You mention

  8   there that says the data does not suffer from illumination                         8   Limitation C.     What is it in Limitation C that you believe,

  9   changes, and usually a problem with the illumination changes                       9   uh, is not, uh, disclosed or taught by the combination of the

 10   come from the, uh, use of intensity ranges.                                       10   UML system with Lorente?

 11   Q.     And so when -- when, uh, Lorente was describing the                        11   A.    As a part of Claim C, um, there is under numeral I, the

 12   system of their patent, they called it a range based track                        12   definition of an appropriate gradient neighborhood

 13   elevation system.     And what does that mean to you?                             13   representing a small 2D track section.       However, in the

 14   A.     It uses only range, uh, or elevation data.                                 14   Lorente paper, the processing happens in just, uh, one

 15   Q.     Okay.   So your understanding is that because they called                  15   dimensional line, and that's because they get sections of the

 16   it a range based inspection system, does that imply that it's                     16   3D elevation.     So all they are processing is done on 1D.

 17   not using intensity in the calculation?                                           17                 And in particular, they use a methodology that's

 18   A.     Correct.                                                                   18   called derivative of Gaussian or DoG.        Um, and, again,

 19   Q.     And how does -- that second sentence that you just                         19   because they are in 1D scanned line, they do not define, uh,

 20   mentioned, does that relate or confirm your opinion in any                        20   a 2D, uh, track section.

 21   way?                                                                              21   Q.    So 1D means one dimensional.

 22   A.     It confirms my opinion because they exclusively say that                   22   A.    Correct.

 23   their data which in this case is range data does not suffer                       23   Q.    The claim requires two dimensional.

 24   from illumination changes.                                                        24   A.    Correct.

 25   Q.     And if they were using intensity data, then they                           25   Q.    Do you see any teaching in Lorente that is teaching a



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  1   two dimensional gradient neighborhood?                                             1   this combination to try to invalidate Claim 21?

  2   A.     No, there is mention of that.                                               2   A.    Including the two codes, uh, six.

  3   Q.     And so what's your opinion as to whether even if you                        3   Q.    Okay.    And, again, assuming for the sake of argument

  4   were to combine the UML system prior art and Lorente that                          4   that those two software snippets on the left-hand side

  5   Limitation C would be satisfied?                                                   5   actually are prior art, assuming that's true.

  6   A.     It is not satisfied.                                                        6   A.    Yeah.

  7   Q.     Okay.   Now, Doctor, if there's two limitations that                        7   Q.    Um, do you have an opinion as to whether even if

  8   aren't satisfied under the combination, what does that mean                        8   somebody were to combine all six of these references into

  9   in terms of whether that combination renders the claim                             9   one, would that still teach the limitation of Claim 21?

 10   obvious?                                                                          10   A.    No, it would not.

 11   A.     It's not obvious.                                                          11   Q.    Okay.    Now, as reminder, can you please explain to the

 12   Q.     Let's go to the next one, please.   What is the third                      12   jury again, briefly, of course, what Claim 21 is talking

 13   ground that Dr. Frakes asserted in terms of invalidity?       And                 13   about?

 14   this was for Claim 21, I believe?                                                 14   A.    Yeah.    Next slide, please?   Yeah.    Again, we're talking

 15   A.     Yes.                                                                       15   about the identification of joint bar, uh, uh, candidates.

 16   Q.     Okay.   And let's just go, and you can describe what it                    16   So we start from the point where we have find some, uh, areas

 17   is in the slide.                                                                  17   in the image that are potential include -- potentially

 18   A.     Mm-hmm.                                                                    18   include joint bars.

 19   Q.     So what is he doing in this third ground?                                  19                 And the claim says that we are checking the length

 20   A.     He brings in another document, another publication from                    20   of these, uh, areas to be between the minimum and maximum

 21   Gibert-Serra.                                                                     21   threshold, and if this condition is satisfied, then we're

 22   Q.     Okay.   So now we're looking at Claim 21 which is a                        22   accepting as this being a joint bar.     Otherwise, we reject

 23   dependent claim; right?                                                           23   it.

 24   A.     Correct.                                                                   24   Q.    Okay.    So let's -- let's take a look at what the

 25   Q.     And how many total references is Dr. Frakes now using in                   25   teaching of this sixth reference is.     Next slide, please?



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  1                   So when you take a look at that sixth reference                       1   talking about?

  2   that he's bringing into his combination, the Gibert-Serra                             2   A.      No.

  3   reference, does it provide a teaching of the Claim 21 method?                         3   Q.      And so what's your opinion, Doctor, as to whether --

  4   A.      No.                                                                           4   even if you were to combine all six of the references that

  5   Q.      Well, wait a second, Doctor.     What about the part that                     5   Dr. Frakes says that a person of ordinary skill in the art

  6   Dr. Frakes pointed to where it says in the Gibert-Serra that                          6   would have brought together, what's your opinion as to

  7   a combination of both types of features on both joint bars at                         7   whether it would have satisfied the second limitation of

  8   the same rail is used to robustly detect them?                                        8   Claim 21?

  9                   Each trigger is validating by checking the symmetry                   9   A.      It would not.

 10   and the length of the bar to remove false detections?       Isn't                    10   Q.      Let's move on, Doctor.      We didn't hear much from

 11   that a teaching of Claim 21?                                                         11   Dr. Frakes on Claim 8 of the '557 patent.            Do you agree with

 12   A.      Uh, no.                                                                      12   that?

 13   Q.      Why not?                                                                     13   A.      Yes.

 14   A.      What the paper says basically is that, uh, they look                         14   Q.      Okay.    Now, I think he said maybe just one sentence

 15   at -- they look at the gap that exists between the rails as                          15   about it.

 16   they come together, and the joint bar tries to connect them                          16   A.      Correct.

 17   and views this point as the point of symmetry so they look at                        17   Q.      Okay.    Nevertheless, do you have an opinion -- well,

 18   one of the two parts that are separated by the point of                              18   let's have the next slide.

 19   symmetry, and they try to see if they match.                                         19                   Do you have an opinion -- as to whether his

 20   Q.      Okay.    Is there anything in Gibert-Serra that talks                        20   proposed combination which is the four parts of the UML sale

 21   about using minimum and maximum length thresholds for this                           21   and support, even if you were to put all those together, and

 22   analysis?                                                                            22   even if you were to assume that the software snippets are

 23   A.      No.    There's mention of, uh, threshold.                                    23   prior art, do you have an opinion as if those would render

 24   Q.      And it necessary to use minimum and maximum thresholds                       24   Claim 8 obvious?

 25   to form this type of symmetry analysis that Gibert-Serra is                          25   A.      Yes.    There's no disclosure of the claims in that



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  1   patent.                                                                               1   Q.      Whereas in our claim, you're removing it which is -- you

  2   Q.      Okay.    And is that -- which limitations do you think are                    2   say is the opposite of that?

  3   missing, uh, if any, from that combination?                                           3   A.      The complete opposite, yes.

  4   A.      There's no disclosure of inputting and comparing and                          4                   MR. LAQUER:    Objection, leading.

  5   identifying steps that are part of Claim 8.                                           5                   THE COURT:    You know, I think it is getting a lit

  6   Q.      Okay.    And can you -- just to keep this brief, can you                      6   bit leading so maybe you can ask him more open ended

  7   just give one example of what you feel is missing?       And if I                     7   questions.       I know you're trying to go fast but --

  8   can have the next slide?                                                              8                  MR. BARNEY:    I am, and I apologize to the Court and

  9   A.      Yes.                                                                          9   to the jury for that.

 10   Q.      Does the software that Dr. Frakes is relying on for his                      10   Q.      So let me retry.      Doctor, did you see anywhere in the

 11   UML service and support prior art, does it disclose anywhere,                        11   references that Dr. Frakes provided of any mention or

 12   anywhere whatsoever the removal of railheads?                                        12   teaching of removing the railheads?

 13   A.      No.     Actually, uh, he points to something that is the                     13   A.      No.

 14   called extract the railhead which is the complete opposite                           14   Q.      And did you see, uh -- and by the way, do you know if

 15   from removing the railhead.                                                          15   Dr. Frakes agrees with you that extracting railheads is the

 16   Q.      What do you do when you extract the railhead?                                16   opposite of removing railheads?

 17   A.      You create an image.                                                         17   A.      Yeah.    He agrees with me, yes.

 18   Q.      Of the railhead?                                                             18   Q.      And did he propose any other reference and any other

 19   A.      Yeah.                                                                        19   combination reference that he's gonna bring in to actually

 20   Q.      Okay.    And what did you do when you remove the railhead?                   20   keep that missing limitation?

 21   A.      Uh, you just remove it completely so there's no image of                     21   A.      No, he just said that it was obvious.

 22   that.                                                                                22   Q.      Okay.    Based on his say-so, you mean?

 23   Q.      So extracting is you're actually focusing on the                             23   A.      Yes.

 24   railhead by creating an image of it; is that correct?                                24   Q.      And so what is your opinion, Doctor, as to whether his

 25   A.      Correct.                                                                     25   proposed combination would render Claim 8 of the '557 patent



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  1   obvious?                                                                            1   called secondary factors or secondary considerations.

  2   A.      It's not obvious.                                                           2   A.   That's correct.

  3   Q.      Okay.   And just a few more questions, Doctor, and then                     3   Q.   And which, if any, of those did you consider in your

  4   I'll let you go.       If I could have slide 47, please?   Now,                     4   obviousness analysis?

  5   Doctor, so far, all of the combinations we've talked about                          5   A.   I considered all of them, the things that are listed on

  6   have used that UML sale and support as the base reference.                          6   the slide.    That is commercial success, the long felt but

  7   Is -- is that fair?                                                                 7   unresolved needs, the industry recognition and praise by

  8   A.      That's fair.                                                                8   others and nexus to the claims.

  9   Q.      Um, do you -- were you in the court when Dr. Frakes also                    9   Q.   And with respect to commercial success, um, were you in

 10   testified about this other publication, the UML-TRB2014?                           10   the courtroom when Mr. Schoettelkotte was -- was explaining,

 11   A.      Yes, I was.                                                                11   uh, his theories on damages?

 12   Q.      If we were to substitute that paper which is the paper                     12   A.   Yes.

 13   about the UML system --                                                            13   Q.   What's your understanding of how many sales of the -- of

 14   A.      Yes.                                                                       14   Tetra Tech's 3DTAS there have been?

 15   Q.      -- for the UML system prior art, just substitute 'em and                   15   A.   I believe it was five?

 16   run through the same analysis again that we just did, would                        16   Q.   Okay.    How many sales of the infringing LRAIL system

 17   that change your opinion as to whether the claims were                             17   have there been?

 18   obvious?                                                                           18   A.   Uh, four.

 19   A.      It would not change my opinion.                                            19   Q.   So considering both the infringing LRAIL systems and the

 20   Q.      Is there anything in this UML-TRB2014 paper that is an                     20   Tetra Tech 3DTAS system, how many total sales have there been

 21   improvement over the system prior art that Mr. Frakes ran                          21   of the patented system?

 22   through?                                                                           22   A.   Uh, uh, nine.

 23   A.      No.                                                                        23   Q.   And did you hear him testify about what he considers the

 24   Q.      Let's go to slide 49, please.    Doctor, you mentioned in                  24   size of the market?

 25   the beginning of your testimony that you -- you can consider                       25   A.   Yes, I heard him.



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  1   Q.      And what is it?                                                             1   obvious or not obvious at the time of the invention?

  2   A.      Uh, I believe he was saying something like 50?                              2   A.   Patent was not obvious.

  3   Q.      Okay.   And, if, uh -- if the size of the market is 50,                     3   Q.   And finally, Doctor, if we go to slide 53, did you

  4   what percentage of the market has now been represented by the                       4   consider whether the secondary factors that you testified

  5   patented invention?                                                                 5   about have what's called a nexus to the claimed invention?

  6   A.      Approximately 20 percent.                                                   6   A.   Yeah.    As you can see, I have highlighted the, uh, uh,

  7   Q.      What does that tell you, if anything, about whether the                     7   particular awards that, uh, uh, go back to the, uh, claims of

  8   patented technology has been successful?                                            8   the patents; the rail joints, the tie, the crack, the

  9   A.      It's been successful.                                                       9   fastener, the spike, joint bars and so on.

 10   Q.      What, if anything, does that tell you about whether the                    10                MR. BARNEY:    Thank you very much for your time

 11   claims were actually obvious at the time of the invention?                         11   Doctor.    I pass the witness.

 12   A.      No, it was not obvious.                                                    12                THE COURT:    Okay.   Any cross-examination?

 13   Q.      Okay.   And did you also consider long felt and                            13                MR. LAQUER:    Yes, Your Honor.

 14   unresolved needs and industry recognition and praise?                              14                              CROSS-EXAMINATION

 15   A.      Yes.                                                                       15   BY MR. LAQUER:

 16   Q.      Okay.   And can we just look at one example of slide 52?                   16   Q.   Let's pull up 517.      Dr. Morellas, you've opined that you

 17   What are we seeing in slide 52?                                                    17   believe the Fake3D software used with the UMASS sale did not

 18   A.      Yeah.   We saw the email from Brad Spencer from, uh, CSX                   18   include any range information; is that correct?

 19   talking about the system, and, uh, he specifically said that,                      19   A.   Correct.

 20   uh, they probably have the most technologically advanced                           20   Q.   And you've based that on the r8320 version of software;

 21   track inspection system, and we are -- we are probably behind                      21   correct?

 22   them.                                                                              22   A.   That is correct.

 23   Q.      What, if anything, does that, um, uh -- taking that                        23   Q.   And so in Exhibit 517, we can see that the UMASS sale is

 24   information into consideration, what, if anything, does that                       24   identified for r8320 here; correct?

 25   lead you to conclude in terms of whether the patent was                            25   A.   Correct.



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  1   Q.   Now, you disagree with Dr. Frakes' opinion that this                           1   A.   Correct.

  2   invalidates because of this supposed difference you've                              2   Q.   The yellow box in the center is the filter; correct?

  3   identified about Fake3D; correct?                                                   3   A.   Correct.

  4   A.   That is correct.                                                               4   Q.   The pink box on the right is the convolved feature;

  5   Q.   You believe that the claims are valid because the UML                          5   correct?

  6   Fake3D here did not use range information; correct?                                 6   A.   Correct.

  7   A.   Yes.                                                                           7   Q.   You describe that as the output of the convolution;

  8   Q.   But the Fake3D code in r8320 did use range information                         8   correct?

  9   as part of its Fake3D calculation; correct?                                         9   A.   Correct.

 10   A.   Yeah.    There is range information appearing, but, uh, in                    10   Q.   And a convolution is a group operator; correct?

 11   the part of the code that I showed you where the final value                       11   A.   Yes.

 12   was computed, there is no mention of the range information.                        12   Q.   And you disagreed with the Karami book about whether a

 13   Q.   Right.     It's used in another part of the code, but it's                    13   stride value of two skips things or not; correct?

 14   still used for Fake3D; correct?                                                    14   A.   Again, I gave my, uh, explanation of that.

 15   A.   That is used in other parts of the code, yes.                                 15   Q.   Okay.    So if the stride value is one, then the filter

 16   Q.   For Fake3D; correct?                                                          16   and the convolved feature both move over one to the right;

 17   A.   Yes.                                                                          17   correct?

 18   Q.   So the UML prior art system used Fake3D with range                            18   A.   Correct.

 19   information; correct?                                                              19   Q.   And we can see that shown here; correct?

 20   A.   Yes.    Range information appears to be there.                                20   A.   Yes.

 21   Q.   Let's look at your slide 11.      This is a representation                    21   Q.   But the results of the neural networks convolution is

 22   of a convolutional neural network filter; correct?                                 22   different if the stride is two; correct?

 23   A.   It's just a schematic.                                                        23   A.   That is correct.

 24   Q.   It's a representation of a convolutional neural network                       24   Q.   Let's take a look what happens to the output of the

 25   filter; correct?                                                                   25   convolutional filter with a stride of two.    Do you see that,



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  1   Dr. Morellas?                                                                       1   PyTorch or other neural networks; correct?

  2   A.   Yes.                                                                           2   A.   Yes.

  3   Q.   So the output is only providing one out of these three                         3   Q.   You just added that in this slide here; correct?

  4   outputs on the top row; correct?                                                    4   A.   I did, yes.

  5   A.   Correct.                                                                       5   Q.   Yeah.    And Google created the TensorFlow and put that in

  6   Q.   So it's skipping involution outputs; correct?                                  6   the public domain for free use; correct?

  7   A.   No.    I don't agree with that.                                                7   A.   Yes.

  8   Q.   It's not having the red -- the pink box in the top                             8   Q.   Do you believe that you or Dr. Frakes knows more about

  9   center output location of the convolution; correct,                                 9   TensorFlow?

 10   Dr. Morellas?                                                                      10   A.   I don't want to make any comparison.

 11   A.   No, let me -- let me --                                                       11   Q.   Do you have any idea?

 12   Q.   No.    Your counsel can do that on redirect if they                           12   A.   I have no idea.

 13   choose.    Let's look at your Slide No. 8.                                         13   Q.   Okay.    You can take that now.   With regard to Claim 8 of

 14   A.   Okay.                                                                         14   the '557 patent, you just opined that -- that extracting

 15   Q.   The picture at the top is of a woman's face; correct?                         15   something is very different than removing it; is that

 16   A.   Uh, yes.                                                                      16   correct?

 17   Q.   And this is showing layers in a convolutional neural                          17   A.   Correct.

 18   network in your opinion; correct?                                                  18   Q.   You understand that the test for obviousness is not

 19   A.   Yes.                                                                          19   whether things are identical but whether one of ordinary

 20   Q.   The picture at the top is from another book, the                              20   skill in the art would realize that the claim's identity is

 21   Synjosky (phonetic) book; correct?                                                 21   obvious in view of the prior art; correct?

 22   A.   Yes.                                                                          22   A.   Yes, but I don't see any particular motivation for

 23   Q.   You included this picture in your report; correct?                            23   someone to do this.

 24   A.   Correct.                                                                      24   Q.   Okay.    And so you don't believe that somebody with the

 25   Q.   But the book didn't list anything about TensorFlow or                         25   degrees and experience of a person of ordinary skill in the



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  1   art would think that they could replace removing something                        1   accused feature; correct?

  2   with extracting it?                                                               2   A.   Correct.

  3   A.   What I'm saying is that there should be a motivation for                     3   Q.   And you believe that the accused feature is Fake3D and

  4   doing that.                                                                       4   Mixed Image used in the, uh, LRAIL systems; correct?

  5   Q.   I'd like a yes or no answer, please.    Do you believe                       5   A.   There is a bunch of, uh, features that are part of their

  6   that somebody with the experience of one of ordinary skill in                     6   claim.

  7   the art in this case would not realize that extracting could                      7   Q.   Yes.    But you believe that Fake3D or Mixed Image is

  8   be replaced with removing?                                                        8   required; correct?

  9   A.   No, I don't agree with you.                                                  9   A.   This -- this -- yeah, this is, uh, included there.      Yes.

 10   Q.   Okay.     Let's look at your Slide No. 50 here.    So you've                10   Q.   Yes or no answers.     All right?   So you've also

 11   shown the RailAI system on the left?                                             11   acknowledged that Fake3D and Mixed Image have been disabled

 12   A.   Yes.                                                                        12   for each one of the versions sold; correct?

 13   Q.   Do you know how many RailAI systems have been sold?                         13   A.   I offered my opinion about that earlier.

 14   A.   I don't know about that.     I heard that the 3DTAS have                    14   Q.   Right.    And that opinion is that you think that maybe if

 15   been, uh, five sales?                                                            15   someone changed something in some file, it could be used, but

 16   Q.   Would it surprise you that there have been zero RailAI                      16   you have no evidence that ever happened; correct?

 17   systems sold by Tetra Tech?                                                      17   A.   What I'm saying is that the user can select what kind of

 18   A.   It might be the case.                                                       18   configuration, uh, it will acquire.

 19   Q.   Yeah, it is the case.     We can take this slide down.                      19   Q.   You've never shown a user doing that ever for any of

 20   Now, you've accused the, um, feature, the sales here, of                         20   these sales; correct?

 21   being attributable to commercial success for secondary                           21   A.   There is no, uh -- again, this is part of the

 22   considerations; correct?                                                         22   configuration.    The user can choose any of those

 23   A.   Correct.                                                                    23   functionalities.

 24   Q.   So you believe that because the LRAIL units have been                       24   Q.   Okay.    You agree that a feature that has not been used

 25   sold, that shows that there is some sort of a demand for the                     25   and cannot be used by the user does not contribute to the



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  1   sales of the product; correct?                                                    1   Q.   And you believe that turnkey shows that the sensors are

  2   A.   Again, you know, if you -- if the user is able to choose                     2   in communication?

  3   certain parameters to enable certain functionalities, then he                     3   A.   I believe so.

  4   can do that.                                                                      4   Q.   So you're arguing against the fact witnesses who have

  5   Q.   Has any LRAIL customer ever enabled Fake3D?                                  5   actual, firsthand experience with these devices; is that

  6   A.   I have no idea about that.                                                   6   correct?

  7   Q.   Has any LRAIL customer ever enabled Mixed Image?                             7   A.   No.    What I'm saying is that each one of those

  8   A.   I do not know.     I cannot answer these questions.                          8   components cannot operate in isolation.     You have to have the

  9   Q.   So you agree there's no nexus then between what you've                       9   sensors and the software to be able to operate the system.

 10   accused of infringement and what you believe the scope of the                    10   Q.   You've never seen an LRAIL system in person, have you?

 11   patent claims are; correct?                                                      11   A.   No, I have not.

 12   A.   What I'm saying is that the nexus of the patent appears                     12   Q.   You've never seen one as it's shipped; correct?

 13   in the product of, uh, Tetra Tech.                                               13   A.   I have not seen any.

 14   Q.   You agree that no one has ever used that; correct,                          14   Q.   You haven't presented any evidence about whether an

 15   Dr. Morellas?                                                                    15   LRAIL sensor was actually in communication with the processor

 16   A.   I do not know that.     I cannot answer that question.                      16   at the time of sale; correct?

 17   Q.   And you don't know whether they've tried to?                                17   A.   I have not seen any system.

 18   A.   I do not know, but I --                                                     18   Q.   Okay.    Let's go ahead and look at Slide No. 9.     Here you

 19   Q.   You have no idea what the consumer demand is.                               19   rely on LRAIL Software Version r10323; correct?

 20   A.   I know I heard about what is the consumer demand, but I                     20   A.   Yes.

 21   do not know how they -- they use the different                                   21   Q.   And you've heard Dr. Hebert and Mr. Laurent explain this

 22   functionalities.                                                                 22   can't be used with accused LRAIL sales; correct?

 23   Q.   Okay.     Let's look at your Slide No. 4.    You've                         23   A.   It cannot?

 24   underlined the phrase turnkey sales here; correct?                               24   Q.   Right.    So this is irrelevant; correct?

 25   A.   Yes.                                                                        25   A.   Uh, why is it irrelevant?



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  1   Q.   Let's go on to slide 21.     You just opined that these are                   1   cannot be prior art.

  2   four different references when they're all documents                               2   Q.   These documents describe the same system.        Your analogy

  3   describing the UML sale; correct?                                                  3   was completely flawed; correct?

  4   A.   Uh, not necessarily.                                                          4                MR. BARNEY:     Objection, Your Honor, argumentative.

  5   Q.   You used an analogy provided by Tetra Tech's counsel                          5                THE COURT:     Yeah.   Objection sustained.

  6   that it's not appropriate to combine different prior art                           6   BY MR. LAQUER:

  7   references; correct?                                                               7   Q.   So can you identify any differences in the systems here?

  8   A.   Yes, what I -- what I said it that, uh --                                     8   A.   Again, I explained that the r8320 is not prior art

  9   Q.   I'd like to stay brisk here.     That analogy relied on a                     9   because it was not part of the sale getting, uh, a date two

 10   frying pan and a microwave; correct?                                              10   years after the -- the sale.

 11   A.   That example.                                                                11   Q.   Let's go to Slide No. 19.        Here you were trying to

 12   Q.   Yes, that example.    And so here we're looking at sensors                   12   explain public use and public sale as it relates to prior

 13   described in a manual for the UML system; correct?                                13   art; correct?

 14   A.   Uh, yes.                                                                     14   A.   Yes.

 15   Q.   That's from the INO document; correct?                                       15   Q.   You understand that selling a system qualifies as prior

 16   A.   Yes.                                                                         16   art even if the system source code remains confidential;

 17   Q.   And we're looking at source code for the UML system;                         17   correct?

 18   correct?                                                                          18   A.   Uh, maybe.

 19   A.   At the bottom, yes.                                                          19   Q.   Well, so, for example, the iPhone could be prior art to

 20   Q.   And we're looking at a sales order for the UML system;                       20   later devices; correct?

 21   correct?                                                                          21   A.   Yes.

 22   A.   Yes.                                                                         22   Q.   Even though Apple keeps the iPhone source code secret;

 23   Q.   Which one of these is the frying pan, and which one is                       23   correct?

 24   the microwave?                                                                    24                MR. BARNEY:     Your Honor, I -- I was giving a little

 25   A.   Again, you know, what I'm saying is that those documents                     25   leeway cause I delved into this a little bit as well, but I



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  1   think according to your order, there's --                                          1                THE WITNESS:    Okay.

  2               THE COURT:   Yeah.   I think these are legal                           2                THE COURT:     Well, let him finish his answer,

  3   arguments you can all make in closing.                                             3   though.    I mean, you can always move to strike it.

  4   BY MR. LAQUER:                                                                     4                Try to answer -- try to answer the question

  5   Q.   Let's look at slide five.     The picture on the right with                   5   directly.

  6   the check boxes is from Microsoft Word; correct?                                   6                THE WITNESS:    Yes, because the system is, uh,

  7   A.   Yes.                                                                          7   shipped as DLL libraries, the user doesn't have to recompile

  8   Q.   So you're using a Microsoft Word picture to argue that                        8   the code or rewrite the code if he uses the code with some

  9   LRAIL can be configured to use Fake3D; correct?                                    9   configuration parameters.

 10   A.   This is just an example so --                                                10   BY MR. LAQUER:

 11   Q.   So that's a yes?                                                             11   Q.   You heard Dr. Laurent and Mr. Hebert testify

 12   A.   Yes.                                                                         12   yesterday -- I'm sorry, Dr. Hebert and Mr. Laurent testify

 13   Q.   Thank you.   You haven't shown any check box for Fake3D                      13   yesterday about the actual source code of LRAIL showing where

 14   in any LRAIL system; correct?                                                     14   the configuration values are in the source code; correct?

 15   A.   This is part of it that is used.                                             15   A.   I'm not sure of that.

 16   Q.   Have you shown anything here showing that Fake3D can be                      16   Q.   Okay.    You don't remember seeing the zeros in the source

 17   the input into the neural network of the LRAIL system?                            17   code that make LRAIL use range only for its input?

 18   A.   I have not shown it.                                                         18   A.   Yeah.    I've seen those, yeah.

 19   Q.   Right, you have not shown anything for LRAIL; correct?                       19   Q.   Okay.    And so that's not a buoy box; correct?

 20   A.   Yes.                                                                         20   A.   No.

 21   Q.   You've only shown something for Microsoft Word; correct?                     21   Q.   That's actual source code; correct?

 22   A.   Yes, but, uh, because the system is shipped as DLL                           22   A.   Yes.

 23   libraries, you don't have to recompile --                                         23   Q.   Somebody would have to go in and change those files in

 24   Q.   I asked yes or no questions.     Your counsel can ask to                     24   order to make the zeros turn into ones; correct?

 25   follow up on redirect if they choose.                                             25   A.   No.



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  1   Q.     You don't have to change a source code file in order to                      1   you're gonna change the functionality or the configuration of

  2   change its value.                                                                   2   the Microsoft Word, you do not send the software back to

  3   A.     You do not have to change the code.                                          3   Microsoft to get a new version that will include this

  4   Q.     Okay.    You've never shown any instance of Fake3D ever                      4   functionality.

  5   being used by any customer; correct?                                                5   Q.   Does Microsoft Word infringe Claim 1 of the '293 patent?

  6   A.     Correct.                                                                     6   A.   Claim 1 of the '9 -- '293 patent?

  7   Q.     You admit that range only images being put into the                          7   Q.   Correct.

  8   neural network does not infringe; correct?                                          8   A.   No.

  9   A.     What I'm saying is that the capability is there.                             9   Q.   No.     So your picture here is irrelevant; correct?

 10   Q.     You have never -- you admit that inputting range only                       10   A.   It's just an example.

 11   images into the neural network does not infringe; correct?                         11   Q.   Have you looked at the source code of Microsoft Word?

 12   A.     If you put only range information, no.      But as --                       12   A.   No.

 13   Q.     And that -- I'm sorry, go ahead.                                            13   Q.   Have you prepared anything about Microsoft Word source

 14   A.     But, uh, as I showed you in the -- in my presentation,                      14   code to any LRAIL source code?

 15   there are the uses of Fake3D in running the neural network.                        15   A.   No.

 16   Q.     Just to be clear, using range only images in LRAIL does                     16   Q.   No.

 17   not infringe; correct?                                                             17   A.   There was no need.

 18   A.     Yes.                                                                        18   Q.   There's no need because you just looked at a spell check

 19   Q.     And that is the value that is set in LRAIL's source code                    19   window in Microsoft Word and claim that that proves

 20   by those zeros that we looked at; correct?                                         20   infringement by LRAIL; correct?

 21   A.     Uh, like I said, we are going back to the same argument.                    21   A.   No.     What I wanted to say to make the point that, uh,

 22   Q.     Right.    And here you're using a Microsoft Windows --                      22   for reconfiguring a system, you don't get to necessarily

 23   Microsoft Word image in order to try to show that LRAIL                            23   rewrite or recompile the code.

 24   infringes; correct?                                                                24   Q.   And you believe because of the way Microsoft Word

 25   A.     Yes.    What I'm trying to say is that you do not -- if                     25   operates, Pavemetrics should be shut down from continuing to



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  1   sell LRAIL; correct?                                                                1   execution of that program.

  2   A.     That's not my decision.                                                      2   Q.   And you'd have to recompile the code in order to change

  3   Q.     Have you ever looked at a configuration file?                                3   the result.

  4   A.     Uh, can you be more specific?                                                4   A.   No.   You did not.

  5   Q.     Have you ever looked at an LRAIL configuration file?                         5   Q.   You've never shown any use of any LRAIL that's accused

  6   A.     No, I have not.                                                              6   of using Fake3D or Mixed Image with those features; correct?

  7   Q.     And you've never seen any example of any user ever using                     7   A.   No.   I just told you, uh, how the -- when you get the

  8   the features you claim infringe; correct?                                           8   code, that -- that's how you change the configuration.      You

  9   A.     I have not seen any configuration file.                                      9   don't have to recompile or rewrite the program.

 10   Q.     You have no idea if any of this has ever been utilized.                     10   Q.   To change what the result of a .cpp source code file is?

 11   Correct?                                                                           11   Is that your testimony?

 12   A.     I do not have information about that.                                       12   A.   What I'm saying is that you do not have to rewrite the

 13   Q.     Did you ask?                                                                13   code or recompile it, you know, in order to have different,

 14   A.     Uh, the -- the only, uh, time that I heard about the                        14   uh, outcomes from your software whether saving the data into

 15   configuration files is, uh, when I was giving my testimony to                      15   the screen or saving the data into a file.

 16   you.                                                                               16   Q.   Dr. Morellas, going back to the example of prior art, do

 17   Q.     When you were looking in the source code, you saw that                      17   you believe that the UML version was capable of having

 18   the source code controlled the configuration; correct?                             18   configurations changed?

 19   A.     Uh, no, I didn't see that.                                                  19   A.   I have not seen such a thing.

 20   Q.     What do you think controlled the configuration?                             20   Q.   Okay.    So you think that it could be possible to change

 21   A.     The configuration is how you, uh -- how you compile your                    21   the accused versions of LRAIL any way you suppose, but you

 22   program.      For example, you can run, uh, an object, uh, code                    22   don't know to what extent the prior art UML system could be

 23   with different, uh, uh, parameters.     For example, if I -- if                    23   adapted.

 24   I create a program, and I want to have the output going into                       24   A.   The UML reveals a prior, uh, version, but it didn't

 25   the screen versus the file, there is a way of configuring the                      25   have, uh, I didn't know anything about configuration files,



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  1   no buoys, nothing.                                                                     1   Okay?    And the point that I was trying to make is how the

  2   Q.   Yes.     You have no idea how that prior UML version could                        2   differential vertical measurements were created.

  3   have been configured in order to render obvious all of the                             3                   So by sliding the gradient window of the particular

  4   asserted claims in Tetra Tech in this case; correct?                                   4   portions of the image, you get one differential vertical

  5   A.   I didn't find anything in that code about that.                                   5   measurement.       When you move the gradient neighborhood just

  6   Q.   You did not look.       Correct?                                                  6   one pixel to the right, you're gonna have, uh, another one.

  7   A.   I did look.                                                                       7   And finally, if we cover the whole, uh, first row, you'll

  8   Q.   And you don't know how it can be configured; correct?                             8   have the third pixel.

  9   A.   No.     There is no such a thing that you're talking about                        9                   However, if I were to use a stride of two, instead

 10   right now.                                                                            10   of having a 3 by 3 differential vertical measurements, I

 11   Q.   Have you ever seen any configuration of any UML with                             11   would have a 2 by 2 differential vertical measurement.

 12   options to change values?                                                             12   That's the only point I wanted to make.

 13   A.   No, I have not seen any.                                                         13   Q.      Okay.    And in terms of the claim requirements, does the

 14                MR. LAQUER:    No further questions.                                     14   LRAIL system calculate vertical measurements?

 15                THE COURT:    Okay.    Any redirect, Counsel?                            15   A.      Yes.

 16                MR. BARNEY:    Just a short one, Your Honor.                             16   Q.      And in different a limitation that requires that the

 17                             REDIRECT EXAMINATION                                        17   gradient neighborhood, uh, move across the, uh, data like a

 18   BY MR. BARNEY:                                                                        18   sliding window, and you saw the court's claim construction --

 19   Q.   Can I have slide 11, please?         Dr. Morellas, my colleague                  19   A.      Yes.

 20   on the other side here was asking you about your                                      20   Q.      -- does it satisfy that construction?

 21   demonstrative on slide 11?         I believe he cut you off while                     21   A.      It does, yes.

 22   you were trying to explain something.         Could you please                        22   Q.      Does it slide across the data sequentially?

 23   continue your explanation?                                                            23   A.      Yes.

 24   A.   Yeah.    Uh, for this particular case, I had the gradient                        24   Q.      Does it apply, um, the calculations, uh, completely?

 25   neighborhood sliding just one pixel to the right at a time.                           25   A.      Yes, it does.



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  1   Q.   Does it leave any pixel behind?                                                   1   suggested that this is the only information you considered

  2   A.   No.                                                                               2   and the only thing you presented to the jury, but do you

  3   Q.   All right.    If I could have slide five, please.       There                     3   recall that we looked at Exhibit 28, uh, which was the LRAIL

  4   was quite a bit of animated questioning an this idea of                                4   Software and Maintenance Manual?

  5   Microsoft Word.    And Doctor, uh, why, again, were you using                          5   A.      Yes.

  6   this example of Microsoft Word?         What were you trying to, um,                   6   Q.      Okay.    Could I have that back on the screen, and go to

  7   explain to the jury?                                                                   7   page 13, again?

  8   A.   Yes.     What I was trying to explain is that, uh, you                            8                   Okay.   And did you also consider all of the

  9   don't have to, uh, have a different, uh, uh, compiled version                          9   documentation that, uh, Pavemetrics provides to its customers

 10   of the code to enable certain functionalities.        By just                         10   on how to operate this system?

 11   clicking those, uh, uh, buttons, you can enable or disable                            11   A.      Yes, I did.

 12   according to your, uh, needs.                                                         12                   MR. BARNEY:   If we could blow up the very top

 13   Q.   Now, based on your 30 years of experience with software                          13   again, please.

 14   code and -- and, uh, computer engineering, when you click a                           14   Q.      And in terms of how many Pavemetrics tells its

 15   button like on Microsoft Word to enable a feature, is there                           15   customers, um, in terms of how difficult it is to actually,

 16   some one or zero that's being changed somewhere, uh, to -- to                         16   uh -- to, uh -- uh, to adjust these configurations, do they

 17   reflect that, uh -- that request?                                                     17   say that you have to rewrite the code to get a, uh -- for

 18   A.   That is correct.                                                                 18   instance, a 3D, um, uh, Fake -- uh, Fake3D module to be

 19   Q.   Does that mean you're rewriting the code?                                        19   enabled?

 20   A.   No.                                                                              20   A.      No.    In fact, uh, uh -- so you can see that the manual

 21   Q.   Are you recompiling the code?                                                    21   says that the user can, uh, configure the system easily and

 22   A.   No.                                                                              22   operate the system.

 23   Q.   Are you rebuilding the code?                                                     23   Q.      Okay.    If the user can do it easily, what does that tell

 24   A.   No.                                                                              24   you as to whether configuring the system requires rewriting

 25   Q.   Okay.    Now, my colleague, uh, on the other side                                25   the software code?



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  1   A.      No, it does not require it.                                                     1                  MR. LAQUER:    Objection.

  2   Q.      What does it tell you as to whether you have to                                 2                  MR. BARNEY:    Well --

  3   recompile the software code?                                                            3                  MR. LAQUER:    This is beyond the scope, Your Honor.

  4   A.      No.                                                                             4   And this is going also to an issue the parties have addressed

  5   Q.      And what does it tell as to whether you have to redesign                        5   in sidebars and through motion practice.

  6   the system, the hardware and software, in order to enable                               6                  THE COURT:    Okay.   Let me -- let me just here the

  7   Fake3D or Mixed Image?                                                                  7   question.

  8   A.      No.                                                                             8                  MR. BARNEY:    Well, I was gonna ask to set the

  9   Q.      Okay.    And are you, uh -- do you stand by your analogy                        9   table.    They've asked many, many, many questions about use,

 10   that this no different, uh, than clicking, uh, the -- the                              10   and I just want to make sure we can clarify whether he was

 11   button on the Microsoft spell check to enable that?                                    11   actually asked to analyze anything about use as opposed to

 12   A.      Yes.    I stand by the -- my analogy.                                          12   sale.

 13   Q.      Now, you got a lot of animated questions about whether                         13                  THE COURT:    You can him ask that.

 14   you know if anybody's ever used the, uh -- the Fake3D or                               14   BY MR. BARNEY:

 15   Mixed Image.       Do you recall that?                                                 15   Q.      Doctor, do you understand that there's different types

 16   A.      Yes.                                                                           16   of acts that can be an infringement?

 17   Q.      And I wanna be real clear here, Doctor.       Were -- were                     17   A.      Yes.

 18   you asked to go out and -- and ask, uh, Pavemetrics'                                   18   Q.      Do you understand that one of those acts can be use?

 19   customers how they're using it?                                                        19   A.      Yes.

 20   A.      No, I was not.                                                                 20   Q.      Do you understand that another one of those acts can be

 21   Q.      Was that part of what you were asked to do?                                    21   a sale?

 22   A.      No.                                                                            22   A.      Yes.

 23   Q.      Um, what do you understand -- just as a background, do                         23   Q.      Between use and sale, which one were you asked to

 24   you understand that patent infringement can come in the form                           24   analyze?

 25   of --                                                                                  25   A.      Uh, the use.



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  1   Q.      No.    Doctor, between use and sale, were you asked to                          1   Q.      They're using different hardware that the LRAIL

  2   analyze whether the LRAIL system that was sold infringes or                             2   hardware; correct?

  3   whether it was infringing when it was used?                                             3   A.      Yes.

  4   A.      Oh.    I -- yeah, I looked at the software so I suppose                         4   Q.      Using different software than the LRAIL software;

  5   that it was sold.                                                                       5   correct?

  6   Q.      Okay.    Were you asked to analyze anything about the use                       6   A.      Uh, maybe, yes.

  7   of the system by Pavemetrics' customers?                                                7   Q.      So then those filter values, what you call the gradient

  8   A.      No, I didn't.    No.                                                            8   neighborhood, are predefined by the time the LRAIL is sold;

  9                   MR. BARNEY:    I have no further questions, Your                        9   correct?

 10   Honor.                                                                                 10   A.      Yes, but the --

 11                   THE COURT:    All right.   Uh, Counsel, you have about                 11                  MR. LAQUER:    No further questions.

 12   30 seconds to ask a question.                                                          12                  THE COURT:    Okay.   You're out of time anyway.

 13                                 RECROSS-EXAMINATION                                      13                  Counsel, any redirect?

 14   BY MR. LAQUER:                                                                         14                  MR. BARNEY:    No, Your Honor.

 15   Q.      Dr. Morellas, you mentioned the filter values in the                           15                  THE COURT:    Okay.   Witness is excused.   Thank you

 16   neural network that make up the colored boxes; correct?                                16   very much.

 17   A.      Yes.                                                                           17                  Counsel, any more witnesses?

 18   Q.      Those are defined during the training stage of the                             18                  MR. BARNEY:    No, Your Honor.   We rest our case.

 19   neural network; correct?                                                               19                  THE COURT:    Okay.   So we're done with the

 20   A.      Yes.                                                                           20   testimony.

 21   Q.      And you've heard that Pavemetrics performs that training                       21                  So now I'm gonna read you the jury instructions.

 22   stage in Canada; correct?                                                              22   And, again, you'll have these instructions with you in the

 23   A.      I heard that, yes.                                                             23   jury room to -- if you want to consult with them.          So I

 24   Q.      Outside of the United States; correct?                                         24   apologize in advance for kind of a long recitation of law,

 25   A.      Yes.                                                                           25   but you'll have with you.        Um, I'll read them to you now.



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  1   When I'm done, we'll break for lunch, and then we'll come                          1              Your job is to decide whether the asserted claims

  2   back and have closing arguments.      And, again, I'm reading                      2   of the '293 and '557 patents are invalid and whether

  3   these to you just because the parties have sort -- we've made                      3   Pavemetrics has infringed any of the asserted claims of the

  4   sure that everybody agrees on the wording.                                         4   '293 and '557 patents.

  5                Okay.   As I did at the start of the case, I'll                       5              If you decide that any claim of the '293 patent or

  6   first give you a summary of each side's contentions of the                         6   the '557 patent has been infringed and is not invalid, you

  7   case.   I'll then provide you with detailed instructions on                        7   will then need to decide any money damages to be awarded to

  8   what each side must prove to win each of the contentions.                          8   Tetra Tech to compensate it for infringement.

  9                As I previously told you, Pavemetrics seeks a                         9              You will also need to make a finding as to whether

 10   declaratory judgment that it does not infringe Claims 1 and                       10   the infringement was willful.   If you decide that any

 11   21 of the '293 patent and Claim 8 of the '557 patent.      It                     11   infringement has been willful, um, that decision should not

 12   also seeks a declaratory judgement that those claims are                          12   affect any damage award you make.   I will take willfulness

 13   invalid.                                                                          13   into account later.

 14                Tetra Tech seeks money damages from Pavemetrics for                  14                     OVERVIEW OF APPLICABLE LAW

 15   allegedly infringing the '293 patent by selling products that                     15              In deciding the issues I just discussed, you will

 16   Tetra Tech argues are covered by Claims 1 and 21 of the '293                      16   be asked to consider specific legal standards.     I'll give you

 17   patent.                                                                           17   an overview of those standards now and will review them in

 18                Tetra Tech also argues that Pavemetrics caused its                   18   more detail before the case is submitted to you for you

 19   customer, AID, to use those products to perform the method                        19   verdict.

 20   covered by Claim 8 of the '557 patent.                                            20              The first issue you will be asked to decide is

 21                Claims 1 and 21 of the '293 patent and Claim 8 of                    21   whether Pavemetrics has infringed the claims of the '293 and

 22   the '557 patent are the asserted claims.      The products that                   22   '557 patent.   Infringement asserted on a claim by claim

 23   are alleged to infringe are Pavemetrics' LRAIL systems.        The                23   basis.   Therefore, there may be infringement as to one claim

 24   methods that are use to infringe are any use of the LRAIL                         24   but not infringement as to another claim.

 25   system by Pavemetrics' customer, AID, in United States.                           25              There are a few different ways that a patent may be



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  1   infringed.    I will explain the requirements for each of these                    1              If you decide that any claim of the '293 or '557

  2   types of infringement to you in detail at the conclusion of                        2   patent has been infringed and is not invalid, you will then

  3   the case right now.                                                                3   need to decide any money damages to be awarded to Tetra Tech

  4                In general, however, to perform infringement, Tetra                   4   to compensate for infringement.   A damage award should put

  5   Tech must prove by a preponderance of the evidence that                            5   Tetra Tech in approximately the same financial position that

  6   Pavemetrics sold or offered for sale in the United States a                        6   it would have been in had the infringement not occurred, but

  7   product meeting all the requirements of a claim of the '293                        7   in no event may the damages be less than what Tetra Tech

  8   patent.    Pavemetrics may also indirectly infringe the '557                       8   would have received had it been paid a reasonable royalty.     I

  9   patent by inducing its customer, AID, to infringe.     I will                      9   will instruct you on the meaning of reasonable royalty as

 10   provide you with more detailed instructions on the                                10   well.

 11   requirements for each of these types of infringement in                           11              The damages you will award are mean to compensate

 12   subsequent instructions.      Another issue you will be asked to                  12   Tetra Tech and not to punish Pavemetrics.    You may not

 13   decide is whether the '293 and '557 patents are invalid.        A                 13   include in your award any additional amount as a fine or

 14   patent may be invalid for a number of reasons including                           14   penalty in order to punish Pavemetrics.   I'll give you more

 15   because it claims subject matter that would have been                             15   detailed instructions on damages in a bit.

 16   obvious.                                                                          16              Now, Instruction 23 is patent claims.

 17                Even though every element of a claim is not shown                    17              Before you can decide many of the issues in this

 18   or sufficiently described in a single piece of prior art, the                     18   case, you will need to understand the role of patent claims.

 19   claim may still be invalid if it would have been obvious to a                     19   The patent claims are the numbered sentences at the end of

 20   person in ordinary skill in the field of technology of the                        20   each patent.   The claims are important because it is the

 21   patent at the relevant time.      You will need to consider a                     21   words of the claim that define what a patent covers.

 22   number of questions in deciding whether the inventions                            22              The figures and texts in the rest of the patent

 23   claimed in the '293 and '557 patents are obvious.     I'll                        23   provide a description and/or examples of the invention and

 24   provide you detailed instructions on these questions at the                       24   provide a context for the claims, but it is the claims that

 25   conclusion -- later on in these instructions.                                     25   define the breadth of the patent's coverage.    Therefore, what



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  1   a patent covers depends in turn on what each of its claims                         1   terms, and I will provide you my definition on certain claim

  2   covers.                                                                            2   terms.    You must accept my definition of these words in the

  3                To know what a claim covers, a claims sets forth in                   3   claims as being correct.   It is your job to take these

  4   wards a set of requirements.    Each claim sets forth its                          4   definitions and apply them to the issues you are deciding

  5   requirements in a single sentence.    The requirements of a                        5   including the issue of infringement and invalidity.

  6   claim are often referred to as claim elements or claim                             6               For any words in the claims for which I have not

  7   limitations.     The coverage of a patent is assessed on a claim                   7   provided you with a definition, you should apply the ordinary

  8   by claim basis.                                                                    8   meaning of those terms in the field of the patent.    You

  9                When a thing such as a product or process meets all                   9   should not take my definition of the language of the claim as

 10   the requirements of a claim, the claim is said to cover that                      10   an indication that I have a view regarding how you should

 11   thing, and that thing is said to fall within the scope of the                     11   decide the issues that you are being asked to decide such as

 12   claim.     In other words, a claim covers a product or process                    12   infringement and invalidity.   These issues are yours to

 13   where each of the claim elements or limitations is present is                     13   decide.

 14   that product or process.                                                          14               Now, as I just mentioned, I've already determined

 15                You will first need to understand what each claim                    15   the meaning some terms in the claims in the '293 and '557

 16   covers in order to decide whether or not there is                                 16   patents.    A chart reflected those meanings appears on the

 17   infringement of the claim and to decide whether or not the                        17   page following this instruction.    For a claim term for which

 18   claim is invalid.                                                                 18   I have not provided you with a definition, you should apply

 19                The first step is to understand the meaning of the                   19   the ordinary meaning of the term in the field of the patent.

 20   words used in the patent claim.    The law says that it is my                     20               You are to apply my definitions of the terms I have

 21   role to define the terms of the claims, and it your role to                       21   construed throughout the case.     However, my interpretation of

 22   apply my definition of the terms I have construed to the                          22   the language of the claims should not be taken as an

 23   issues that you are asked to decide in this case.                                 23   indication that I have a view regarding issues such as

 24                Therefore, as I explained to you at the start of                     24   infringement and invalidity.   Those issues are yours to

 25   the case, I have determined the meaning of certain claim                          25   decide.



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  1                I'll provide you with more detailed instructions on                   1   elevation and intensity data separately at each point but may

  2   the meaning of the claim terms in this chart, and you've have                      2   encode the elevation of intensity data by blending or merging

  3   this chart here in your jury instructions.    I'm just gonna                       3   the values with mathematical formulas.

  4   read it to you.     These are the terms that the Court's already                   4               Now, the next instruction is on direct infringement

  5   defined.                                                                           5   by literal infringement.

  6                Court's defined the term neighborhood in Claim 1 of                   6               In order to prove direct infringement by literal

  7   the '293 patent as zone of limited area.                                           7   infringement, the patent holder must prove by a preponderance

  8                The Court has defined moving the gradient                             8   of the evidence, i.e., that it is more like than not that the

  9   neighborhood like a sliding window over the 3D elevation.                          9   alleged infringer made, used, sold or offered for sale within

 10   That's in Claim 1 of the '293 patent.     I define that as                        10   or imported into the United States a product that meets all

 11   sequentially and completely applying the gradient                                 11   of the requirements of the claim and did so without the

 12   neighborhood to the 3D elevation data.                                            12   permission of the patent holder during the time the asserted

 13                The Court's is configured to run an algorithm as is                  13   patent was in force.

 14   programed to run an algorithm without the need to rebuild,                        14               You must compare the product with each and every

 15   rewrite or recompile the code for or redesign any of the                          15   one of the requirements of a claim to determine whether all

 16   hardware or software.                                                             16   of the requirements of that claim are met.    In this case,

 17                The Court has construed comprising the steps of a,                   17   Tetra Tech contends that Pavemetrics sold or offered for sale

 18   b, d, d as the algorithm must be configured to run the steps                      18   in the United States the LRAIL that meets all of the

 19   in the recited order.                                                             19   requirements of Claims 1 and 21 of the '293 patent.

 20                And the Court's construed the term track elevation                   20               You must determine separately for each asserted

 21   map to be the representation of both the height, elevation                        21   claim on whether or not there is infringement.

 22   and intensity of reflected laser light (intensity)at each                         22               For Dependent Claim 21, if you find that Claim 1

 23   data point within an area across the entire width of the                          23   from which it depends is not infringed, there cannot be

 24   railway track bed.                                                                24   infringement of that dependent claim.    A dependent claim

 25                A track elevation map is not required to encode                      25   includes all of the elements of the independent claim plus it



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  1   adds things.    So if Claim 1 is not infringed, Claim 21 can't                     1               In order to prove infringement, Tetra Tech must

  2   be infringed.                                                                      2   prove that the requirements of one or more these types of

  3               On the other hand, if you find that Independent                        3   infringements are met by a preponderance of the evidence,

  4   Claim 1 has been infringed, you must still decide separately                       4   that is, that it is more likely than not that all of the

  5   whether the product meets the additional elements of Claim 21                      5   requirements of one or more of these types of infringement

  6   to determine if Claim 21 has been infringed.                                       6   have been proven.

  7               Dependent Claim 21 includes all the requirements of                    7               I'll now explain each of these types of

  8   Claim 1 plus additional requirements of its own.                                   8   infringement in more detail.

  9               I will instruct now instruct you how to decide                         9               Instruction No. 28 is indirect infringement/active

 10   whether or not Tetra Tech has proven that Pavemetrics has                         10   inducement.   Tetra Tech alleges that Pavemetrics is liable

 11   infringed the '293 and '557 patents.     Infringement is                          11   for infringement by actively inducing another company to

 12   assessed on a claim by claim basis.      Therefore, there may be                  12   directly infringe the '557 patent.   As with direct

 13   infringement as to one claim but no infringement as to                            13   infringement, you must determine whether there has been

 14   another.                                                                          14   active inducement on a claim by claim basis.

 15               In this case, there are two possible ways a claim                     15               Pavemetrics is liable for active inducement of a

 16   may be infringed.    The two types of infringement are called                     16   claim only if Tetra Tech proves by a preponderance of the

 17   direct infringement and active inducement.     Active inducement                  17   evidence:

 18   is referred to as indirect infringement.      There cannot be                     18               (1) that AID's use of LRAIL directly infringes the

 19   indirect infringement without someone else engaging in direct                     19   claim;

 20   infringement.                                                                     20               (2) that Pavemetrics took action during the time

 21               In this case, Tetra Tech has alleged that                             21   the '557 patent was in force and was intended to cause and

 22   Pavemetrics directly infringed the system claims of the '293                      22   led to AID's infringing use; and

 23   patent.    In addition, Tetra Tech has alleged that AID                           23               (3) that Pavemetrics was aware of the '557 patent

 24   directly infringed the '557 patent, and Pavemetrics is liable                     24   and knew that AID's use if taken would constitute

 25   to actively inducing that direct infringement by AID.                             25   infringement of that patent or that Pavemetrics believed



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  1   there was a high probability that AID's use would infringe                         1   Tech argues that Pavemetrics willfully infringed the asserted

  2   the '557 patent, Pavemetrics took deliberate steps to avoid                        2   patents.

  3   learning of that infringement.                                                     3               To prove willful infringement, Tetra Tech must

  4               If you find that Pavemetrics was aware of the                          4   persuade you that Pavemetrics infringed a claim of the

  5   patent but believed that the uses it encouraged did not                            5   asserted patents.   The requirements of proving such

  6   infringe the patent, Pavemetrics cannot be liable for                              6   infringement were discussed in prior instruction.

  7   inducement.                                                                        7               In addition, to prove willful infringement of a

  8               In order to establish active inducement of                             8   claim, Tetra Tech must persuade you that it is more likely

  9   infringement, it is not sufficient that AID itself directly                        9   true than not that Pavemetrics intentionally ignored or

 10   infringes the claim nor is it sufficient that Pavemetrics was                     10   recklessly disregarded that claim.   You must base your

 11   aware of the use by AID that alledgedly constitutes the                           11   decision on Pavemetrics's knowledge and action at the time of

 12   direct infringement.                                                              12   infringement.

 13               Rather in order to find active inducement of                          13               Evidence of Pavemetrics had knowledge of the patent

 14   infringement, you must find either that Pavemetrics                               14   at the time of infringement by itself is not sufficient to

 15   specifically intended AID to infringe the '557 patent or that                     15   show willfulness.   Rather to show willfulness, you must find

 16   Pavemetrics believed there was a high probability that AID                        16   that Pavemetrics engaged in additional conduct evidencing

 17   would infringe the '557 patent but deliberately avoided                           17   deliberate or reckless disregard of Tetra Tech's patent

 18   learning the infringing nature of AID's use.                                      18   rights.

 19               The mere fact, if true, that Pavemetrics knew or                      19               In deciding whether Pavemetrics willfully

 20   should have known that there was a substantial risk that                          20   infringed, you should consider all the facts surrounding the

 21   AID's use would infringe the '557 patent would not be                             21   infringement including whether Pavemetrics intentionally

 22   sufficient to support a finding of active inducement of                           22   copied Tetra Tech's patented technology in developing the

 23   infringement.                                                                     23   accused product or method, whether Pavemetrics knew or should

 24                          Willful Infringement                                       24   have known that its conduct involved an unreasonable risk of

 25               Now, willful infringement.    In this case, Tetra                     25   infringement and whether Pavemetrics had a reasonable belief



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  1   at the time of the infringement that its products did not                          1   determine whether Pavemetrics' UML Sale and Support,

  2   infringe the asserted patents or that the asserted patents                         2   EC-TRB2014 and Gibert-Serra are prior art that can be

  3   were invalid.                                                                      3   considered in determining whether claims of the asserted

  4               Instruction 30 is on invalidity.     I'll now instruct                 4   patents would have been obvious.

  5   you on the rules you must follow in deciding whether or not                        5                There are different types of prior art, and I will

  6   Pavemetrics has proven that the asserted claim of the                              6   instruct you on the relevant types that you need to consider.

  7   asserted patents are invalid.     To prove that any claim of a                     7                Pavemetrics contends that Pavemetrics' UML Sale and

  8   patent is invalid, Pavemetrics must persuade you by clear and                      8   Support is prior art because it was publicly known or was

  9   convincing evidence, that is, you must be left with a clear                        9   used on sale or otherwise made available to the public before

 10   conviction that the claim is invalid.                                             10   the filing date of the asserted patents.    An invention is

 11               And as we said before, clear and convincing                           11   known when the information about it was reasonably accessible

 12   evidence is a higher burden than preponderance of the                             12   to the public on that date.    An invention was publicly used

 13   evidence.                                                                         13   when it was either accessible to the public or commercially

 14                          PRESUMPTION OF VALIDITY                                    14   exploited.

 15               A party accused of infringing a patent may deny                       15                An invention was sold or offered for sale when it

 16   infringement or prove that the asserted claims of the patent                      16   was offered commercially, and what was offered was ready to

 17   are invalid.      A patent is assumed to be valid.   In other                     17   be patented, i.e., it was reduced to practice or it been

 18   words, it is presumed to have been properly granted by the                        18   described such that a person having ordinary skill in the

 19   Patent and Trademark Office.      But for that presumption of                     19   field of the technology could have made and used the claimed

 20   validity can be overcome if clear and convincing evidence                         20   invention even if it was not yet reduced to practice or

 21   presented in court that proves the patent is invalid.                             21   publicly disclosed.

 22               Now, in order for someone to be entitled to a                         22                Pavemetrics also contends that EC-TRB2014 and

 23   patent, the invention must actually be not obvious over what                      23   Gibert-Serra are prior art because they were published or

 24   came before which is referred to as the prior art.      The                       24   otherwise made available to the public before the filing date

 25   parties agree that UML-TRB2015 is prior art.       You must                       25   of the asserted patents.    Must prove by clear examine



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  1   convincing evidence Pavemetrics must prove by clear and                            1   is obvious in the prior art;

  2   convincing evidence that Pavemetrics' UML Sale and Support,                        2                (3) the level of ordinary skill in the art as of

  3   EC-TRB2014 and Gibert-Serra are prior art.                                         3   filing date of the asserted patents; and

  4               Now, this instruction is on obviousness generally.                     4                (4) additional considerations, if any, that

  5   Pavemetrics contends that the asserted claims of the asserted                      5   indicate that the invention was obvious or not obvious.

  6   patents are invalid because the claimed inventions are                             6                Each of these factors must be evaluated although

  7   obvious.    A claimed invention is invalid as obvious if it                        7   they be analyzed in any order, you must perform a separate

  8   would have been obvious to a person of ordinary skill in the                       8   analysis for each claim.

  9   art of the claimed invention as of the filing date of the                          9                Pavemetrics must prove by clear and convincing

 10   asserted patents.     Obviousness may be shown by considering                     10   evidence the invention would have been obvious.    Again, you

 11   one or more than one item of prior art.                                           11   must undertake this analysis separately for each claim that

 12               In deciding obviousness, using avoid using                            12   Pavemetrics contends is obvious.

 13   hindsight, that is, you should not consider what is known                         13                I will now explain each of the four factors in more

 14   today or what was learned from the teachings of the asserted                      14   detail.

 15   patents.    You should not use the asserted patents as a road                     15        THE FIRST FACTOR:     SCOPE AND CONTENT OF PRIOR ART

 16   map for selecting and combining items of prior art.       You must                16                In deciding obviousness, the prior art reference

 17   put yourself in the place of a person of ordinary skill in                        17   may be considered if it discloses information designed to

 18   the art as of the filing date of the asserted patents.                            18   solve any problem or need addressed by the patent.    A prior

 19               The following factors must be evaluated to                            19   art reference may also be considered if it discloses

 20   determine whether Pavemetrics has established that the                            20   information that has obvious uses behind its main purpose and

 21   claimed invention is obvious:                                                     21   if a person of ordinary skill in the art would reasonably

 22               (1)    the scope and content of the prior art relied                  22   examine that reference when trying to solve any problem or

 23   upon by Pavemetrics;                                                              23   need addressed by the patent.

 24               (2) the differences, if any, between each claimed                     24                Where Pavemetrics is relying on prior art that was

 25   invention of the asserted patents that Pavemetrics contends                       25   not considered by the Patent and Trademark Office during



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  1   examination, you may consider whether that prior art is                         1   results that were predictable to a person of ordinary skill

  2   significantly different and more relevant that the prior art                    2   in the art at the time of invention, then this evidence would

  3   Patent and Trademark office did consider.   If you decide it                    3   make it more likely that the claim was obvious.    On the other

  4   is different and more relevant, you may weigh that prior art                    4   hand, if the combination of known elements yielded unexpected

  5   more heavily when considering whether Pavemetrics has carried                   5   or unpredictable results or if the prior art teaches away

  6   its clear and convincing burden of proving invalidity.                          6   from combining the known elements, then this evidence would

  7              Now, the second factor is differences between the                    7   make it more likely that the claim that successfully combined

  8   claimed invention and the prior art.                                            8   was not obvious.

  9              You should analyze whether there are relevant                        9                Another factor is whether it would have been

 10   differences between the prior art and the claimed from the                     10   obvious to try the combination of elements such as when there

 11   view of an person of ordinary skill in the art as of the date                  11   is a design incentive or market pressure to solve a problem,

 12   of the asserted patents.   Your analysis must determined the                   12   and there are a finite number of identified, predictable

 13   impact, if any, of such differences on the obviousness or                      13   solutions.

 14   nonobviousness of the claimed invention as a whole and not                     14                Importantly, a claim is not proven obvious merely

 15   merely some portion of it.                                                     15   by demonstrating that the elements -- that the elements were

 16              In analyzing the relevances of the difference                       16   independently known in the prior art.    Most, if not all,

 17   between the claimed invention and the prior art, you may not                   17   inventions rely on building blocks long-known, and claimed

 18   look for precise teaching in the prior art -- I'm sorry, you                   18   discoveries almost of necessity will likely be combinations

 19   do not need to look for precise teaching in the prior art                      19   of what was already known.    Therefore, you should consider

 20   directed to the subject matter of the claimed invention.     You               20   whether a reason existed at the time of the invention that

 21   may consider the inferences and creative steps that a person                   21   would have prompted a person of ordinary skill in the art in

 22   or ordinary skill in the art would have employed in reviewing                  22   the relevant filed to combine the teachings in the way the

 23   the prior at the time of the intention.                                        23   claimed invention does.

 24              For example, if the claim invention combined                        24                The reason could come from the prior art, the

 25   elements known in the prior art, and the combination yielded                   25   background knowledge of one of ordinary skill in the art, the



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  1   nature of any problem or a need to be addressed, market                         1   case.

  2   demand or common sense.    If you find that a reason existed at                 2                A person of ordinary skill is presumed to know all

  3   the time of the invention to combine the elements of the                        3   prior art that you have determined to be reasonably relevant.

  4   prior art to arrive at the claimed invention, and there would                   4   A person of ordinary skill is also a person ordinary

  5   have been a reasonable expectation of success for doing so,                     5   creativity that can use common sense to solve problems.

  6   this evidence would make it more likely that the claimed                        6                When determining the level of ordinary skill in the

  7   invention was obvious.                                                          7   art, you should consider all of the evidence submitted by the

  8              Similarly, you may consider the possibility that a                   8   parties including evidence of:

  9   reference teaches away from the claimed invention.   A                          9                (1) the level of education and experience of

 10   reference teaches away from the claimed invention when it                      10   persons actively working in the field as of the filing date

 11   would have -- when it would have discouraged a person of                       11   of the asserted patents including the inventor;

 12   ordinary skill in the art as of the filing date of the                         12                (2) the types of problems encountered in the art as

 13   asserted patents from practicing the claimed invention or                      13   of the filing date of the asserted patents; and

 14   when such a person would be lead in a different direction                      14                (3) the sophistication of the technology in the art

 15   than practicing the claimed invention.                                         15   as of the filing date of the asserted patents including the

 16              You must undertake this analysis separately for                     16   rapidity with which innovations were made in the art as of

 17   each claim that Pavemetrics contends is obvious.                               17   the filing date of the asserted patents.

 18              The third factor is level of ordinary skill.                        18                Now, the fourth factor in obviousness is other

 19              To determine the obviousness of the invention, you                  19   considerations.

 20   must determine the level of ordinary skill in the field of                     20                Before deciding the issue of obviousness for each

 21   the invention at the time of the filing date of the asserted                   21   of the claimed inventions, you must also consider certain

 22   patents.   Regardless of whether you are asked to articulate                   22   factors which may help you determine whether or not an

 23   in your verdict what you believe was the ordinary level of                     23   invention would have been obvious.    No factor alone is

 24   skill in the field of the invention, you must consider and                     24   dispositive, and you must consider the obviousness or

 25   assess this factor before reaching your conclusions in the                     25   nonobviousness of the invention as a whole.



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  1                Certain of these factors include:                                      1   covered by the patent claim.

  2                1.   Were products covered by the claim commercially                   2              Even if you conclude that some of the above factors

  3   successful due to the merits of the claimed invention rather                        3   have been established, those factors should be considered

  4   than due to advertising, promotion, salesmanship or features                        4   along with all the other evidence in the case in determining

  5   of the product other than those found in the claim?                                 5   whether Pavemetrics has proven that the claimed invention

  6                2.   Was there a long-felt need for a solution to                      6   would have been obvious.

  7   the problem facing the inventor which was satisfied by the                          7              Now, this instruction on damages.

  8   claimed invention?                                                                  8              If you find that Pavemetrics infringed any valid

  9                3.   Did others try but fail to solve the problem                      9   claim of the asserted patents, you must then consider what

 10   solved by the claimed invention?                                                   10   amount of damages to award to Tetra Tech.    I will now

 11                4.   Did others copy the invention?                                   11   instruct you about the measure of damages.     By instructing

 12                5.   Did the claimed invention achieve unexpectedly                   12   you on damages, I am not suggesting which party should win

 13   superior results over the closest prior art?                                       13   this case on any issue.    If you find that Pavemetrics has not

 14                6.   Did others in the field or Pavemetrics praise                    14   infringed any valid claim of the patent, then Tetra Tech is

 15   the claimed invention or express surprise at the making of                         15   not entitled to any damages.

 16   the claimed invention?                                                             16              The damages you award must be adequate to

 17                7.   Did others accept licenses under the asserted                    17   compensate Tetra Tech for infringement.   They are not meant

 18   patents because of the merits of the claimed invention?                            18   to punish an infringer.    The damages award if you reach this

 19                Answering all or some of these questions yes may                      19   issue should put Tetra Tech in approximately the same

 20   suggest that the claim was not obvious.                                            20   financial position that it would have been in had

 21                A factor that may suggest obviousness includes                        21   infringement not occurred.

 22   whether another person simultaneously and independently                            22              Tetra Tech has the burden to establish the amount

 23   created the same invention claimed in the patents.                                 23   of its damages by a preponderance of the evidence.     In other

 24                These factors are relevant only if there is a                         24   words, you should award only those damages that Tetra Tech

 25   connection or nexus between the factor and the invention                           25   establishes it more likely than not suffered.    While Tetra



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  1   Tech is not required to prove the amount of damages with                            1   the infringement and Tetra Tech's loss of profit.    In other

  2   mathematical precision, they must prove them with reasonable                        2   words, Tetra Tech must show that but for the infringement,

  3   certainty.    You may not award damages that are speculative                        3   there's a reasonable probability that Tetra Tech would have

  4   damages that are only possible or damages that are based on                         4   earned higher profits.    To show this, Tetra Tech must prove

  5   guesswork.                                                                          5   that if there had been no infringement, it would have made

  6                There are different type of damages that Tetra Tech                    6   some portion of the sales that Pavemetrics made on the

  7   may be entitled to recover.     In this case, Tetra Tech seeks                      7   infringing product.

  8   lost profits and/or a reasonable royalty.     Lost profits                          8              Tetra Tech is entitled to lost profits if it

  9   consist of any actual reduction in business profit Tetra Tech                       9   establishes each of the following:

 10   suffered as a result of Pavemetrics' infringement.                                 10              (1) that there was a demand for the patented

 11                A reasonable royalty is defined as the money amount                   11   product;

 12   Tetra Tech and Pavemetrics would have agreed upon as a fee                         12              (2) that there were no available, acceptable,

 13   for use of the invention at the time prior to when the                             13   noninfringing substitute products;

 14   infringement began.     But regardless of the types of damages                     14              (3) that Tetra Tech had the manufacturing and

 15   you may choose to award, you must be careful to ensure that                        15   marketing capability to make any infringing sales actually

 16   that award is no more or no less than the value of the                             16   made by Pavemetrics and for which Tetra Tech seeks an award

 17   patented invention.                                                                17   of lost profits, in other words, that Tetra Tech was capable

 18                I will give you more detailed instructions                            18   of satisfying the demand; and

 19   regarding damages subsequently.     Note, however, that Tetra                      19              (4) the amount of profit that Tetra Tech would have

 20   Tech is entitled to receive no less than a reasonable royalty                      20   made if Pavemetrics had not infringed.

 21   for each infringing sale offered for sale and use.                                 21              Now, lost profits, this is on demand.    Demand for

 22                Now, this instruction is on lost profits, the but                     22   the patented product can be proven by significant sales of a

 23   for test.                                                                          23   patent holder's patented product or significant sales of an

 24                To recover lost profits as opposed to reasonable                      24   infringing product containing the patented features.

 25   royalty, Tetra Tech's must show a causal relationship between                      25              This is on lost profits, noninfringing substitute,



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  1   availability.                                                                      1   despite a difference in the products, then the patentee is

  2                An alternative product may be considered available                    2   not entitled to lost profits on those sales.

  3   as a potential substitute if the product was not actually on                       3               A patent holder is only entitled to lost profits

  4   sale during the infringement period.    Factors suggesting the                     4   for sales it could have actually made.   In other words, Tetra

  5   alternative was available include whether the material,                            5   Tech must show that it had the manufacturing and marketing

  6   experience and know-how to make or use the alleged substitute                      6   capability to make the sales it said it lost.    This means

  7   was readily available at the time of infringement.                                 7   Tetra Tech must prove that it is more probable than not that

  8                Factors suggesting the alternate was not available                    8   it could have made and sold or could have had someone else

  9   include whether the material was of such high cost as to                           9   make or sell for it the additional products it says it could

 10   render the alternative unavailable and whether an alleged                         10   have sold but for the infringement.

 11   infringer would have had to design or invent around the                           11               A patent holder may calculate its lost profits on

 12   patented technology to develop an alleged substitute.                             12   lost sales by computing the lost revenue for sales it claims

 13                To be an acceptable, noninfringing substitute, a                     13   it would have made but for the infringement and subtracting

 14   product must have the advantages of the patented invention                        14   from that figure the amount of additional costs or expenses

 15   that were important to people who purchased Pavemetrics'                          15   it would have incurred in making those lost sales such as

 16   product.                                                                          16   cost of goods, sales costs, packaging costs and shipping

 17                If purchasers of Pavemetrics' product were                           17   costs.   Certain fixed costs do not vary with increases in

 18   motivated to buy that product because of features available                       18   production or scale such as taxes, insurance, rent and

 19   only from that product and Tetra Tech's patented product,                         19   administrative overhead and should not be subtracted from a

 20   then some other alternative product is not an acceptable                          20   patent holder's lost revenue.

 21   substitute even if it otherwise competed with Tetra Tech's                        21               If you find that a patent claim is infringed and

 22   and Pavemetrics' products.                                                        22   not invalid, Tetra Tech is entitled to at least a reasonable

 23                On the other hand, if the realities of the                           23   royalty to compensate it for that infringement.

 24   marketplace are that competitors other than the patentee                          24               If you find that Tetra Tech has not proved its

 25   would likely have captured the sales made by the infringer                        25   claim for lost profits or has proved its claim for lost



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  1   profit only for a portion of the infringing sales, then you                        1   hypothetical negotiation just prior to the first

  2   must award Tetra Tech a reasonable royalty for all infringing                      2   infringement.

  3   sales for which it has not been awarded lost profits or                            3               In determining the amount of reasonable royalty,

  4   damages.                                                                           4   you may consider evidence of any of the following factors in

  5                A royalty is a payment made to a patent holder in                     5   addition to any other evidence presented by the parties on

  6   exchange for the right to make, use or sell the claimed                            6   the economic value of the patent.

  7   invention.    A reasonable royalty is the amount of royalty                        7               (1) any royalty received by the licensor of the

  8   payment that a patent holder and the alleged infringer would                       8   patent-in-suit proving or tending to prove an established

  9   have agreed to in a hypothetical negotiation taking place at                       9   royalty;

 10   a time prior to when the infringement first began.                                10               (2) the rates paid by Pavemetrics to license other

 11                In considering this hypothetical negotiation, you                    11   patents comparable to the asserted patents;

 12   should focus on what the expectations of the patent holder                        12               (3) the nature and scope of the license as

 13   and alleged infringer would have been had they entered into                       13   exclusive or non-exclusive or as restricted or non-restricted

 14   an agreement at that time and had they acted reasonably in                        14   in terms of its territory or with respect to whom the

 15   their negotiations.    In determining this, you must assume                       15   manufactured product may be sold;

 16   that both parties were believed the patent was valid and                          16               (4) the licensor's established policy and marketing

 17   infringed, and that both parties were willing to enter into                       17   program to maintain its right to exclude others from using

 18   an agreement.                                                                     18   the patented invention by not licensing others to use the

 19                The reasonable royalty you determine must be a                       19   invention or by granting licenses under special conditions

 20   royalty that would have resulted from the hypothetical                            20   designed to preserve that exclusivity;

 21   negotiation and not simply a royalty that either party would                      21               (5) the commercial relationship between the

 22   have preferred.    Evidence of things that happened after the                     22   licensor and the licensee such as whether or not they are

 23   infringement first began can be considered in evaluating the                      23   competitors in the same territory in the same line of

 24   reasonable royalty only to the extent that the evidence aids                      24   business;

 25   in assessing what royalty would have resulted from a                              25               (6) the effect of selling the patented product in



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  1   promoting other sales of licensee, the existing value of the                      1   business risks or significant features or improvements added

  2   invention to the licensor as a generator of sales of its                          2   by the accused infringer;

  3   non-patented items and the extent of such collateral sales;                       3              (14) the opinion testimony of qualified experts;

  4               (7)   the duration of the asserted patents and the                    4              (15) the amount that a licensor and a licensee such

  5   term of the license;                                                              5   as Pavemetrics would have agreed upon at the time the

  6               (8) the established profitability of the product                      6   infringement began if both sides had been reasonable and

  7   made under the asserted patents, its commercial success and                       7   voluntary trying to reach agreement, that is, the amount

  8   its popularity;                                                                   8   which a prudent licensee who desired as a business

  9               (9) the utility and advantages of the patented                        9   proposition to obtain a license to manufacture and sell a

 10   invention over the old modes or devices, if any, that had                        10   particular article embodying the patented invention would

 11   been used for achieving similar results;                                         11   have been willing to pay as a royalty and yet be able to make

 12               (10) the nature of the patented invention, the                       12   a reasonable profit and which amount would have been

 13   character of the commercial embodiment of it as owned and                        13   acceptable by a patentee who was willing to grant a license;

 14   produced by or for the licensor and the benefits to those who                    14              (16) any other economic factor that a normally

 15   have used the invention;                                                         15   prudent business person would under similar circumstances

 16               (11) the extent to which Pavemetrics has made use                    16   take into consideration in negotiating the hypothetical

 17   of the invention and any evidence that shows the value of                        17   license.

 18   that use;                                                                        18              We're almost done.    Just a few more pages.

 19               (12) the portion of profit or of the selling price                   19                       48.   DAMAGES-APPORTIONMENT

 20   that may be customary in the particular and comparable                           20              The amount you find as damages must be based on the

 21   business or incomparable businesses to allow for the use of                      21   value attributable to the patented invention as distinct from

 22   the invention or analogous inventions.                                           22   unpatented features of the accused product or other factors

 23               (13) the portion of the profit that arises from the                  23   such as marketing or advertising or Tetra Tech's size or

 24   patented invention itself as opposed to the profit arising                       24   market position.    A royalty compensating the patent holder

 25   from unpatented features such as the manufacturing process,                      25   for damages must reflect the value attributable to the



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  1   infringing features of the product and no more.                                   1   damages commence on the date that Pavemetrics has both

  2               The process of separating the value of the                            2   infringed and been notified of the alleged infringement of

  3   allegedly infringing features from the value of all other                         3   the '293 patent.    Tetra Tech and Pavemetrics agree that Tetra

  4   features is called apportionment.    When the accused                             4   Tech gave notice on January 5, 2021.

  5   infringing products have both patents and unpatented                              5              In determining when damages began with regard to

  6   features, your award must be apportioned so that is based                         6   the '557 patent, there is no notice requirement because the

  7   only on the value of the patented features and no more.                           7   '557 patent is directed to method claims.     Accordingly, the

  8               If the claim patented features are not the sole                       8   calculation of damages for infringement of the '557 patent

  9   driving factor for customer demand for the accused infringing                     9   begins as of the date the patent issued or the date the

 10   product, then you must perform what is called apportionment.                     10   infringement began, whatever was later.

 11   When damages must be apportioned, the amount you find as                         11              Now, four more instructions.

 12   damages must be based on the value attributable to the                           12              Before you begin deliberations, elect one member of

 13   patented invention as distinct from the unpatented features                      13   the jury as your presiding juror.     The presiding juror will

 14   of the accused product or other factors such as marketing or                     14   preside over the deliberations and serve as the spokesperson

 15   advertising or Tetra Tech's size or market position.     Put                     15   for the jury here in court.     You shall diligently strive to

 16   differently, when apportionment is required, a royalty                           16   reach agreement with all of the other jurors if you can do

 17   compensating the patent holder for damages must reflect the                      17   so.   Your verdict must be unanimous.

 18   value attributable to the infringing features of the product                     18              Each of you must decide the case for yourself, but

 19   and no more.                                                                     19   you should do so only after you've considered all the

 20               On the other hand, if demand for the entire accused                  20   evidence, discussed it fully with other jurors and listened

 21   product depends only on the claimed features, then                               21   to their views.    It is important that you attempt to reach a

 22   apportionment is not necessary even though the accused                           22   unanimous verdict, but, of course, only if each of you can do

 23   product includes some nonpatented features.                                      23   so after having made your own conscientious decision.

 24               Now, in determining the amount of damages, you must                  24              Do not be unwilling to change your opinion if the

 25   determine when the damages began.    For the '293 patent,                        25   discussion persuade you that you should, but do not come to a



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  1   decision simply because other jurors think it is right or                          1   it although I have no information that there will be new

  2   change an honest belief about the weight and effect of the                         2   reports about this case.    Do not do any research such as

  3   evidence simply to reach a verdict.                                                3   consulting dictionaries, searching the Internet or using

  4                Now, because you must base your verdict only on                       4   other reference materials, and do not make any investigation

  5   evidence received in the case and on these instructions, I                         5   or in any other way try to learn about the case on your own.

  6   remind you that you must not be exposed to any other                               6              Do not view or visit anyplace discussed in this

  7   information about the case or to the issues it involves.                           7   case, and do not use Internet programs or other devices to

  8                Except for discussing this case with your fellow                      8   search for or view anyplace discussed during the trial.

  9   jurors during deliberations:    Do not communicate with anyone                     9   Also, do not do any research about this case, the law or the

 10   in any way, and do not let anyone else communicate with you                       10   people involved including the parties, the witnesses or the

 11   in any way about the merits of the case or anything to do                         11   lawyers until you have been excused as jurors.    If you happen

 12   with it.     This includes discussing the case in person, in                      12   to read or hear anything touching on this case in the media,

 13   writing, by phone, tablet, computer or any other means via                        13   turn away and report it to me as soon as possible.

 14   email, text messaging or Internet chat room, blog, website or                     14              These rules protect each party's right to have this

 15   application including but not limited to Facebook, YouTube,                       15   case decided only on evidence that has been presented here in

 16   Twitter, Instagram, LinkedIn, Snapchat, TikTok or any other                       16   court.   Witnesses here in court take an oath to tell the

 17   forms of social media.                                                            17   truth, and the accuracy of their testimony is tested through

 18                This applies to communicating with your family                       18   the trial process.    If you do any research or investigation

 19   members, your employer, the media or press and the people                         19   outside the courtroom or gain any information through

 20   involved in the trial.    If you are asked or approached in any                   20   improper communications, then your verdict may be influenced

 21   way about your jury service or anything about this case, you                      21   by inaccurate, incomplete or misleading information that has

 22   must respond that you have been ordered not to discuss the                        22   been tested by the trial process.

 23   matter and report the conduct to the Court.                                       23              Each of the parties in entitled to a fair trial by

 24                Do not read, watch or listen to any news or media                    24   an impartial jury.    And if you decide the case based on

 25   accounts or commentary about he case or anything to do with                       25   information that was not presented in court, you will have



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  1   denied the parties a fair trial.     Remember you have taken an                    1   according to your deliberations, sign and date it and advise

  2   oath to follow the rules, and it is very important that you                        2   the clerk that you are ready to return to the courtroom.

  3   do so.    A juror who violates these restrictions jeopardizes                      3              Those are the instructions.   I'll leave you to

  4   the fairness of these proceedings, and a mistrial could                            4   lunch, and we will start back up at 1 o'clock.    Thank you.

  5   result that would require the entire trial process to start                        5              THE CLERK:   All rise.

  6   over.    If any juror is exposed to any outside information,                       6                           (Jury not present.)

  7   please notify the Court immediately.                                               7              THE COURT:   Okay.   We have the instructions read.

  8                If it becomes necessary during your deliberations                     8   We'll start closing arguments at 1 o'clock.

  9   to communicate with me, you may send a note through the clerk                      9              I'll hear a brief argument, Rule 50 motion, please.

 10   signed by any one or more of you.    No member of the jury                        10              MR. RE:   Thank you, Your Honor.

 11   should ever attempt to communicate with me except by a signed                     11              Since this is cutting into the lunch hour, I'll be

 12   writing.     I will not communicate with any member of the jury                   12   very brief.   I understand the Court is allowing a written

 13   on anything concerning the case except in writing or here in                      13   submission under Rule 50 A in the near future, but -- so I

 14   open court.                                                                       14   didn't need to be thorough.

 15                If you send out a question, I will consult with the                  15              I will just address a couple of points that I think

 16   lawyer before answering it which may take a little bit of                         16   is possible to be left off the jury verdict form, but now the

 17   time.    You may continue your deliberations while waiting for                    17   instruction have been read and I understand.    I will assume

 18   the answer to any question.    Remember that you are not to                       18   my chances are slim.    But I do want to address first of all,

 19   tell anyone including the Court how the jury stands whether                       19   the fact there cannot be infringement in this case for

 20   in terms of vote count or otherwise until you have reached a                      20   numerous reasons.    I won't go through them all, but the most

 21   unanimous verdict or have been discharged.                                        21   obvious of them all is they're unconnected components.

 22                Finally, a verdict form has been prepared for you.                   22              The most important part of the testimony that we

 23   The verdict form is made up of a number of yes or no                              23   heard is Dr. Morellas analyzed the product in isolation.

 24   questions.    After you have reached unanimous agreement on the                   24   There was no analysis at any time in this trial on the acts

 25   verdict form, your presiding juror should complete the form                       25   of infringement and that is the sale itself.    The state of



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  1   the article at the time of sale.                                                   1   different version for Claim 21.    That is an absolute improper

  2               Mr. Morellas had no idea -- Dr. Morellas had no                        2   bases for infringement.   You cannot go to two different

  3   idea and his expert report reflected that he no had idea what                      3   articles to pretend they're one article in order to concoct

  4   are the five acts of infringement under 271 A, and I believe                       4   an article for infringement of Claims 1 and 21 at the same

  5   that dooms this case from the start.    This case should not                       5   time.

  6   have gone to trial.                                                                6             I now want to go to inducement and willfulness and

  7               Next, there also was no evidence concerning the                        7   I'll do them together and that's because the intent

  8   attributes of each of the four sales.      We heard no testimony.                  8   requirement is the same for both.    There is no evidence, and

  9   As a matter of fact, we heard no testimony on Sale 4,                              9   I mean no evidence of any possibility of inducement or

 10   nothing.    We also had total -- a case based upon software                       10   willfulness because no evidence suggested that my client knew

 11   version, a software version that this Court ruled on summary                      11   of the patents at any time.

 12   judgment was free and clear because it was before the marking                     12             You were told before this trial when we were at the

 13   period.    And that's why we had this whole availability theory                   13   pretrial conference by Mr. Barney that he had circumstantial

 14   which is not an act of infringement.    Availability is just                      14   evidence and you allowed the willfulness case to go forward

 15   not recognized under the law as part of the sale.                                 15   and thus the inducement case to go forward.     We didn't hear

 16               There's undisputed testimony how the product                          16   any circumstantial evidence.    We heard a bunch of evidence

 17   actually is sold and it's sold in a box of disconnected                           17   about GREX.   All those entries on Mr. Barney's opening

 18   components.    Claim 1 is directed to a system and there's no                     18   statement board about you might cause us to get sued, watch

 19   contributory infringement in this case and there's no                             19   out for patents, watch out all for GREX, yes, it's true we

 20   inducement in this case with regard to the '293.                                  20   were fearful of GREX, but the GREX patents aren't in suit.

 21               And so we'll put in submissions on the details of                     21             Coincidentally, I argued at the Federal Circuit

 22   the noninfringement, and I don't want to waste any more time                      22   just last month when a willfulness case, an inducement case

 23   on that.                                                                          23   was brought where somebody was claiming knowledge of a

 24               Also, the Claim 21, Dr. Morellas relied upon one                      24   reissue patent when the only knowledge was of the parent and

 25   version of code for dependent claim for Claim 1 and a                             25   the original.   Chief Judge Moore called that argument absurd



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  1   twice at my oral argument where somebody implies an                                1   never thought I would be JMOLing on damages.     Particularly,

  2   obligation to go find the patent.    That you should have known                    2   damages on the method claim.    First of all,

  3   of the patent.                                                                     3   Mr. Schoettelkotte never made an analysis of the damages that

  4               Those arguments were deemed absurd by                                  4   flow from the infringement.    The infringement is on Claim 8.

  5   Chief Judge Moore in an oral argument we can listen to only                        5   The infringement, the direct infringement, the infringement

  6   last month.    And I won that case with no literal infringement                    6   at issue was by AID.   That's the use.   That's infringement at

  7   so she didn't have to get to it, but the point is this.     You                    7   issue.

  8   were sold a bill of goods by the plaintiff that they would                         8             Did you hear anything about a reasonable royalty

  9   have knowledge of the patent.    That we induced infringement                      9   based on the number of uses?    As a matter of fact, he didn't

 10   because we had knowledge of the patents.                                          10   talk about uses at all.   He talked about the sale.   How can

 11               You cannot also be willfully blind to facts that                      11   the sale be the infringement when the infringement is by AID?

 12   don't exist.    If the patent did not exist, you can't be                         12   No reasonable royalty can be awarded on Claim 8 of the '557.

 13   willfully blind to a fact that doesn't exist and that's in                        13             A complete misunderstanding of this case because

 14   the Cammal case.    And if you read Cammal, you only can be                       14   the expert reports were obviously prepared before

 15   willfully blind of a fact that does in fact exist.     I can't                    15   Mr. Barney's involvement and there's no focus on the acts of

 16   be willfully blind of who's gonna win the 2024 election.                          16   infringement by Dr. Morellas or Mr. Schoettelkotte.     Acts of

 17   That's impossible.    That's their case.                                          17   infringement are acts by human beings.

 18               They presented a case as if knowledge existed or                      18             You don't read claims on articles.     That's what

 19   facts were ignored concerning patents that never existed that                     19   Dr. Morellas did.   He read claims on software versions and

 20   hadn't issued.    We heard about publication of the patent.    No                 20   never connected them to the sales or the acts of

 21   evidence was raised during this trial about when the patents                      21   infringement.   This case is doomed regardless of the jury

 22   published, what the publication was or whether anyone at my                       22   verdict for numerous reasons.

 23   client saw them, knew of them.     This case should not have                      23             And I would request a waiver of the page limit so

 24   gone to trial.                                                                    24   that I can list all the grounds under Rule 50 A and not be

 25               Now, I want to move from willfulness to damages.      I               25   limited by the Local Rule of 25 pages.



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  1              THE COURT:    I'll take that under consideration.                         1   of code.    He had relied on one for Claim 1 and one for

  2              Can I get a response from counsel to these motions                        2   Claim 21.   Just to make clear why that is, Your Honor, there

  3   and whether Tetra Tech has any motions?                                              3   was a limitation on the number of pages that could be printed

  4              MR. BARNEY:    Thank you, Your Honor.                                     4   out during the source code inspection.

  5              I certainly can't match the vigor and energy of                           5               And Dr. Morellas one of the first questions I asked

  6   Mr. Re who I've known for many years, but I'll give it a try.                        6   him very early on in his direct was whether those two

  7   We disagree with the motions that he's made.       If it's okay                      7   versions of code had any meaningful differences between them

  8   with the Court, I will just briefly give my reasons, but I'm                         8   for purpose of his analysis and he said no.       So the testimony

  9   assuming that I can elaborate later --                                               9   is that you can rely on either one of them because for

 10              THE COURT:    Yes.                                                       10   purposes of his analysis, they were the same.      Of course,

 11              MR. BARNEY:    -- when those get fleshed out.                            11   they can disagree with that, but that's a factual issue that

 12              I believe moving for JMOL on just the infringement                       12   the jury can decide.

 13   case in general because they shipped the systems into the                           13               I believe he moved for JMOL on inducement and I do

 14   United States in boxes or because the software gets                                 14   take a little exception to some of the commentary that Mr. Re

 15   downloaded later.    Obviously, we disagree with that because                       15   made on terms of what we promised you.    We did not sell you a

 16   we think as properly instructed, the jury can find the sale                         16   bill of goods, Your Honor.    We believe we've made a fairly

 17   itself was an infringement and everything that happens after                        17   strong case, circumstantial as it may be, of induced

 18   that is irrelevant.                                                                 18   infringement for the '557 patent.

 19              Doesn't matter how they ship it into the                                 19               Um, I can preview that to Your Honor, if you'd

 20   United States.    Doesn't matter if they download the software                      20   like.   You'll see it in closing, but there's a wealth of

 21   later or if they upgrade the software later because what was                        21   information that a reasonable juror can conclude that they

 22   sold was a system, was an operational system.       It was a                        22   certainly knew about the specification of the '557 patent

 23   turnkey sale.    So we disagree with that.                                          23   because it's identical to the '293 patent.    I'll explain

 24              I believe he moved for JMOL, um, on Claim 21, uh,                        24   during closing what that means.    They read the entire

 25   by saying that Dr. Morellas relied on two different versions                        25   specification of the '557 patent.



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  1              They saw that it was disclosing the algorithm that                        1   was -- that the intent was there for that?

  2   involves removing rail heads.    Removing rail heads is a big                        2               MR. BARNEY:   Your Honor, we will argue they did not

  3   deal, Your Honor.    They saw that algorithm was disclosed in                        3   have the adequate basis to, um, to analyze the patents.      None

  4   the '293 patent that they read when we accused them of                               4   of them are patent attorneys.    None of them have the

  5   infringement.    They're the only people in the world who knew                       5   training.   They all admitted they do not have that training,

  6   that their code had that in it.    We didn't know it.     Nobody                     6   uh, to be able to analyze a patent.     What they're relying on

  7   else knew it, but they knew it.                                                      7   instead is the filing of their declaratory judgement lawsuit,

  8              And so when they read that specification and they                         8   but they've produced no opinions of counsel.

  9   saw that disclosure of that algorithm, any reasonable                                9               And so they're basically just asking the jury to

 10   business person, anybody who knows anything about patents,                          10   infer that because they brought a lawsuit that necessarily

 11   and certainly people who have law firms representing them                           11   ipso facto means that they had a good faith basis of

 12   would have gone and searched the PTO website to see if there                        12   noninfringement.    They didn't make that case.    I am free to

 13   might be another patent in that family that actually claimed                        13   argue to the jury that they can infer otherwise especially

 14   that algorithm.    They didn't do it.                                               14   when you look at the timing.

 15              They also didn't tell their customer that there is                       15               And just as an example, Mr. Habel, there was only

 16   this potential problem.    So they went ahead and allowed their                     16   ten days between when he said to us we're looking for

 17   customer to directly infringe.     That's going to be our                           17   counsel.    We're gonna go find ourselves some patent counsel

 18   circumstantial case, Your Honor.                                                    18   so we can get an opinion and respond to you more fully.      Ten

 19              THE COURT:    And that's for the '557 patent;                            19   days later they filed the lawsuit.     Um, he testified that

 20   correct?                                                                            20   they hired Knobbe on the day they filed the lawsuit.

 21              MR. BARNEY:    Yes.                                                      21               Now, I'm being generous.   I find that hard to

 22              THE COURT:    Is there a -- are you making a willful                     22   believe, but I mean, even if it was a few days before that,

 23   infringement argument for the '293 patent?                                          23   the jury can infer there wasn't enough time to actually form

 24              MR. BARNEY:    Absolutely, Your Honor.                                   24   a good faith basis of noninfringement.    It took our expert

 25              THE COURT:    So what's the evidence that there                          25   eight days to review the code, um, and so that's an inference



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  1   they can draw.   And that would be circumstantial, um, I                             1   evidence they used it at least eight times in a several month

  2   admit, but it's something the jury can and should be allowed                         2   span.    Dr. Morellas provided that testimony.       So there's no

  3   to do.                                                                               3   question it was used.      In terms of the quantity of how many

  4             THE COURT:     Okay.   And then to damages on the '557.                    4   times it was used, I don't believe that's relevant to the,

  5   The issue being no testimony or no consideration of the use                          5   you know, to the calculation of the reasonable royalty.

  6   by AID of the system.                                                                6                And to the extent it is relevant, it would just be

  7             MR. BARNEY:     Well, again, Your Honor, it's the                          7   one of many factors that would go into the calculation of

  8   delivery of the system was an infringing act.      And under the                     8   that number.    They were free to come in and argue that

  9   statute, all acts of infringement must at a minimum be                               9   because of that particular factor, the number should be

 10   awarded a reasonable royalty.      There cannot be an act of                        10   lower.    I don't believe they did.     I believe they've waived

 11   infringement for which there is no damages in the form of a                         11   it actually.    Our expert did the full Georgia Pacific

 12   reasonable royalty that would violate the statute.                                  12   analysis and he put the number on the table that he -- that

 13             THE COURT:     The '557 is a method patent; right?                        13   he offered.

 14             MR. BARNEY:     It is.                                                    14                THE COURT:    Thank you.

 15             THE COURT:     So are you still arguing that just the                     15                So do you have any Rule 50 motions?

 16   mere the sale of the system that's capable of implementing                          16                MR. BARNEY:    Yes, Your Honor.    And mine will not be

 17   that method then where the damage springs from?                                     17   as eloquent as Mr. Re.      I apologize.   Tetra Tech moves for

 18             MR. BARNEY:     Yes, Your Honor.                                          18   JMOL that Pavemetrics failed to prove by clear and convincing

 19             In order to have provided that system to AID,                             19   evidence that the asserted claims are invalid on the grounds

 20   Pavemetrics would have needed a license.       It's not a matter                    20   that they assert, um, and I don't believe -- I can read all

 21   of how many times it was used.      It's a matter of they                           21   the reasons why, but I think you heard them today and I'm

 22   couldn't have performed that infringing act of supplying the                        22   happy to just brief it later.

 23   system, uh, with instructions for use to infringe the system                        23                But there is one in particular I'd like to point

 24   without the license.                                                                24   you to and you probably saw some preview of it today and that

 25             And, of course, they did use it.       I mean we have                     25   is we don't believe they've proved that those two software,



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  1   um, the two portions of software code that they're including                         1   that otherwise undisclosed software code can be considered

  2   as their base reference which they call the UML Sale and                             2   prior art.

  3   Support, we don't believe those software codes are prior art.                        3                Now, to the extent Mr. Re is gonna stand up after

  4   We don't believe they've proved their prior art.                                     4   I'm done and say well, actually, we have testimony.

  5             I do understand that prior art can be -- excuse                            5   Mr. Laurent or so-and-so said whatnot.         We would point you to

  6   me -- software can be prior art even if it wasn't publicly                           6   several cases.    I think it's a fairly, um, accepted principal

  7   disclosed, but there's some requirements that they have to                           7   that you cannot create prior art through the testimony of an

  8   prove first.   They either have to prove that that prior art                         8   interested witness.

  9   was in public use.     In other words, that software code was in                     9                And I would point Your Honor to the Juicy Whip v.

 10   something that was in public use even if the public couldn't                        10   Orange Bang case 292 F3d 728 at page 737 and I would also

 11   see the software, if it was in public use and being                                 11   point Your Honor to the Finnegan, uh, not the firm, not our

 12   commercially exploited, we agree that could be okay.                                12   firm, Fenigan Corp. versus International Trade Commission

 13             The problem is they didn't even prove that that                           13   180 F3d 1354 at page 166 and these cases, and there's several

 14   software code made it into anything that was publicly used                          14   others that I could cite including the Woodland v Flower Tree

 15   and you heard that from Dr. Hebert.      He sort of admitted it                     15   Nursery case.

 16   when he was pressed, "How do you know that that particular                          16                And, again, we actually have a memo that we're

 17   source code actually made it into a rail inspection system                          17   willing to submit whenever Your Honor's ready for it, but the

 18   that was out there on the rails collecting data under the                           18   case law is fairly consistent that simple witness testimony

 19   supervision of the University of Massachusetts?"                                    19   by an interested party, an interested party just saying I'm

 20             And he admitted, I mean, it was quite a moment, he                        20   telling you that system was in public use, trust me is not

 21   admitted, "I have emails.     I've got things.   I -- I know it."                   21   enough.   It has to be corroborated by something else.

 22   "Is any of it in evidence?"      He said no.   And I don't like to                  22                It sounds like they might have had some things to

 23   use the word doom lightly, but I think does doom their case                         23   bring in to corroborate that.      They just didn't.    Dr. Hebert

 24   on those being prior art.    There is no evidence that those                        24   said it's not in evidence.      I don't have the emails.     I don't

 25   were actually used and that's the baseline test for whether                         25   have the receipt.    I can't actually prove that that software



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  1   actually made it into a system that was publicly used.          So we                 1               MR. RE:   Well, it was part of the study.   And first

  2   do think that's fatal on that issue.                                                  2   of all, Mr. Laurent testified that it was all part of the FRA

  3                I've got one other one, Your Honor, unless you had                       3   study with UML.    And so I want to just address one premise

  4   a question for me.                                                                    4   for that question which is incorrect.    What the case law that

  5                THE COURT:    Sure.   Go ahead.                                          5   Mr. Barney raised, I'm very familiar with that case law,

  6                MR. BARNEY:    We don't believe they made any case                       6   that's when you're relying on oral testimony with no other

  7   for invalidity on Claim 8 of the '557 patent.         Their witness                   7   possible corroboration.

  8   literally said one sentence about it.          I believe he was asked                 8               The evidence in this case was overwhelming of

  9   something along the lines of do you think it's invalid and he                         9   corroboration.    You don't just treat it in isolation like

 10   said yeah and that was it cause they were pressed for time                           10   they did.    They implied to jury the source code was somehow

 11   and they sort of just dropped it at the end of his testimony.                        11   secret and not public was the implication which is why we had

 12                The other issue that I would move for JMOL on and                       12   that little tussle over the law.     But there's plenty of

 13   I'm not entirely sure this is necessary, but just to preserve                        13   evidence to show corroboration of the use and the study and

 14   it, they are the DJ plaintiff and so they have a declaratory                         14   the UML and prior sales and, uh, this is a clear

 15   judgement of -- request for noninfringement.         I understand we                 15   corroboration case.

 16   bear the burden on it.      So my understanding is we don't need                     16               The case he's talking about is when one person says

 17   to move for JMOL on that and it may not be appropriate, but                          17   X and another person says yeah, he's right, X.     That's not

 18   just in case it is, we would also move for JMOL that they did                        18   our case.    We have documents and plenty of corroboration to

 19   not carry whatever burden they have as the DJ plaintiff on                           19   show that these things actually existed, were actually

 20   noninfringement.                                                                     20   implemented, used in a study.    And he asked if it was in the

 21                THE COURT:    Thank you, Counsel.                                       21   2012 sale so they made the argument that the source code was

 22                Let me just hear from Mr. Re on two points, or                          22   never used cause it wasn't part of something that happened in

 23   whoever wants to argue.      One, the software of the prior art,                     23   2012.

 24   the 2014 that was, um, what testimony was there that this was                        24               But the trouble is it was a continuous development

 25   in use or that it was used?                                                          25   through 2014 which is what -- he's shaking his head -- which



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  1   is what Mr. Laurent said that this was continual.         And he                      1   on this.

  2   said just because he doesn't have emails to show that piece                           2               MR. RE:   I'm concerned about the closing argument.

  3   of code doesn't mean it has no corroboration.                                         3   Based upon what I just heard, I heard several statements from

  4                I wanted --                                                              4   Mr. Barney that I pray he does not say at closing argument.

  5                THE COURT:    Hang on one second because I do want to                    5   And by the way, the JMOLs will be in writing so we're not

  6   end this.    Claim 8 of the '557 patent, what's the invalidity                        6   here to preserve.     I know you said Mr. Re moved -- Mr. Re

  7   evidence there?                                                                       7   argued.    I'm gonna move on everything, lost profits, validity

  8                MR. RE:   I'll leave that for Mr. Laquer.                                8   and we'll do that in writing.

  9                MR. LAQUER:    Yes, Your Honor.     Again, the documents                 9               But I was concerned about some of the statements

 10   around the UML activity have been submitted including the                            10   Mr. Barney made which are contrary to law which tells me he's

 11   find cracks script that was used and there is testimony as to                        11   ready for his closing argument.    You asked him what was the

 12   its use.     So it's part of the ongoing sale and support and                        12   evidence of knowledge?    He had no answer on the '293.

 13   use of that activity.      That software is evidence of                              13   Absolutely no answer.    It now seems like he's making an

 14   implementation of a feature of an algorithm that will render                         14   argument on the '557 based on post-litigation activity which

 15   obvious Claim 8 and that was testified to by fact and expert                         15   is a new argument.

 16   witnesses.                                                                           16               What he concerns me is he said no opinion of

 17                THE COURT:    So regardless of what the expert said                     17   counsel.    He knows that violates the statute.   The AIA in

 18   or what the expert covered in the detail, you're saying the                          18   Section 293 or 99, uh, said there's no obligation and it

 19   evidence is in the record from which you can make an                                 19   cannot be mentioned.     You cannot make an inference of any

 20   argument --                                                                          20   kind of failure to get opinion of counsel.    So I assume

 21                MR. LAQUER:    Yes, Your Honor.                                         21   Mr. Barney's not gonna talk about opinion of counsel.

 22                THE COURT:    -- that Claim 8 is invalid because of                     22               Ms. Lea and I had no obligation, neither did the

 23   that code.                                                                           23   client have to get an opinion of counsel.    So that's a

 24                MR. LAQUER:    Yes, Your Honor.                                         24   violation of the statute in the AIA and he's well aware of

 25                THE COURT:    Okay.   Well, thank you for the argument                  25   that.



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  1                The other thing is there is no obligation to do any                      1   at Pavemetrics was not conducted by attorneys and they

  2   searching.    There is no obligation to suggest that we should                        2   admitted --

  3   have searched.    Zero.     The case law is emphatic about that.                      3                MR. RE:   You can't do that.

  4   I want no argument that we somehow should have, could have                            4                MR. BARNEY:    I can do that.

  5   and would have done something with regard to a fact that does                         5                They admitted they don't have the skills

  6   not exist.                                                                            6   necessarily to properly analyze claims.       I don't intend to

  7                THE COURT:    Well, when you're say that, you're                         7   mention the words opinion of counsel because I agree with you

  8   talking about the '557?       When you say the fact -- the                            8   that's not something the jury should weigh, but they can

  9   argument, what is the fact that does not exist that you're                            9   weigh the competency.

 10   alluding to?                                                                         10                And actually, this went to one of our motions in

 11                MR. RE:    Let's start with the issuance of a patent                    11   liminae you probably remember, Your Honor.       They had their

 12   owned by Tetra Tech.       All his evidence predates the issue of                    12   own personnel evaluate the patents which they're entitled to

 13   a patent.    How can there possibly be an obligation to do                           13   do, but I'm also entitled to point out to the jury that they

 14   anything to investigate?                                                             14   don't actually have the skill set necessary to properly do

 15                THE COURT:     Okay.   All right.                                       15   it.   That's something the jury can consider.     It has nothing

 16                MR. RE:    Anything prior to the lawsuit.    The                        16   to do with whether they got an opinion of counsel.       It has to

 17   patents just issued in 2019, 2020.         All this evidence                         17   do with the competency of the people who did the review.

 18   predated 2019.    So that is implying or suggesting some                             18                In fact, one of their witnesses, expert witnesses

 19   obligation, and I don't know what obligation is, but it's the                        19   criticized Mr. Habel for not having the right background.         We

 20   argument Chief Judge Moore called absurd.                                            20   heard it just today.       He said oh, well, he just has a telecom

 21                THE COURT:     Okay.   Mr. Barney, are you gonna talk                   21   background.     Well, Mr. Habel was the main person who did the

 22   about opinion of counsel?                                                            22   review of the patent and wrote us and said that he concluded

 23                MR. BARNEY:     I don't plan to, Your Honor.                            23   there's no infringement.      Why can't I tell the jury that?     I

 24                I don't want to run into any hot water.      I do plan                  24   don't see how that's improper.

 25   to point out that the analysis that was done by the personnel                        25                MR. RE:   Because it's contrary to Halo.    Mr. Habel



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  1   could be mentally retarded and conclude there's no                                    1                MR. BARNEY:    May I proceed, Your Honor?

  2   infringement and there can't be an allegation of willful                              2                THE COURT:    You may proceed.

  3   infringement.                                                                         3                MR. BARNEY:    Good afternoon, ladies and gentlemen.

  4                THE COURT:    Okay.    I'll look at that case over the                   4                Before I get started, I'd like to thank you for

  5   lunch break and I'll see you all back here after lunch.                               5   your service and for your professionalism during these

  6                THE CLERK:    This court's in recess.                                    6   several days.    I know that being here has meant being away

  7                                (Lunch Recess.)                                          7   from family and friends and from your work; from your

  8                THE COURT:    Okay.    We'll have closing arguments and                  8   patients and from your students and your customers.       And for

  9   we'll getting you to deliberating.         Tetra Tech will go first                   9   one of you, away from your pet snake which is probably hungry

 10   because they've got the burden of proof on the infringement                          10   by now.   So I want to let you know that whatever happens in

 11   issues, and then they can save some time and have a rebuttal                         11   this case and whatever verdict you return, we sincerely

 12   argument after Pavemetrics.         Each side gets an hour.    So it                 12   appreciate your commitment and sacrifices that you've made to

 13   should be no longer than two hours.                                                  13   be heard.

 14                MR. BARNEY:     Your Honor, I think we have one very                    14                Now, as I explained in my opening argument, the

 15   tiny housekeeping matter.       It should just take a few seconds.                   15   reason we're here is because Pavemetrics took Tetra Tech's

 16                THE COURT:     Sure.                                                    16   patented technology and refused to pay and that was wrong.

 17                MR. CERULLI:    So, Your Honor, Exhibit 990 is                          17   Now, back during my opening statement, I promised to prove

 18   already in evidence.       There were some redactions made and                       18   certain things to back up that claim and I believe we have.

 19   we'd like to swap it out with 990-1.                                                 19   So this is a matter of promises made and promises kept.

 20                THE COURT:     Any objection to that?                                   20                We've shown that Tetra Tech is a well-respected and

 21                MS. LEA:     No objection, Your Honor.                                  21   honorable company based right here in Los Angeles.       It's a

 22                THE COURT:    So the exhibit in evidence will be                        22   world leader in renewable energy, sustainable infrastructure,

 23   called 990-1 or 990?                                                                 23   engineering and international development.       And it has been

 24                MR. CERULLI:    990-1.                                                  24   awarded or recognized as one of America's most responsible

 25                THE COURT:    Okay.    That's great.   We can do that.                  25   companies.    None of these facts are disputed.



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  1                Now, there has been an accusation of bullying and                     1                And that road map consists of the jury verdict form

  2   I'd like to address that head on.    You heard from Tetra Tech                     2   and the jury instructions.    The verdict form is gonna have

  3   -- three of Tetra Tech's senior executives during this trial.                      3   specific questions that you need to answer and the jury

  4   You heard from Mr. Keyes, you heard from Dr. Mesher and you                        4   instructions are gonna provide you the instructions for how

  5   heard from Mr. Larson.     And by the way, we also have another                    5   to do that.

  6   executive here.    This is Preston Hobson.     He is Tetra Tech's                  6                So let's take a look at the first one.    Your first

  7   Senior Vice President and General Counsel.                                         7   question is gonna be did Tetra Tech prove by a preponderance

  8                You saw those people on the stand and so you had an                   8   of the evidence that Pavemetrics directly infringed Claims 1

  9   opportunity to assess their demeanor and their testimony.       So                 9   and 21 of the '293 patent by selling or offering to the sell

 10   you can come to your own conclusion whether they seem like                        10   in the United States to CSX the laser rail inspection system

 11   bullies to you.     But let me make one thing clear.   There is                   11   or LRAIL?

 12   nothing wrong about standing up for your rights.                                  12                Now, a couple things to note.    The first thing you

 13                As you saw from the patent video, patent rights are                  13   see there is a burden of proof:    The preponderance of the

 14   derived from the U.S. constitution.     Patents are very                          14   evidence.    Well, what's that mean?    The jury instructions are

 15   difficult to get.    It's hard to get a patent.    A patent's a                   15   gonna tell you and you're gonna have those back in the jury

 16   property right just like the deed to your house or the title                      16   room.   And when you look up that standard, you'll find that

 17   to your car.    And there is absolutely nothing wrong with                        17   it means is it more likely than not that Pavemetrics

 18   defending your property rights.     It does not make you a                        18   infringed these patents.

 19   bully.                                                                            19                Now, the best way to think about that is our famous

 20                So let's turn to the actual issues that you're                       20   symbol of the American justice system, Lady Justice.       And

 21   gonna be asked to address in this case.      Now, the first issue                 21   she's there with her blindfold on and she's holding scales in

 22   is infringement.     And I know you've heard a lot of evidence                    22   her hands.    She's blindfolded because justice is supposed to

 23   about a lot of complicated technology and you might be                            23   be blind and she's holding scales, the scales of justice

 24   feeling overwhelmed, but luckily, the Judge has given you a                       24   because that's what you're gonna be doing when you get back

 25   road map.                                                                         25   to your jury room.    You're gonna be weighing evidence.



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  1                You'll be putting Tetra Tech's evidence on one side                   1   bell and you can't unring infringement.

  2   and Pavemetrics' evidence on the other side and seeing which                       2                Once they did those infringing acts, it was done.

  3   way they tip the scales.    And the preponderance standard that                    3   That was the infringement.    Everything else they did later,

  4   applies here, the scales only have to tip a little tiny bit                        4   doesn't matter in this case.    How they shipped it in, whether

  5   in our favor for you to find infringement.      51 percent is                      5   they put it in boxes, et cetera, none of that matters.

  6   enough for you to find infringement.      Now, in fact we've                       6                So let's take a look at the actual documents that

  7   proven that the scales are way in our favor, but actually, we                      7   relate to these two acts of infringement.      You'll have these

  8   only need to a show little bit for you to find infringement.                       8   in the jury room.    Exhibit 811 is their offer for sale.      It's

  9                So the other thing that I'd like to point out about                   9   called a quotation.    It took place on February 15, 2021.       And

 10   this, uh, first question is it says, "Is there infringement                       10   this is where they offered to sell both three LRAIL systems

 11   based on selling or offering to sell the system?"      That means                 11   to CSX including both hardware and software.      That is an

 12   those are the only acts of infringement that are accused with                     12   offer for sale.    That is an infringing act under the patent

 13   respect to the '293 patent.                                                       13   statutes.

 14                Now, why am I bringing this up?    It's because                      14                And, again, the jury instructions are gonna tell

 15   Pavemetrics has this theory, this argument that they want to                      15   you that.    If you go to the infringement section, it's gonna

 16   make that because they packaged the LRAIL, uh, into boxes and                     16   tell you an infringing act can be making, using, selling,

 17   ship it into the United States where all the components are                       17   offering to sell or importation.       Those are the five types of

 18   disconnected from each other, and because the software is                         18   acts that can be infringement.     And the ones that are at

 19   downloaded later, and that there might be updates, you know,                      19   issue here are selling and offering to sell.      Has nothing to

 20   down the road that somehow that gets them off the hook for                        20   do with using, has nothing to do with making, just those two

 21   infringement.     Ladies and gentlemen, it does not.                              21   acts.

 22                And that is because the accused acts here are the                    22                On the right is Exhibit 844.    That is the purchase

 23   offer for sale and the sale.     As soon as they offered to sell                  23   agreement or they called it a Goods Agreement.      And that's

 24   the system and as soon as they sold the system, they                              24   where CSX and Pavemetrics signed on the dotted line and

 25   infringed.    It's like ringing a bell.    You can't unring a                     25   actually executed the sale for those three LRAIL systems that



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  1   were the subject of the earlier quotation.    That is also an                     1   that sale was their Fake3D version of the code.

  2   infringing act.    Again, it's the act of selling and that was                    2                We know that from looking at the declaration of

  3   an infringing act.                                                                3   Dr. Hebert.    And these are undisputed points, but it helps to

  4               And as soon as the ink was dry on that agreement,                     4   see that it's put in writing by one of their own employees

  5   as soon as the last signature was placed and the ink dried,                       5   who signed it under oath, under penalty of perjury.       And he

  6   that was the infringement.   The infringement occurred that                       6   said that these sales, including the four that are at issue

  7   day and everything else they did afterwards is irrelevant to                      7   in this case, were what he called turnkey sales.      That

  8   whether or not they infringed that day.                                           8   basically included the LRAIL hardware, the LRAIL acquisition

  9               Now, Pavemetrics wants you to believe that, if I                      9   software and the LRAIL processing software.

 10   could have the next slide, that because they updated their                       10                He went on to explain that it includes

 11   software code at some later date from the Fake3D algorithm to                    11   executable -- that the system, a complete LRAIL package,

 12   what's called the Mixed Image algorithm that somehow that                        12   includes executable copies of acquisition software compiled

 13   gets them off the hook for infringement.    It doesn't for two                   13   from LRAIL software code.    And that tells you that this was a

 14   reasons.                                                                         14   sale for both software and hardware.      It wasn't just a

 15               First, our expert analyzed those codes and it turns                  15   hardware sale.    You can see it right there.     It was hardware

 16   out they both infringe so to some extent, this is a moot                         16   plus software.

 17   issue.    More importantly, again, it was the date of the sale                   17                So this idea that somehow they made the sale, a

 18   that the infringement occurred.    When they sold those units                    18   turnkey sale, that didn't include the software that was the

 19   to CSX in March of 2021, it was what is called a turnkey                         19   prevailing commercially available software at the time from

 20   sale.    We've heard that term a few times in this case.   A                     20   Pavemetrics makes no sense.    Why would a big company like CSX

 21   turnkey includes both hardware and software.                                     21   buy three LRAILs with no software?       They wouldn't and they

 22               And the prevailing commercially available software                   22   didn't.

 23   at that time was the Fake3D software that was computed with a                    23                Next slide, please.   So the next question is, "Does

 24   deep convolutional neural network.    Did they update it later?                  24   the LRAIL system that was sold to CSX on March 15th and that

 25   Yes, they did, but what was available at the time they made                      25   was offered to first sell on February 15th, 2021, does it



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  1   meet each and every limitation of the claim?"    This is how                      1   convolutional neural network which is a type of artificial

  2   you do a proper infringement analysis.    You have to go                          2   intelligence, we can never be accused of infringement.         What

  3   limitation-by-limitation and look to the accused product and                      3   a wonderful theory if it were true, but it's not true.         It's

  4   see whether it satisfies that limitation.                                         4   completely bogus.

  5               You'll recall that Dr. Morellas, he's the gentleman                   5                And how do you know that?    You're not gonna see

  6   who has that Greek accent, uh, he went through this in                            6   anything like that in the jury instructions.       The jury

  7   detail.    He went through limitation-by-limitation.   He showed                  7   instructions tell you what the law actually is.       They tell

  8   where each limitation is satisfied in the code, in the                            8   you a bunch of other stuff and they can have their own

  9   software code.    He showed how the Pavemetrics' documents                        9   theories and that's perfectly fine, but when you get to the

 10   actually corroborated his testimony and he was certain about                     10   jury room, you have to follow the law.      And you're not gonna

 11   it.   He was confident that every single limitation in this                      11   see any such theory in the jury instructions because it's not

 12   claim is met.                                                                    12   the law.

 13               Now, you heard from Dr. Frakes yesterday and then a                  13                As Dr. Morellas explained, it is true that our

 14   little bit today and he has some disputes.     He disputes a                     14   patent doesn't talk about AI and doesn't talk about neural

 15   total of five limitations in Claim 1, and I'm gonna get to                       15   networks because our patent is about a specific algorithm

 16   each of those in just a moment.                                                  16   that's used in railroad detection.       And as Dr. Morellas

 17               In addition to those five disputes, Pavemetrics                      17   explained, you can use that algorithm, you can use AI to

 18   also has kind of an overarching argument.    I call it more                      18   perform that algorithm or you cannot use AI to perform that

 19   theory and their overarching theory or argument is that                          19   algorithm.    You can use a convolutional neural network to

 20   because they're using artificial intelligence and because the                    20   perform that algorithm or you could not use it.

 21   patent doesn't specifically describe artificial intelligence                     21                It's like you could have an Apple computer perform

 22   that somehow that gets them off the hook for infringement.                       22   it, you can have an IBM computer perform it, you can have a

 23               They had this theory and they've had it for quite a                  23   Lenix computer perform it.    It doesn't matter what you use to

 24   while.    We saw it in some of their corporate documents that                    24   perform the algorithm, if you're performing the algorithm,

 25   if we put our code, if we put our algorithms into a                              25   and if you're performing every single one of these steps, you



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  1   infringe the claim.    That's the law.   That's infringement.                          1   offering for sale was a complete LRAIL system with all of the

  2               This theory that AI somehow magically can't                                2   software and all of the hardware needed for that system to

  3   infringe a patent is not true.    It's bogus.      Now,                                3   operate.    And that makes sense; right?   Who goes and pays

  4   Dr. Morellas, he not only analyzed Claim 1, but he also                                4   over a million dollars to buy a bunch of disconnected boxes?

  5   analyzed Claim 21 and came to the conclusion that every                                5   Nobody.

  6   single limitation is met.                                                              6               What CSX was interested in buying were the LRAIL

  7               So let's take look at the counter-arguments one at                         7   systems and we know that from the testimony of Mr. Larson.

  8   a time.    There's a total of five of them.      Their first                           8   Mr. Larson, you may remember was the gentleman who was a

  9   counter-argument is that they don't think the limitation that                          9   former Navy captain.   He served on warships in the Navy.      He

 10   requires at least one sensor be in communication with a                               10   was a commanding officer of two warships, and then he went to

 11   processor, they say that's not met.      Why?    Because they ship                    11   work for CSX.   He worked there for a number of years and now

 12   the system in boxes.                                                                  12   he works for Tetra Tech.

 13               And when they ship it in boxes, all the pieces are                        13               He was at CSX at the time that these negotiations

 14   disconnected and the cables aren't plugged in.        And, of                         14   were taking place between CSX and Pavemetrics.    And we asked

 15   course, the computer is not plugged into the wall because who                         15   him what were you expecting that Pavemetrics would deliver to

 16   plugs a computer in while it's being shipped.        That's their                     16   CSX under this quotation?   And he said, well, exactly what it

 17   boxes argument.    And ladies and gentlemen, again, that is not                       17   says there.    It's the hardware, the software and the ability

 18   the law.                                                                              18   upon receipt to conduct track inspection.

 19               The infringement here was the sale.       The                             19               So that tells you that he was expecting a fully

 20   infringement occurred the day they made that sale and the day                         20   operational system and that means a system where the

 21   they made that offer for sale.    You can't unring a bell.        You                 21   computers are plugged in, the cables are attached, and

 22   can't unring that infringement.    It doesn't matter that they                        22   there's communication of data between the sensors and the

 23   later shipped it in boxes.                                                            23   computer.

 24               Moreover, on the date they made that sale, what                           24               Now, you don't even have to be a patent attorney to

 25   they were offering for sale wasn't boxes.        What they were                       25   understand that this argument they're making doesn't make



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  1   sense.    You really don't have to be a patent attorney.        When                   1   Image algorithm, the user has to go into what's called a

  2   you buy something on Amazon, let's say you're buying a                                 2   config file and set a variable from zero to one or from zero

  3   computer or you're buying some piece of electronic equipment,                          3   to two so that would then invoke or call the, um, the

  4   perhaps a piece of medical equipment or pathology equipment                            4   accused, uh, modules or the accused algorithms.      Ladies and

  5   or radio or something, you're on Amazon, you select what you                           5   gentlemen, that, again, does not get you off the hook for

  6   want.                                                                                  6   infringement.   It just doesn't.

  7               Maybe you select some configurations that you want,                        7               As Dr. Morellas explained, uh, this is just like

  8   you want some special features on it.      When you click buy and                      8   your word processor.   You open up Word, you've got some

  9   you buy that system, you bought an operational system.          Okay?                  9   options.    One of the options is a spell checker.   Some people

 10   Yes, it's gonna come in a box or boxes.         Yes, you're gonna                     10   like it, some people don't.    Some people like to have it

 11   have to maybe put some cables together or you may even have                           11   running while you're typing.    Some people like to wait until

 12   to download software, but you what bought on Amazon was an                            12   they're done typing and then check the whole document.      So

 13   operational system because that's what you want and that's                            13   people like different things and so Microsoft gives you some

 14   what Amazon offered you.                                                              14   options.

 15               It makes no sense that you be on Amazon shopping                          15               The default option is that it's turned off while

 16   for disconnected boxes.    That's what we do as consumers and                         16   you're typing, but if you want to turn it on, all you have to

 17   that's not what CSX was interested in buying from                                     17   do is go to that drop down menu and click and you've now

 18   Pavemetrics.                                                                          18   enabled that software to run.   The software is in the system

 19               Next slide, please.   So their next argument is                           19   the whole time.   The system was enabled and configured to run

 20   actually not much better than the last argument.          And that is                 20   that software the whole time and it was just waiting for you

 21   they say they don't meet this requirement that the system has                         21   to asks.    As soon as you ask, it provides it to you.

 22   to be configured to run an algorithm.      And the reason they                        22               You need to look at the Court's construction.      The

 23   say that is because they have programmed it so that the                               23   Court's construction says configured to run an algorithm

 24   default is actually to be a different algorithm.                                      24   means is programmed to run an algorithm without the need to

 25               And that if you want to run the Fake3D or the Mixed                       25   rebuild, rewrite or compile code for or redesign any of that



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  1   hardware or software.    You heard from Dr. Morellas and he was                     1               Now, Dr. Morellas walked in detail, he it did last

  2   just using Microsoft Word as an example.                                            2   week and he did it again today, and he showed you where

  3              You heard from him that when you click check                             3   exactly in the code.    He had all those purple and red boxes

  4   spelling as you type, you're not reprogramming anything.                            4   showing you exactly where in the code the accused LRAIL

  5   You're not rewriting the software code.     You're not                              5   system combines intensity data and range or elevation data

  6   recompiling the software code and you're not redesigning the                        6   into an elevation map.    It's not subtle.   It's there.   He

  7   software or hardware.    The same is true for the LRAIL.     And                    7   showed you where it is in the code.

  8   you can see it right there in the documentation.                                    8               Dr. Frakes, their expert, actually said something

  9              They tell their users that it comes with Windows 7,                      9   interesting yesterday on that exact point.    He said

 10   Windows 10 and a library of C and C++ functions that allow                         10   reasonable people could disagree.    That's what he said.

 11   the user to easily configure the operating system.       This is                   11   Reasonable people could disagree as to whether you're

 12   just a matter of changing a number from zero to one or zero                        12   combining both types of data into one.   Well, I would submit

 13   to two.   And that is not the same thing as rewriting the code                     13   reasonable people shouldn't be able to disagree on that one

 14   or reconfiguring or recompiling the code.    So again, this                        14   because the evidence is so overwhelmingly clear.    They don't

 15   argument does not get them off the hook for infringement.                          15   really have an argument against this.

 16              Let's look at their next argument.     Next they argue                  16               And, again, you don't even have to look at the code

 17   that the LRAIL system does not create a track elevation map                        17   to know this.    You can just look at what they tell their

 18   and remember the Court construed track elevation map to                            18   customers and people in the industry about their system.        It

 19   require two very distinct types of data; intensity data and                        19   wasn't just maybe a year ago in 2021 that they went to this

 20   elevation data and elevation data is also called range data.                       20   conference called Arema and this is how they described their

 21              And I would submit to you, ladies and gentlemen,                        21   LRAIL technology to other people in the industry.     They said

 22   they're maintaining it against all contrary evidence that is                       22   their LRAIL technology takes two types of scans and combines

 23   overwhelming.    They're continuing to maintain their argument                     23   them for analysis.

 24   that somehow their LRAIL doesn't combine these two types of                        24               Now, they claim that's unique to Railmetrics and in

 25   data into an elevation map.                                                        25   fact we now know it's not unique to Railmetrics.    It's unique



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  1   to our patent.   What are the two types of data that they tell                      1   uh, of rail ties, pictures of different things and training

  2   others in the industry that they are combining?     2D intensity                    2   that network how to recognize those specific types of

  3   data and 3D range data.    That's elevation data.                                   3   objects.

  4              So it's clear in the documents.    It was clear in                       4               And he says that once that training is complete,

  5   the source code.    And let's be honest, if the response of                         5   you sort of lock in the code.   Once it's complete and the

  6   their expert is reasonable people could disagree, that pretty                       6   system is good enough to operate, you lock in the code and

  7   much tells you they don't really have a good argument here.                         7   then it's installed in the LRAIL software.    He says at that

  8   So we think this limitation is satisfied.                                           8   point that gradient neighborhood is sort of locked, it's

  9              Let's have the next slide, please.     Their fourth                      9   fixed, it doesn't change any more.    And he says because of

 10   argument is they say that the LRAIL doesn't define an                              10   that, there's no ability to vary it.

 11   appropriate gradient neighborhood and this is in Step C of                         11               What he's forgetting and what he forgot to tell you

 12   the algorithm.   Now, let's be real clear about where the                          12   yesterday when he was expressing that opinion and what

 13   dispute is.                                                                        13   Dr. Morellas explained today is that the system is programmed

 14              Their expert Dr. Frakes does not dispute that the                       14   to recognize and search for different types of features.

 15   LRAIL system defines a neighborhood that's of limited size                         15   It's not just looking for ties.    It's not just looking for

 16   that scans across the data like a moving window.     He has a                      16   spikes.    It's looking for ties, it's looking for spikes, it's

 17   dispute about the step, and I'm going to get to that in a                          17   looking for fasteners.    Different types of features that are

 18   moment.   But in terms of whether it's a gradient                                  18   very different from each other.    Different in size, different

 19   neighborhood, his real dispute which you heard yesterday, he                       19   in contours and different in shape.

 20   doesn't think the LRAIL defines an appropriate gradient                            20               And he explained to you and there's been no

 21   neighborhood.                                                                      21   rebuttal to this whatsoever that in the LRAIL system when it

 22              And his argument is well, because it's a neural                         22   does that, it's using differently sized gradient

 23   network, it has to be trained and we do our training up in                         23   neighborhoods.    So it's gonna use one that's appropriate to

 24   Canada.   So they have a neural network training facility                          24   search for a tie which is a very big piece of wood or

 25   where they're feeding the neural network pictures of -- of,                        25   concrete, but it's gonna use another appropriately size and



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  1   weighted gradient neighborhood to search for fasteners.       And                   1   like a sliding window.    And their only dispute is that

  2   it's going to use even another to search for spikes because                         2   because the LRAIL convolution network uses a stride of 2 that

  3   they're very small comparatively speaking.     They're basically                    3   means it doesn't meet the Court's construction.

  4   giant nails.                                                                        4               So let's look at the Court's construction and let's

  5                And he explained using the analogy of the face                         5   be very careful and methodical about how we look at this.

  6   recognition software that we're all familiar with.     Remember,                    6   The Court's construction says, "sequentially and completely

  7   I asked him, and he's an expert in this technology.       He's                      7   applying above gradient neighborhood to the 3D elevation

  8   been doing this for 30 years.    This is what he did at                             8   data.

  9   Honeywell.                                                                          9               And Dr. Morellas explained in detail using this

 10                And I said if you're looking for a face, you're                       10   animation which I'll replay for you that as that gradient

 11   gonna use one size and weight of your gradient neighborhood,                       11   neighborhood slides with a step of two, each time it slides,

 12   but if you want to look for eyeballs which are smaller than                        12   it's doing calculations on nine pixels.    Then it slides again

 13   the face and actually kind of have different contours and                          13   and does more calculations on nine more pixels, and then it

 14   features than an entire face, he said you're gonna have to                         14   slides again, more calculations, slides again more, and by

 15   use a different sized gradient neighborhood.                                       15   the time it's finished, every sing pixel in that image got to

 16                And that's exactly what the LRAIL system does and                     16   participate in that calculation process.

 17   because it does that, it satisfies the definition of defining                      17               Every single pixel was part of the application of

 18   an appropriate gradient neighborhood.    It uses what's                            18   the gradient neighborhood.   There wasn't a single pixel and

 19   appropriate for what it's searching for.    And, again, there                      19   there isn't a single pixel in the LRAIL elevation map that

 20   was no real rebuttal to that so we believe this limitation is                      20   doesn't get, that doesn't get applied in terms of that

 21   satisfied.                                                                         21   gradient neighborhood of being applied to the data.     Nothing

 22                And their last argument against Claim 1, I know                       22   gets skipped.    There's no pixels that get left out.   No pixel

 23   you've all seen this before, and I'll just hit it one more                         23   gets left behind.

 24   time is this idea of the sliding window.    And they don't                         24               Now, what they're pointing to is this book, Karami

 25   disagree that there's a window that is moving across the data                      25   book that our expert actually cited, and it turns out that



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  1   Karami describes this going by steps of two, he says that's,                        1   put in an additional input to the elevation map.   They put in

  2   i.e., skipping one element.    And they're very excited that                        2   an additional input, but the elevation map still has

  3   Karami using the word skipping because they're trying to                            3   intensity data, it still has range data, and it's still

  4   imply that that means it skips pixels.    It does not.                              4   analyzed and processed exactly the same way it was done in

  5                As I've just shown, no pixel gets left behind.                         5   the 3D software and so nothing changes.

  6   Every pixel is the subject of a calculation.      The Court's                       6               He went through, I'm showing you just his summary,

  7   construction is sequentially, there's no dispute that's                             7   but you'll recall, he went through it in detail.   He did not

  8   sequential, and completely applying the gradient neighborhood                       8   skip anything.   He went through the code.   He showed you

  9   to the elevation data.    As we've just shown you and there's                       9   where every single variable was that tied down these

 10   no dispute about what I just showed you, it does apply to                          10   limitations and his conclusion was they just updated to Mixed

 11   every pixel in the picture, in the image.                                          11   Image, but it still infringes.    It's still doing the same

 12                So, again, we believe this limitation is satisfied                    12   thing.   All you did was add one additional piece of

 13   and what that means is because none of their five arguments                        13   information.    Same thing for Claim 21.

 14   can really win the day on these limitations, that means                            14               So ladies and gentlemen, at this point the evidence

 15   Claim 1 is infringed.                                                              15   has shown you that Claim 1 of the '293 patent is infringed

 16                Now, if I can have the next slide, Dr. Morellas                       16   and remember the burden of proof is preponderance of the

 17   didn't just stop at analyzing the Fake3D algorithm.       He also                  17   evidence.   It just has to tip a little bit in favor of

 18   looked at that Mixed Image algorithm.    Now, remember that's                      18   infringement for you to find that this is satisfied.     We

 19   the one they updated later after they made their sale to CSX.                      19   think it tips a whole lot.

 20   And we don't think that's even relevant because the                                20               So we're going to ask you on Question 1 whether

 21   infringement happened the day they made the sale, but even if                      21   we've proved by a preponderance of the evidence that

 22   it is relevant, Dr. Morellas went and looked at that code.                         22   Pavemetrics infringed those two claims, Claim 1 and 21, we're

 23                Remember, he said he spent eight days reviewing                       23   gonna ask you to check yes on your verdict form.

 24   source code and it turns out that infringes as well.       Because                 24               The next question you're gonna see is a question on

 25   all they did in the Mixed Image algorithm is they basically                        25   induced infringement.    That's Question No. 2 and it asks,



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  1   "Did Tetra Tech prove by preponderance of the evidence that                         1   Pavemetrics was aware of the '557 patent and knew that AID's

  2   Pavemetrics induced AID to infringe Claim 8 of the '557                             2   use, if taken, would constitute infringement of that patent.

  3   patent?"                                                                            3   We're not relying on that part of the knowledge prong.

  4               Now, a couple things there.   Again, you see that                       4               What we're relying on, ladies and gentlemen is that

  5   same burden of proof, preponderance of the evidence.      It just                   5   second part.    Or and or is always important when you're

  6   means we have to just tip the scales just the tiniest little                        6   reading these types of, uh, sort of, you know, descriptions

  7   bit.    Even a feather would be enough for you to find this                         7   of the law.    Or that Pavemetrics believes there was a high

  8   induced infringement under the standard, but, of course,                            8   probability that AID's use would infringe the '557 patent and

  9   we've presented a lot of more evidence than a feather.                              9   Pavemetrics took deliberate steps to avoid learning that

 10               The other thing you see is this term induced                           10   infringement.

 11   infringement so what's induced infringement?      Well, again,                     11               Now, in the law we call that type of evidence, we

 12   the Judge has given you a road map.    He's given you those                        12   call that willful blindness.    It's a doctrine not just found

 13   jury instructions which you'll have with you in the jury                           13   here in patent law.   It's found throughout our legal system.

 14   room.    There's a whole jury instruction on induced                               14               And the reason willful blindness is in our legal

 15   infringement.    And we have to prove, what Tetra Tech has to                      15   system is when there are issues where we want, uh, people to

 16   prove under this induced infringement law is three things.                         16   act responsibly, we don't want to encourage them, we don't

 17               First, that AID's use of the LRAIL system directly                     17   want to create a legal system where we're actually

 18   infringed Claim 8 of the '557 patent.                                              18   encouraging people in business, for instance, to put blinders

 19               Second, that Pavemetrics took some action during                       19   on and try and consciously try not to look to see where they

 20   the life of the patent, um, that was intended and caused, uh,                      20   might be causing people harm.   We don't want that.

 21   that infringement.    Intended and causes the things that lead                     21               We want people to be responsible business owners.

 22   to that infringement.                                                              22   We want them to make sure they're checking to make sure that

 23               And third, there's a knowledge prong.    You've heard                  23   their restaurants are safe.    That the equipment they're using

 24   us talk about this before.    The knowledge prong has two                          24   in their medical, uh, practice is safe.    That they're not

 25   alternatives to it.    The first alternative is that                               25   doing something that might cause harm to somebody.      And so we



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  1   have these willful blindness standards in our laws to prevent                       1   using a blob, that can't have any coordinates.    Well, of

  2   that, to make sure people aren't putting blinders on.                               2   course, he's only looking at half the story.     The other half

  3               And that is what we believe happened here.    We                        3   of the story that Dr. Morellas was able to tell you today is

  4   believe they put blinders on and willfully blinded themselves                       4   yeah, it's a mask, but it's a mask being applied to something

  5   to the possibility of the infringement by AID very much that                        5   specific.   It's a mask being applied to a rail base and a

  6   like that ostrich in the picture there.                                             6   rail base does have a shape.    A rail base is not a blob.

  7               So let's go through each one of these three steps.                      7               And so when you take that mask and you apply it to

  8               First, we proved by a preponderance of the evidence                     8   a rail base, suddenly you have a rectangular shape.       It's no

  9   that AID directly infringed the claim.    Again, Dr. Morellas                       9   longer a blob.    It's a rectangular shape and it has

 10   went through it limitation-by-limitation.    He did not leave                      10   coordinates.    And you tell where the vertices of that

 11   anything out.    He showed you where each limitation could be                      11   rectangular shape is which by the way is the whole point of

 12   found in the code itself in the software, and he also showed                       12   this software.    They're trying to identify features on the

 13   you how Pavemetrics' own manuals and documentation support                         13   railway track.

 14   his opinions.                                                                      14               So, of course, it would make no sense if they're

 15               And, again, we only have three disputes here and                       15   running around using blobs.    They're not using blobs.

 16   you heard that from Dr. Frakes.    There are three disputed                        16   They're using masks that map to specific elements on the

 17   limitations in this claim so let me just get right to them.                        17   railroad track.    And so we believe Dr. Morellas showed very

 18               The first dispute that Dr. Frakes says the LRAIL                       18   strongly that this limitation is satisfied and Dr. Frakes's

 19   doesn't, uh, input rail based edge feature coordinates.        What                19   argument really doesn't make sense.    He didn't apply the

 20   is his argument?    You heard it today and you heard                               20   second part of that is what is the mask being applied to.

 21   Dr. Morellas' response.    His big argument is because it's                        21               Same thing for the next element they dispute.     They

 22   done using a mask and a mask is a thing that they use in                           22   say that the LRAIL system doesn't input detected tie bounding

 23   computer programming and it's pretty well-known.                                   23   box data.   And, again, if you listen carefully to Dr. Frakes'

 24               And Dr. Frakes is saying, hey, a mask can have any                     24   testimony, his real squabble was that it was a box.       He says

 25   shape.    It could be a blob and therefore, if you're just                         25   it's not a box.    He said a mask is a blob not a box.     That



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  1   was his big argument.    It's a blob and this claim requires a                        1   inputted.    They're just arguing that because that plane data

  2   box.                                                                                  2   in the LRAIL system is calculated only looking at half the

  3              Again, ladies and gentlemen, that's playing games.                         3   tie, they say you don't meet the claim limitation because you

  4   That's playing word games.    The reality is that the code is                         4   have to do the entire tie.

  5   applying that mask to something.      It's applying it to a                           5                First off, nothing in this claim says entire tie.

  6   railroad tie and railroad ties are rectangular.     And so when                       6   There's no claim limitation that says that.       There's no court

  7   you apply that mask to the railroad tie, you no longer have a                         7   construction that says that.       Moreover, to the contrary, the

  8   blob.   You have a mask that's shaped like a railroad tie and                         8   claim says approximate tie surface plane data.

  9   it has coordinates.                                                                   9                And as Dr. Morellas explained, if you a flat

 10              And Dr. Morellas even showed you in the output file                       10   surface like the top of this desk right here and you want to

 11   that comes out at the end of this process, that the output                           11   find out where the plane of that desk is, it's a perfectly

 12   file indeed has the coordinates.      You can see them there.                        12   reasonable thing to do is to take part of it and say well,

 13   It's got a series of eight XY values which is basically the                          13   let me just find out where part of the plane is.       Once you

 14   four corner of the rectangle.                                                        14   find that, you know where the rest of the plane is because

 15              They attack Dr. Morellas and say well, that's                             15   it's flat.

 16   output and the claim requires input, but Dr. Morellas                                16                Rail ties are flat.    They're generally flat and

 17   actually showed both.    He showed where the input is.      They                     17   therefore, looking at half the tie is a way to approximate

 18   claim it's a blob.     He said it's not a blob, it's a                               18   the, uh, the plane surface of that rail tie.       So Dr. Morellas

 19   rectangle, and he proved it by showing what comes out at the                         19   explained this does get them off the hook for infringement.

 20   end in the output file is indeed a rectangle not blob.         So we                 20   This is an approximate tie surface plane data.

 21   believe that has been satisfied.                                                     21                And so we've gone through all three of their

 22              And finally, they dispute this limitation that                            22   disputes and therefore, we believe we've shown Claim 8 of the

 23   requires inputting approximate tie surface plane data.         And                   23   '557 patent has been infringed.

 24   their big dispute here -- they don't -- they don't dispute                           24                Now, there's another part of infringement, if I can

 25   that there is plane data that is, uh, that is generated and                          25   have the next slide, if you look at the jury instructions,



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  1   there's a little bit more we have to show.     We have to show                        1   that was used.    You can even see the date and time that the

  2   that the method was used and that it was used in the                                  2   analysis took place.

  3   United States.    So how do we know that it was used in the                           3                You can see which modules were enabled during the

  4   United States?    Because we had the video deposition testimony                       4   analysis.    In this case the tie rating, uh, module was

  5   of Mr. Hafiz.                                                                         5   enabled and that's the module that we're accusing of

  6              You remember he's the gentleman that was kind of                           6   infringement.    That's the module that performs the steps of

  7   wearing the headset.    He's a project engineer at AID.     He                        7   Claim 8.     And you can see that it's listing various tie crack

  8   testified, and this is undisputed, that they received the                             8   parameters.

  9   LRAIL system.    They assembled it.   They did the calibration                        9                The other thing you can see from the output file,

 10   and then they used it.    They operated the system in                                10   if I can have the next page, is you can actually see the

 11   New Jersey and New Jersey is in the United States.       And                         11   result.    Again, it's like a receipt.    You can see that in

 12   therefore, we've proven the method -- excuse me -- the                               12   this particular run that they did, the system identified four

 13   claim -- the LRAIL was used in the United States.                                    13   ties.    It says number of ties, four and it detected one

 14              The last thing we need to prove is well, how do we                        14   crack.    And then it actually provided the crack parameters

 15   know that the method of Claim 8 was performed?     Maybe they                        15   because you remember that's one of the limitations, that's

 16   used it and never invoked that, uh, that software code.                              16   Step D of Claim 8 is to actually, uh, analyze crack

 17   Well, we know that because our expert, Dr. Morellas actually                         17   parameters.

 18   looked at the output files, and he explained to you what an                          18                So we see here from this output file that yes,

 19   output file is.    The output file is basically like a receipt.                      19   indeed, AID used the system, they used it in the

 20              You use the system.    You go out on the track, you                       20   United States, and they used it to perform the method of

 21   do an inspection, and then at the end of the inspection,                             21   Claim 8.     Um, and so we didn't, uh, we didn't just come in

 22   you're gonna essentially push a button.     I'm probably                             22   here and wave our hands.    We have the receipts.

 23   exaggerating, but you can push some buttons and it provides                          23                And not only did they infringe it once,

 24   you a receipt.    It says this is what you did today.      And you                   24   Dr. Morellas actually looked at a whole bunch of output files

 25   can see in the output file, the version of the software code                         25   and he was able to tell that AID used the system in an



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  1   infringing manner which means they practiced the method of                           1   inducement of that -- of infringement and that's not all.

  2   Claim 8 eight separate times, at least eight separate times                          2                What else did they provide to AID?    They provided

  3   between April and August of 2021.       So they didn't just                          3   user manuals, installation manuals and instructions.       And

  4   infringe once, they infringed multiple times.                                        4   there is no dispute, none, that these manuals collectively

  5               So we believe we've carried burden that                                  5   teach and educate the end user, the customers, how to

  6   preponderance burden by showing that AID directly infringed                          6   practice all of the different modules and functionalities of

  7   Claim 8 of the '557 patent by practicing the method in the                           7   the LRAIL system including the tie crack detect module which

  8   United States.                                                                       8   is the accused module for Claim 8.       That's undisputed.

  9               Now, that's not the end of our analysis cause                            9                Now, we've seen there's direct infringement.       Now,

 10   remember now there's a second part.       If I can have the next                    10   we've seen that Pavemetrics caused the actions that lead to

 11   slide.    The second part of showing induced infringement is,                       11   that direct infringement.    Now, we're down to just one last

 12   well, we have to show that Pavemetrics actually did something                       12   element and that's the knowledge prong so let's turn to that.

 13   that caused AID to infringe that claim.       Well, we know they                    13                Now, remember, talking about willful blindness.

 14   did cause we have the receipts.                                                     14   That's our theory of the case.       That they willfully blinded

 15               We have the email back from Mr. Hafiz to the people                     15   themselves to the facts.    So let's take a look at just the

 16   at Pavemetrics saying hey, I've received the LRAIL.         This is                 16   facts.   I'm only gonna be talking about what's called direct

 17   the LRAIL that they purchased and that was delivered to them                        17   evidence.    The Judge instructed you on the difference between

 18   in February of 2021.    And they said confirming receipt of the                     18   direct and indirect evidence or circumstantial evidence so

 19   LRAIL.    Everything looks good.     We will start assembling the                   19   I'm only gonna be talking about direct evidence.

 20   LRAIL soon.    So what did Pavemetrics do?     They provided the                    20                What do we know directly?    We know they received

 21   LRAIL that was necessary to infringe the claim.                                     21   the notice letter on January 5, 2021.       That notice letter

 22               Had they not provided that LRAIL, had they not                          22   identified the '293 patent.       That's not the '557 patent.

 23   provided all the equipment that goes along with the LRAIL,                          23   That's the '293 patent.

 24   AID would not have been able to infringe the claim.                                 24                What else do we know?    We know that Mr. Habel,

 25   Therefore, this is a contribution, if you will, or an                               25   Mr. Laurent and Dr. Hebert, the three individuals from



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  1   Pavemetrics who heard from during this trial, they reviewed                          1   individuals at Pavemetrics see when they reviewed that

  2   that '293 patent in its entirety.       They reviewed it                             2   specification which is the exact same specification as the

  3   cover-to-cover; the pictures, the diagrams, the language in                          3   '557 patent?

  4   the specification and the claims.       They all testified to                        4                Let's take a look.    What they saw was an algorithm

  5   that.    They did this analysis so they could come to the                            5   and a whole bunch of description about a method called

  6   conclusion that they did which was they said hey, we don't                           6   removing rail heads.    You remember we've heard about this

  7   infringe this '293 patent.                                                           7   over the last few days.    This is a very important thing and

  8               What else do we know as a fact?     This is a fact.                      8   by the way, this is something they can't even find in the

  9   The '293 patent and the '557 patent share the same                                   9   prior art.    They couldn't find a single reference not one

 10   specification.   What do I mean by that?      They're two                           10   that has this algorithm that removes rail head.      They tried

 11   different patents, but they come from the same original                             11   and they couldn't.    They could not find a single reference in

 12   application and so specification, the description of the                            12   the prior art.    So we know this is something important.

 13   invention, all the words in the patent, the drawings, the                           13                We know this is something new that Tetra Tech was

 14   flow charts, all that stuff between the two patents, and I'm                        14   bringing to the table.    It was disclosed in Dr. Mesher's

 15   just gonna borrow from one of my favorite movies, identical.                        15   patents and it was disclosed in the specification which they

 16   They were identical.                                                                16   all read, they all read.    And they saw this algorithm for

 17               What else do we know?     The only difference between                   17   removing rail heads including Figure 9.      It has descriptions

 18   the patents was the claims.       So specifications are the same.                   18   of how it works and it even has pictures showing before and

 19   The claims are different.                                                           19   after.   Figure 10 has the rail heads.      Figure 11 the rail

 20               What else do we know?     So when they reviewed the                     20   heads have been removed.    So this was unmistakable.

 21   '293 patent, they were also reviewing the entire                                    21                You can't possibly read this patent especially if

 22   specification of the '557 patent because they're identical.                         22   you're somebody with knowledge like Mr. Laurent or Dr. Hebert

 23   They're identical.    So these are all facts.    These aren't                       23   who knows this industry.    They go to conferences constantly.

 24   inferences.    These are facts.                                                     24   They fly around the world.    Million miles and all that.

 25               So what did they see?     What did these three                          25   There's no way they could have read what you're looking at



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  1   here and not recognized that oh my goodness, Tetra Tech has                          1   the '293 patent.     They didn't take the 10 minutes it would

  2   this algorithm that removes rail heads.                                              2   have taken to go on the PTO website and see whether --

  3               What else do we know?   We know that the only people                     3                MS. LEA:     Objection, Your Honor.   This slide is

  4   in the world or at least outside of the confidential circle                          4   objectionable for what we discussed prior to the closing.

  5   of Pavemetrics who knew that Pavemetrics had an algorithm                            5                THE COURT:     Yeah, I did go through those materials

  6   that removed rail heads was Pavemetrics.      Mr. Laurent knew.                      6   and I think this is on the side of case that's okay.

  7   Dr. Hebert knew that their code, the one they had already                            7                You can go ahead.

  8   delivered to AID, the one that was on the verge of being used                        8                MR. BARNEY:     Thank you, Your Honor.

  9   by AID down there in New Jersey had this algorithm.       It had                     9                They didn't take the ten minutes.     You heard

 10   the removing rail head algorithm.                                                   10   Mr. Habel say yeah, I know how to do it.       I know how to go to

 11               What else did they learn from reading that                              11   the PTO website.     He'd done it before.    He used to be an

 12   specification?    Next slide.   The specification has columns                       12   intellectual property consultant for two to three years.           He

 13   upon columns upon columns describing how this algorithm works                       13   knew exactly how to go to that PTO website and take the ten

 14   and it's the four steps that we've already gone through.         And                14   minutes to search to see whether Tetra Tech might have

 15   the first step of that is removing the rail head data from                          15   actually filed another patent that claimed that algorithm.

 16   the elevation data.    Now, let's look and see what they did or                     16   They didn't do it.

 17   maybe I should ask what they didn't do.     What didn't they do?                    17                Apparently, didn't ask their attorneys cause we've

 18   And, again, these are facts.                                                        18   seen no evidence of that.       They didn't -- here's important.

 19               Picture yourself in January of 2021.     You're at                      19   They didn't delay shipment of that LRAIL system to AID.         It

 20   Pavemetrics.    You've just read this specification and you've                      20   would have been very easy for them to say hey, you know what?

 21   just seen that Tetra Tech has this remove algorithm, this                           21   We've seen this algorithm in their specification.        Maybe we

 22   remove rail head algorithm in their patent.       You ask yourself                  22   should think twice about sending that shipment down to

 23   what would a reasonable person do and ask yourself what did                         23   New Jersey because it might infringe another patent that

 24   they do.    They apparently didn't even ask themselves whether                      24   Tetra Tech has.     Didn't do that.

 25   removing rail head might be covered by some other patent in                         25                They didn't pick up the phone and call AID, their



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  1   customer, and say, hey, Hafiz, I'm sorry to tell you this,                           1   about it, Mr. Hafiz was surprised to get a subpoena.        He had

  2   but we think there might be a patent issue and would you                             2   never even heard of Tetra Tech which means Pavemetrics never

  3   please refrain from invoking or enabling that module that                            3   told AID about this lawsuit.

  4   detects the tie cracks because we want to make sure that we                          4                And the question at the bottom there:

  5   don't infringe first.    We want to make sure you don't                              5                "Q.   So you wanted to keep in the dark.

  6   infringe first.    We want to keep our customers safe.     They                      6                "A.   We -- we basically wanted to keep them out of

  7   didn't do any of that.    All right?   Didn't do any of that.                        7   this lawsuit."

  8               In fact, they did the opposite.    Have the next                         8                Ladies and gentlemen, what that means is they

  9   slide.    They kept their customer in the dark.    Now, just                         9   didn't care that AID was out there directly infringing our

 10   think about that for those of you who are business owners and                       10   patent.    They just wanted to keep them out of the lawsuit.

 11   have valued customers.    Their customers down there are                            11   You're allowed to bring that inference to the table.        That is

 12   unaware that this lawsuit was even going on.       Pavemetrics                      12   called circumstantial evidence.

 13   sued -- Pavemetrics initiated this lawsuit.       So Pavemetrics                    13                Next slide, please.     It's even worse because not

 14   certainly knew all about Tetra Tech's patents by the time                           14   only did they keep their customer in the dark, they went out

 15   they filed the lawsuit.                                                             15   of their way to prevent us, Tetra Tech from learning about

 16               By the time they filed the lawsuit on                                   16   their sale to AID.        Question -- this is Mr. Laurent's trial

 17   February 11th, they surely knew all about Tetra Tech's                              17   testimony.

 18   patents then.     It is inconceivable that by the time they                         18                "Q.   You -- you Pavemetrics --

 19   prepared a lawsuit against us, they hadn't at some point gone                       19                "A.   Yes.

 20   and checked the rest of our patents.     Inconceivable.                             20                "Q.   Wanted to keep Tetra Tech from learning about

 21               With a big, giant law firm like Knobbe, with                            21   your sale to AID in March of -- March 26, 2021?

 22   somebody like Mr. Re with his credentials, inconceivable that                       22                "A.   I would say that's a fair assessment."

 23   by the time they filed the lawsuit they didn't know about                           23                They kept their customer in the dark about the

 24   that '557 patent that was also in the same -- in the same                           24   patents.     They kept us in the dark about the infringing sale.

 25   family.    They didn't even tell their customer.    When asked                      25   Again, you can draw whatever inference you feel is reasonable



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  1   from that evidence.       Next slide, please.                                         1   2018 when they were putting these algorithms into their deep

  2                What else do we know?    Look at some of the evidence                    2   neural network.    A whole flurry of emails along the lines of

  3   that came in at trial and look at the demeanor of their                               3   hey, is it true that we can't infringe if we put it in the

  4   witnesses.    Look at Mr. Habel said when I asked him about                           4   neural network?

  5   that link that was provided by Mr. Fox-Ivey.         The link that                    5                Look at what Mr. Fox-Ivey says.    He's arguing in

  6   provided information about Dr. Mesher's patents.        This link                     6   one of the email chains that by the same token, you can argue

  7   was from 20 -- this link was a 2017 email so it was five                              7   that at one specific time the deep neural network

  8   years ago, but look what he says.                                                     8   configuration did infringe somebody's IP, but that moment

  9                "Q.   He provided a Google link that listed patents                      9   would be fleeting as the DNN configuration would subsequently

 10   that named as the inventor Darel Mesher.                                             10   change as the DNN learns.       Basically, we're a moving target.

 11                "A.   Yes.   I didn't click the link.                                   11   Not even their own executives believed that because

 12                "Q.   And you understand that to be Dr. Mesher, the                     12   Mr. Laurent responded if we get sued, it's your fault.

 13   Chief Technology Officer of Tetra Tech, TAS.                                         13                Now, they're gonna say oh, they were just worried

 14                "A.   Yes, and I didn't click the link."                                14   about this other company called GREX.       My question to you,

 15                "Q.   And so by the date of the email, Pavemetrics                      15   ladies and gentlemen, does it matter?       Does it matter who

 16   knew Dr. Mesher had patents; correct?                                                16   they were worried about?       This goes to their state of mind

 17                "A.   I said I didn't click that link."                                 17   and what type of company they are.

 18                You don't have to be a lawyer, you don't have to be                     18                They don't care about other people's intellectual

 19   a judge, you just have to be a human being who's had                                 19   property.    They only care about getting caught.     That's what

 20   relations and interactions with other human beings.         When                     20   you can infer from this email.       So ladies and gentlemen, on

 21   people act that way, it's a sign of a guilty conscience.                             21   the question of induced infringement in the jury verdict

 22   You're allowed to draw that inference.      The Judge has said                       22   form, we're gonna ask you to click yes.       We believe we proved

 23   you can use inferences from circumstantial evidence.                                 23   it by a preponderance of the evidence.

 24                Next slide, please.    Very similarly look at what                      24                Next slide, please.     The last thing I'm gonna

 25   was going on at Pavemetrics internally at the exact time in                          25   address before I sit down is willful infringement.       This



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  1   question asks, If you found that Pavemetrics infringed the                            1   willfully.    They knew they were infringing and they did not

  2   '293 patent or the '557 has Tetra Tech proven that it's more                          2   have a good faith basis for believing otherwise.       So we're

  3   likely than not that Pavemetrics, and listen to this                                  3   gonna ask you to check yes for willful infringement.

  4   carefully, actually knew, intentionally ignored or recklessly                         4                I have a few minutes left and I'm gonna reserve

  5   disregarded that its actions constituted infringement?         I                      5   time.    I'm gonna allow my colleague on the other side to

  6   think I've already shown you they did for the '557 patent.                            6   present their case, and then I'll have a chance to come back.

  7                For the '293 patent, what do we know?      They had                      7   But remember while they're presenting their case that their

  8   three employees of Pavemetrics that analyzed the patent.                              8   burden on invalidity is not 51 percent.       It's much higher

  9   None of whom are lawyers.      None of whom had patent                                9   than that.    They have prove it by clear and convincing

 10   experience.    None of whom are qualified to do the type of                          10   evidence.    So listen carefully to see whether they proved

 11   analysis you actually would need to do to see if there really                        11   that to you and I'll talk to you in about an hour.

 12   is infringement.     Only a qualified patent attorney can do                         12                THE COURT:    Thank you, Mr. Barney.

 13   that.   They admitted they don't have those qualifications.                          13                Counsel for Pavemetrics.

 14                There's no evidence that they reviewed the                              14                MS. LEA:     May it please the Court?

 15   prosecution history, for instance, which is important and you                        15                THE COURT:    Please.

 16   have to review when you're analyzing patents and there's no                          16                MS. LEA:     I too appreciate you all being here for

 17   evidence they did a proper claim construction.        So their                       17   this trial and taking time away.       And I'm sorry that you had

 18   analysis they did when they came to their conclusion they                            18   to do that for this dispute because this dispute is not even

 19   don't infringe is not worth basically anything.                                      19   close.    You don't need a scale to decide this dispute.        It is

 20                As a matter of fact, one of the people who did that                     20   so clear who was first here and who lead this industry and

 21   analysis, Mr. Habel, they kind of poked fun at him saying if                         21   who is developing this industry.

 22   he ever had to go to court in a patent case, he would                                22                I told you in my opening statement that the

 23   probably get discredited because his background is in                                23   evidence would show four things and the evidence has shown

 24   telecommunication instead of the particular technology that's                        24   each of those things.       It has shown without a doubt that

 25   at issue here.     So, again, you can infer from that they acted                     25   Pavemetrics was first to use 3D laser triangulation on both



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  1   roads and railroads not Tetra Tech.     Tetra Tech learned from                     1   are on old technology.    You will be instructed and you have

  2   Pavemetrics.                                                                        2   been instructed that the person of ordinary skill is presumed

  3              You heard Tetra Tech's, uh, inventor Dr. Mesher                          3   to know all of the prior art.     They're presumed to know all

  4   testify that he went to conferences, listened to John                               4   of Pavemetrics' work.    And so you will that to consider

  5   Laurent's presentations, took notes, and came back and then                         5   before you when you're deciding the obviousness question.

  6   presented to his customers about that.     You heard him laud                       6                Third, Pavemetrics uses artificial intelligence not

  7   the pioneering technology developed by Pavemetrics.      Who is                     7   the patented standard techniques.      Those techniques are the

  8   learning from who here?     And it's Tetra Tech learning from                       8   old gradient neighborhood, the old Sobel filters, the old

  9   Pavemetrics not the other way around.                                               9   Canny method.    Pavemetrics is using the new artificial

 10              Now, the patents in this suit are on old                                10   intelligence.

 11   technology.    Dr. Mesher testified that the gradient                              11                Mr. Barney talked about honorable.    He talked about

 12   neighborhood is a standard technique.     So when you start                        12   Tetra Tech being an honorable company, but this is not an

 13   listening to the experts, don't be confused between                                13   honest dispute.    Pavemetrics identifies features by using a

 14   Dr. Morellas and Dr. Frakes.    We can tell who knows more                         14   range image in a neural network.       That's what it does.

 15   about this technology and has analyzed the prior art and                           15   That's in fact what it's always done.

 16   compared it to the claims.                                                         16                But Tetra Tech isn't accusing Pavemetrics' use of a

 17              We're not talking about combining microwaves and                        17   range image in a neural network as infringing.      Instead, it

 18   frying pans here.   Okay?   We're talking about the same                           18   points to an R and D Mixed Image or it points to a Fake3D

 19   Pavemetrics' work from 2012 and '13 and '14, and its                               19   image that's not even in the code in the versions that were

 20   publications where you can see its algorithms in                                   20   sold to CSX with Sales 2, 3 and 4.

 21   publications.                                                                      21                There's nothing honorable about telling you what is

 22              Now, Pavemetrics didn't just sell a device to UML                       22   sold is not what is in the box.       Anyone who's been to Ikea or

 23   in 2012.   It also provided support.    It's that ongoing                          23   ordered something on Amazon knows what is sold is what you

 24   support that also shows that these patents are invalid.       So                   24   get in the box.    In this case it is unconnected components.

 25   the whole series from 2012 to 2014 that shows these patents                        25                There's nothing honorable about telling you that



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  1   LRAIL software is like spell check.     That you can just bring                     1   spike detection algorithm.

  2   up this little box and click on it and it'll suddenly do                            2                It's not using Fake3D.    It's even in the code for

  3   different things.   You heard from Dr. Hebert that the R and D                      3   these sales that are here, Sales 2, 3 and 4.      And it's not

  4   code, the Mixed Image, is protected by, uh, configuration                           4   using the test Mixed Image.     And both of those are not even

  5   files that only Pavemetrics knows about.                                            5   in their code any more.    They took them out in half a day,

  6              The customers don't even know about these Fake3D or                      6   had their software programmer take them out in half a day.

  7   mixed images.   No one knows about that.    All they know is                        7   Not there.

  8   that their product uses 3D triangulation.     That's what the                       8                Why are we here?   I mean, really why are you taking

  9   customers care about and the fact the product uses range                            9   time away from your family and your jobs to be here to decide

 10   images.                                                                            10   this really dishonest dispute?     Why?   Why are you here to

 11              Now, there's nothing honorable about telling you                        11   decide if some images Pavemetrics doesn't even use or never

 12   that an R and D test image like the Mixed Image is what's                          12   used infringe their patents?

 13   infringing.    There's nothing honorable about that.    No one                     13                Well, let's start talking about what the invention

 14   has used that image.    They've showed no configuration files                      14   could be.    So Dr. Mesher testified, and we'll look at it,

 15   that has ever been used or configured to be used.                                  15   that the gradient neighborhood is a standard technique.       It's

 16              There's nothing honorable about telling you to look                     16   standard.    It was used in the Sobel filter, the Canny method

 17   at a software version that was sold with systems in 2020 and                       17   so they had to find another hook for their invention.

 18   acting like they apply to systems sold in 2021.     Nothing                        18                And he decided that the hook would be appropriate

 19   honorable about that.                                                              19   cause that's a really great word that I don't even know

 20              There's nothing honorable about calling it a Fake3D                     20   totally what it means in this context, but apparently it

 21   algorithm or a Mixed Image algorithm.     These are algorithms                     21   means whatever Dr. Morellas is willing to say that day.       One

 22   to detect features.    So there's a fastener algorithm and                         22   day he says it means flexible, the next day it can be fixed.

 23   Pavemetrics uses a range image in a neural network in that                         23   He bounces around on that.

 24   fastener algorithm.    There's a spike detection algorithm.                        24                I'd also like to talk about why sales started

 25   Pavemetrics uses a range image in a neural network in that                         25   happening in 2020.    They made a big deal, Tetra Tech made a



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  1   big deal that Pavemetrics had a sale to UML in 2012, and then                         1   with their own vice president Mr. Keyes.         He has no technical

  2   its next sales were in 2020 and 2021.     Well, there's a reason                      2   or legal understanding of these patents whatsoever.

  3   for that.    There's a lot of reasons.   And one of the reasons                       3                You heard that with Mr. Larson.       He never mentioned

  4   is because Pavemetrics had done the leg work.                                         4   any patents in his email.       Remember Exhibit 178 I showed you

  5                It had done all of the research and development                          5   in my opening?       He never mentioned any patents in that email

  6   with the University of Massachusetts Lowell to prove its                              6   that Pavemetrics is a problem email when he emailed

  7   algorithm.    It had done the work with the FRA.     It had done                      7   Mr. Keyes.

  8   the work to test and find the best AI and had proven that                             8                Mr. Habel had never heard of the patent or the '293

  9   work also with the FRA.    We have here an FRA press release                          9   patent before the threat letter.

 10   from May 1, 2020 talking about how great the LRAIL system is.                        10                Brad Spencer, the customer at CSX, Tetra Tech never

 11                Something else happened around that time and that's                     11   mentioned its patents to him either.      You think if you had

 12   that the GREX patents were invalidated by Tetra Tech.        That,                   12   patents that could control the whole entire industry, oh, my

 13   ladies and gentlemen is Tetra Tech's biggest contribution to                         13   gosh.   Their patents prevents everyone from using a

 14   this industry.    That contribution opened up the industry and                       14   convolution neural network in their entire industry, I'd sure

 15   they did it with Pavemetrics' help.      They asked Pavemetrics                      15   be bragging about that if I had that patent.

 16   for help with prior art and showing that this was all done                           16                Mr. Olenoski, their own employee or consultant, he

 17   before and that's what happened.                                                     17   never heard of their patents.      And then John Laurent had

 18                The industry was scared of the GREX patents not                         18   never heard of them before the threat letter and neither had

 19   just Pavemetrics, not just Tetra Tech.     They sued Tetra Tech                      19   Dr. Hebert.     So again why are we here?

 20   and they were sending threatening letters to everyone.        Tetra                  20                I told you in my opening that we're here because

 21   Tech stood up to that bully and invalidated all five of those                        21   Tetra Tech is mad that they lost a sale to CSX.         And I

 22   patents for obviousness.    And then turned around and came                          22   believe we have proven that.       That's clear.    But in listening

 23   after Pavemetrics when they got upset about the sale.                                23   to Mr. Keyes and cross-examining him, it occurred to me that

 24                Tetra Tech's patents are an after thought.      You                     24   it's a little bit more than that.      He's not just mad.       Tetra

 25   heard that with every single witness in this case starting                           25   Tech is basically entitled cry babies.         They didn't get the



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  1   sale that they thought they were entitled to because they're                          1   the market.     They are going to set the tone for this market

  2   an $8 billion company and so they decided to take their ball                          2   by golly.    They're going to do it any way that they can.

  3   and go home.                                                                          3                They want the market to be selling $5 million

  4                Instead of just going to their bedroom and pouting,                      4   boxcars.     $5 million boxcars that's what they want the

  5   they decided -- he decided to look for some patents.         Patents                  5   customers to buy not $350,000 inspection systems.         No.    They

  6   he didn't know anything about to see if he could deal with                            6   want to increase prices.      They want inflation.     And what

  7   the problem, Pavemetrics.     And that's exactly how he dealt                         7   happens when prices are kept high like that?         Well, then it

  8   with it by turning patents on to Pavemetrics that no one had                          8   affects all of us.       All of us who ride trains, all of us who

  9   heard of before then.                                                                 9   buys products from Amazon, all of us because those prices

 10                Now, you think as a business person, he'd listen to                     10   will come back to us.

 11   the customer.    The customer's always right.     And Brad                           11                This is not what the patent system is meant to be.

 12   Spencer, you heard from him.     You heard him tell you the                          12   They are using our United States patent system that we all

 13   problems that he had with Tetra Tech's bids.       They did four                     13   created to promote science and the useful arts, they're using

 14   bids in the $4 million, then $5 million.                                             14   it to win in the market place and to control the tone of the

 15                Then I guess they started listening cause they                          15   market place.    That's not fair and it's not honorable.

 16   shaved like four percent off for number three after CSX had                          16                Okay.    That was just my introduction.

 17   repeatedly told them I don't have the budget.      You're too                        17                Let's talk about why Pavemetrics was first to use

 18   expensive.    I can't buy from you, but Tetra Tech didn't                            18   3D laser on roads and railroads.       Okay.    I showed you this

 19   listen.   They are entitled to that sale in their view.       They                   19   time line in opening and it's completely held up.

 20   want to own this market and they're going to use their                               20   Pavemetrics was founded.      It sold sensors to inspect

 21   patents to do it.                                                                    21   railroads way before Tetra Tech ever filed for these patents

 22                Now, this isn't just about CSX.    We're not here                       22   or even had, supposedly had a sale in 2015.

 23   because of three sales to CSX.     I mean, look at all these                         23                Pavemetrics pioneered the industry.       You know, you

 24   lawyers that they're paying for to be here about three sales                         24   can make a sale or you can grow an industry.         They grew an

 25   on CSX.   I don't think so.   This is about wanting to control                       25   industry and you do that by flying around the world and



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  1   talking about it and publishing on it, and doing research                          1   of LRAIL in Canada on a different hardware, software.

  2   with the FRA and NASA and everyone else that they did                              2                And they experimented with AI and they published on

  3   research with.    That's how you build an industry so it can                       3   it; Arema 2018, Arema 2019, Tokyo 2019.      They are sharing

  4   grow from everyone.                                                                4   their knowledge with the world.       They're working with the

  5                Tetra Tech didn't do that.   I just want to talk                      5   FRA, the United States government to make our roads better,

  6   about them so much, but let me talk about Pavemetrics first.                       6   our railroads better.

  7   So they sold three systems for rail in Europe to EuroConsult                       7                Then they -- we have -- word got out.      Pavemetrics'

  8   in 2010.     Then they sold to UML in 2012 because UML had a                       8   business model is not even to sell to major railroads.        Their

  9   research contract with the U.S. government and they supported                      9   business model was to sell the hi-rail truck to integrators.

 10   that.    They sent their programmers to those meetings.    They                   10   That was their business.      But when word gets out, it gets out

 11   disclosed their algorithms.    You don't even need the code.                      11   and CSX came calling.      They knocked on Pavemetrics' door and

 12   Those algorithms are in the meeting minutes and they're in                        12   they asked for a quote.       And like anyone would, Pavemetrics

 13   their publications.                                                               13   quoted them and was selected by CSX.      And boy, did that wake

 14                Then they had their publication in 2014.   That was                  14   up Tetra Tech because Pavemetrics got a threatening letter.

 15   a big deal.     EuroConsult published at the same time because                    15                And these guys, these are not some kind of hacks

 16   when they sold to EuroConsult, EuroConsult developed their                        16   that can't read a patent or that don't understand their own

 17   own software.    So we have two companies here developing the                     17   technology.    They read the '293 patent.    Dr. Hebert is a

 18   inspection software at the same time using Pavemetrics'                           18   programmer with extensive degrees.       So is Mr. Laurent.   They

 19   sensors and publishing on it.    Where's Tetra Tech's                             19   read these patents and they compared it to their technology

 20   publication?                                                                      20   and they knew they did not infringe the '293 patent.

 21                Now, as soon as the computers were available and                     21                Now, like I had mentioned, they published on their

 22   the knowledge became available, Pavemetrics started                               22   algorithm.    This is one of their algorithms.      This is the

 23   experimenting with artificial intelligence and neural                             23   Canny method.    I already mentioned this and so I will move

 24   networks.    And just like they always have with everything                       24   on, but that performs the gradient neighborhood technique.

 25   else, they published on it.    They ran an experiment outside                     25   They published on LRAIL at the TRB 2014.



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  1                We've heard lot about Fake3D and whether it's, um,                    1   You couldn't take that data and calculate height

  2   the track elevation map under the claim or not, whether it                         2   differentials.       You couldn't calculate gradients with it.

  3   has intensity and range.    And I just want to clear that up                       3   That's why it doesn't work for these claims.        But if you

  4   for you.     First of all, there's only three choices here;                        4   think it does, Pavemetrics had it back then.

  5   right?    You're either using an intensity image, you're using                     5                Okay.    So, again, LRAIL was publicly marketed in

  6   a range image, that's what Pavemetrics actually does, or in                        6   2014.   This is, um, this is Rob Olenoski who back then was at

  7   this case you're using a merged image, an image that has                           7   ICC, an integrator that bought from Pavemetrics, sending to

  8   both.                                                                              8   Darel Mesher in October 2014 an LRAIL inspection flyer.          They

  9                So when there's only three choices, you can see                       9   made flyers.    They made brochures.     They wanted the world to

 10   this in the jury instructions, when there's a limited number                      10   know that they had launched a product.      They had LRAIL before

 11   of choices, it might use a fancy word like finite number of                       11   these patents issued of course.       You can see those flyers

 12   choices, it can be obvious to try them all and see which one                      12   that Darel Mesher had.

 13   works best.     That's what any reasonable person would do.                       13                So this is the testimony where he said that he

 14                But in this case, the 3D merged image in that                        14   listened to Mr. Laurent at conferences, took concise notes,

 15   language they like to show you from our manual, I showed it                       15   and then went back and presented on them.

 16   to you, too during the witness testimony.     It's the same                       16                Who is learning from who?

 17   language from 2021 as it was back in 2012 when the device was                     17                Okay.    This slide is similar to one that Mr. Barney

 18   sold to UML.    The 3D merged image is the Fake3D image.     That                 18   showed you during opening statements.       He has, uh, four time

 19   image is an intensity image that then shadows are placed on                       19   points he talked about.       One was when they filed the patents

 20   the image using range data.     So it is made using both                          20   in February 2015, and then he says Tetra Tech launched 3DTAS

 21   intensity and range image.                                                        21   for rail inspection.       Why do you think he uses the word like

 22                And that's why Dr. Frakes said well, you might --                    22   launch instead of sold?

 23   you might think that's a representation of both intensity and                     23                I mean, was there a launch party?      Did you hear

 24   elevation.    He doesn't think so.   Pavemetrics doesn't think                    24   about a launch party?      Did you hear about any marketing

 25   so because it doesn't actually have elevation data in it.                         25   materials?    Did you hear about any publications?      Did you



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  1   hear about any of this being sent out to the world?       Think                         1   knew about them all along.      And we should have somehow known

  2   about when Amazon launches Echo.     It is a big show; right?                           2   about their patents and we should have been aware.         And we

  3   Not here.                                                                               3   should have stayed out of their -- their playing field.

  4               This was a private development with Canadian                                4                We didn't know.    They were our customer.    They were

  5   National.   They had a development contract with them for five                          5   our valued customer and they had been since 2012.         They

  6   units and it was confidential.     No one knew what they were                           6   purchased from us in 2012, 2017, and every single year

  7   doing and they didn't want anyone to know.       It wasn't on                           7   software and raw data.

  8   their website.    There were no papers, no speeches, no                                 8                Okay.   Moving on to Tetra Tech's patents are old

  9   nothing.                                                                                9   technology.     There is nothing about their patents that's new.

 10               Then around April 2020, Tetra Tech starts to put                           10   The word appropriate doesn't give them anything new on their

 11   its toe in the water and begins negotiations with CSX.          He                     11   patents.     And your jury instructions will also use a pair of

 12   says to sell 3DTAS.    I forgot to cross that out.     He was                          12   words several times that you can use common sense when

 13   actually selling RailAI, their boxcar that's 5 million bucks.                          13   evaluating these patents, common sense.

 14   And then only after sending us a notice letter, does Tetra                             14                Common sense tells you that these patents are on

 15   Tech even start building. . .     Oh, even after the lawsuit.                          15   old technology.      They do not mention machine learning, deep

 16               I'm being corrected on the dates here.     So they                         16   learning, convolutional neural networks, neural networks,

 17   filed the lawsuit February 2021.     After the lawsuit that's                          17   none of that.    To tell the public -- remember this is, uh,

 18   when Tetra Tech builds their website on RailAI.       That's the                       18   the patent is like a contract with the public; right?

 19   first time.   If you were launching a product, wouldn't you at                         19                You get the patent because you published about your

 20   least have a website?    They're an $8 billion company.     They                       20   invention.    You have to tell the world what your invention is

 21   can handle a website.    And then, of course, he left off how                          21   in your patent, and then you get the right to exclude others

 22   they'd been our customer for ten years.                                                22   on it for a period of time.       That's the contract with the

 23               You know why he used the word launch?      He wanted                       23   government.

 24   you to think we knew about it.     He wanted you to think                              24                But in this case, let's see, the Patent Office had

 25   everyone knew about 3DTAS.     He wanted you to believe that we                        25   no information on LRAIL.       And Dr. Mesher was asked:



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  1               "Q.   You've been a patentee many times.    Do you                          1   you do Computer Vision.

  2   understand that the Patent Office did not have any                                      2                So all of the asserted claims in this case are

  3   information about LRAIL when examining your two patents?                                3   obvious in view of Pavemetrics' early work on the UML sale

  4               "A.   Correct."                                                             4   and support that was provided and the UML-TRB2014 paper

  5               The Patent Office didn't know.     You all are the                          5   either alone, you do obviousness by looking at them alone, or

  6   first to decided whether these patents or invalid or obvious                            6   combining them with the EuroConsult paper that was, um, also

  7   in view of Pavemetrics' own work.       That's for you to decide.                       7   done on Pavemetrics' devices.      And those invalidate Claims 1

  8   It was not decided by the Patent Office because they did not                            8   and 21 of the '293 patent.      And then also Claim 21 is also

  9   know.   They didn't have it.    There is no dispute about that.                         9   invalid when you consider Gibert-Serra and, of course,

 10   And your jury instructions will even tell you that you can                             10   Claim 8 is invalid as obvious as well.

 11   consider the fact that the Patent Office did not have this                             11                Now, I also want to point out, and you can see this

 12   prior art when making your obviousness determination.                                  12   in your jury instructions, the code, the source code for the

 13               You also heard the file histories for the patents                          13   UML sale and support does not have to be public when it's

 14   being admitted this morning into evidence.       And that is so                        14   sold.   It does not.     So when that device was sold, you have

 15   you can look at those file histories and you can see there's                           15   to ask yourself what is out there?       What was available?     What

 16   nothing about LRAIL or Pavemetrics in there.                                           16   was created during that project?       And remember, it doesn't

 17               Now, here is where Dr. Mesher admitted that                                17   really matter because the algorithms were published.         They're

 18   gradient neighborhoods are standard techniques.                                        18   in the presentations, they're in the meeting minutes.

 19               "Q.   I was just asking you if you recognize that                          19                So on your verdict form, we would ask that you

 20   using a 2D gradient methodology for moving around inside your                          20   check yes that Claims 1 and 2 (sic) and 21 of the '293 patent

 21   elevation map of sliding window in order to measure height                             21   are invalid and that Claim 8 of the '557 patent is invalid.

 22   changes, gradients, is a fairly standard technique.                                    22   The crack detection that Pavemetrics did back then is very

 23               "A.   Yes, course it is."                                                  23   similar to what they are accusing of infringes and, of

 24               It's the Sobel filter, it's the Canny method.                              24   course, these patents would have been obvious in view of that

 25   Dr. Hebert said it's one of the first things you learn when                            25   work.



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  1                Okay.    So let's talk about how Pavemetrics uses                          1   YOLO, You Only Look Once made by DarkNet and Pavemetrics uses

  2   artificial intelligence and not the patents.          Again, these                      2   TensorFlow from Google.        And you heard all about how

  3   patents are not on artificial intelligence.          I know you now                     3   TensorFlow works from Dr. Frakes, a former Google programmer.

  4   that by now.       We asked Dr. Mesher                                                  4                Now, let's talk about the expert.      Dr. Morellas did

  5                "Q.     Can you show me anywhere in your patent where                      5   not look once, he did not look at anything.        He didn't look

  6   it mentions any of these types of artificial intelligence                               6   at Tetra Tech's neural network.       He didn't look at

  7   techniques?"                                                                            7   Pavemetrics' neural network.       He didn't look at Pavemetrics'

  8                "A.    Uh, it doesn't exist.   It's not in the                             8   configuration files.        He just didn't look.   He doesn't want

  9   patents."                                                                               9   to look because he doesn't want to see what's there; right?

 10                "Q.    So isn't it simple to say that convolution                         10                He wants to be very focused and pretend that we're

 11   neural networks is not in your 2015?                                                   11   talking about Fake3D even though that's not in the code and

 12                "A.    Yes, that's true."                                                 12   we're talking about Mixed Image even though that's a test

 13                But yet here they are trying to extend their patent                       13   image, and, of course, you know, whatever we need to say that

 14   monopoly to cover, you heard it from their expert, all                                 14   appropriate means and does that's what we're gonna do so we

 15   convolution neural networks.       It doesn't matter if we use                         15   can say convolutional neural networks in French.

 16   DeepCNet which we don't.       Doesn't matter that we use                              16                All right.     So there are many reasons why LRAIL

 17   TensorFlow.     Doesn't matter which one we use, if it's a                             17   does not infringe Claims 1 and 21 of the '293 patent, but I'm

 18   convolutional neural network, all of these publicly available                          18   going to focus on four of those.        You heard Dr. Frakes

 19   by the way, uh, it doesn't matter.       It infringes in their                         19   testify about these.        You heard Mr. Laurent testify about the

 20   view.   That's it.                                                                     20   underlying facts and Dr. Hebert testify about the underlying

 21                They are trying to keep the entire industry from                          21   facts as well.

 22   using AI so that they can be the only ones to use AI when                              22                And so first, like I told you, LRAIL uses range

 23   they didn't invent AI.       They didn't invent AI for a railroad.                     23   image not a Mixed Image.       It is set, you saw it, it's set to

 24   They didn't invent the convolutional neural network.          And,                     24   the zero.     That is for range image.     That is their default

 25   again, those neural networks are public.         Tetra Tech uses                       25   image.     It is what they use.    The Mixed Image was a test



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  1   image and it was never configured for a customer.         The                           1                Those are the only acts they selected.       I don't

  2   customers don't know about it.       It's a secret, hidden                              2   know why they did that.        Maybe they have good reasons for

  3   parameter that is only known at Pavemetrics.                                            3   doing that.     I'm not sure, but those are the acts that they

  4                There's no, uh, spell check box to check.       There's                    4   selected.     And so you would have to look at what was actually

  5   no -- no box for the customer to check.       I can't even believe                      5   offered for sale and what was actually sold.

  6   they even suggested that this is similar to showing up in                               6                There's no details in those offers with respect to

  7   Microsoft Word and just clicking on spell check.         This is not                    7   these claims.     The offer, the quote doesn't say oh, use a

  8   like that.     You would have to actually type in a hidden                              8   gradient neighborhood and slide it over.        There's no details

  9   parameter that would then tell the configuration file to                                9   like that.     That offer doesn't have any infringement in it.

 10   change that zero in the source code, to change it to another                           10   You're just looking to the actual sale.       Same thing with the

 11   number.   Fake3D not even in the relevant code.                                        11   invoice.     No details about these claim limitations.       So

 12                Number two.     The LRAIL algorithm doesn't define an                     12   you're looking to actually what was sold and what was sold is

 13   appropriate gradient neighborhood and move it like a sliding                           13   in a box.     It just is.

 14   window.   There was a lot of reasons why it doesn't do this.                           14                And you know when you go to Ikea and you buy a box

 15   We have the stride.       The sliding window has to slide                              15   that has a table in it that you have to put together, you

 16   completely.     So it's not sliding completely because we're                           16   bought those components in there.       And you might go home and

 17   skipping every other group; right?       So not only does it skip                      17   you might put them together and maybe someone could accuse

 18   a pixel, it skipping a group of calculations there.                                    18   you of infringing by making, but that -- the sale is not what

 19                Now, I want to talk about number 3, sales of                              19   can infringe.     Even if later you hired Ikea to put it

 20   disconnected components.       Actual devices.   You don't actually                    20   together for you, the sale did not infringe.        Even if you

 21   look at just the device and say does this device infringe?                             21   hired someone else to put it together for you, the sale does

 22   That's not the way infringement works.       You have to have acts                     22   not infringe.     We look at what was sold, what was delivered.

 23   by people that are accused of infringing.        And in this case,                     23                Now, Fake3D I've already talked about it.       It's a

 24   Tetra Tech selected those acts to be Pavemetrics offering for                          24   track elevation in our view because it doesn't have elevation

 25   sale or selling.                                                                       25   data in it; right?     So you actually have to calculate



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  1   gradients.    You have to calculate gradients and you need                          1   there and rewrite that zero to be a different number or you'd

  2   elevation data to do that.      That's what the claim says and                      2   have to use a configuration file that tells it to rewrite the

  3   there's no elevation data to calculate gradients over it.                           3   zero to be a different number.     And you'd have to know, you'd

  4                Now, whether you think it's a track elevation map                      4   have to know that the test image is in there, and then you'd

  5   because it is built using intensity and range, okay, but it                         5   have to know how to write that configuration file.

  6   still doesn't have the elevation data in it with which to                           6               There's no evidence that any customer knew anything

  7   calculate the gradient or the differential vertical                                 7   about Mixed Image.    No evidence that CSX knew about it.     In

  8   measurements so there can be no infringement.                                       8   fact, Brad Spencer, you heard from him.      He told you I don't

  9                And Dr. Frakes laid out all of his opinions about                      9   know how the software works.     It's a black box to me.     It's

 10   infringement.    You can see that he is clearly an expert in                       10   magic.    That's what Pavemetrics does.    That's not what he

 11   this field, but not only in this field, he's an expert in                          11   does at CSX so he doesn't know.     He knows nothing about Mixed

 12   TensorFlow the actual neural network that Pavemetrics uses.                        12   Image and there's no evidence that he does.

 13   He lead about two dozen programmers at Google and he used                          13               And if he doesn't know about it, he can't know how

 14   TensorFlow when he was at Google so he knows it well.                              14   to rewrite the code, he can't know how to change the

 15                I for one am really happy that Dr. Frakes' football                   15   configuration file.    It's not a box.    This is not Microsoft

 16   career did not work out.      I'm glad that he went on to do so                    16   Word spell check.    Okay?   You would have to know.    You'd have

 17   much schooling and work at Apple and work at Google and be                         17   to have the code to change the configuration file.

 18   able to share here with you why Pavemetrics does not                               18               And then top of that, you'd have to have the neural

 19   infringe.                                                                          19   network actually trained on that image; right?      It's a

 20                We can actually look at the evidence here.   This is                  20   different image.    It's not the range image.     It's a different

 21   the relevant code, Code 480.      And this is the one that shows                   21   image, a Mixed Image.    And these neural networks that are

 22   you the first zero.      That is the zero that's telling the                       22   provided to the customers have been trained back in Canada by

 23   algorithm what to do.      So it's telling it to use a range                       23   the way, um, have been trained on range images.

 24   image.   That's the default.     That's how the code is written.                   24               That's what they're trained to recognize.      So it's

 25                To change that you would actually have to go in                       25   not going to recognize features in a Mixed Image.       So to do



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  1   that, you'd have to train a whole neural network on a Mixed                         1   that are before the notice letter in January.      So those sales

  2   Image.   And Pavemetrics has not done that and certainly                            2   are not at issue in this case.     Sale A not at issue, not for

  3   hasn't provided one to a customer.                                                  3   consideration.

  4                Okay.   So this is the time line about the sales.                      4               And the reason Tetra Tech likes that version is

  5   So we show in here that the sales were invoiced in                                  5   because that version had Fake3D as a backup option in it.        So

  6   April 2021, and, of course, there was a quote before this.                          6   it has a range image and then it had the Fake3D.       And so they

  7   Tetra Tech shows you that.      It doesn't change anything other                    7   want to pull that into the sales in '20 and '21 because they

  8   than it very clearly said that the software sold is licensed                        8   want you to consider Fake3D, but Fake3D is not in the version

  9   only for the sensors that it is provided with.                                      9   sold with Sales 2 and 3 in 2021 so it should not be

 10                Now, that hardware was shipped around August 2021                     10   considered.

 11   for Sales 2, 3 and 4.      And then it was installed the next                      11               Again, Dr. Morellas, his entire presentation is on

 12   month on Sales 2 and 3.      And you heard testimony that Sale 4                   12   10323, the version sold with Sale A in 2020.       No evidence

 13   wasn't even installed.      CSX wasn't ready to install it.    It                  13   whatsoever that that version was ever licensed for Sales 2, 3

 14   was having some supply problems with -- with a power supply                        14   or 4 or ever used with Sales 2, 3 or 4 or even sold with

 15   for its -- it's building a boxcar, um, so it's having supply                       15   Sales 2, 3 and 4.    It was sold back in 2020.     It wasn't sold

 16   problems and it wasn't ready to do Sale 4.                                         16   again in 2021.

 17                So then a few months later, when it was ready for                     17               Now, Dr. Morellas, relied on the wrong neural

 18   Sales 2 and 3 to have the software, Pavemetrics provided                           18   network.    He relied, instead of looking at our neural

 19   software and licensed it for Sales 2 and 3, Software 480.                          19   network, and by the way, it was on a special computer at my

 20   That's the software that uses range in the neural network and                      20   office.    He was welcome to come look at it any time he wanted

 21   it has R and D Mixed Image in there that no customer has --                        21   to.   Um, and he looked at a paper.    He looked at our paper on

 22   even knows how to access or knows is there.                                        22   our experimental development of artificial intelligence.         So

 23                Okay.   So, again, I'm showing you and reminding you                  23   he looked at the Tokyo 2019 paper and said ah ha, you have

 24   of the evidence that we walked through on Sale A to show that                      24   DeepCNet.

 25   the 10323 version of source code was sold with the 2020 sales                      25               He still didn't tell us why DeepCNet infringes,



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  1   other than, you know, in his view any convolutional neural                            1   it's flexible, but he didn't recognize how much Dr. Frakes

  2   network would infringe these patents that have nothing to do                          2   knew about TensorFlow and knew that is fixed also.

  3   with AI because Tetra Tech is entitled to have their patents                          3                Okay.   This is the way it is.    I know it might seem

  4   be read as broadly as possible and cover the industry.                                4   a little funny to you guys, but they are telling us that it's

  5                Okay.    Stride is equal to two.   I think you guys                      5   the sale that is the act of infringement.       They chose that

  6   know that means it skips pixels.       I won't talk about that any                    6   act.    There's other acts that they could have chosen and they

  7   more.                                                                                 7   chose sale and offer for sale.      And here what is sold is

  8                All right.    So what is the invention still?   What                     8   sensors in a very special box.      They call it a carrying case

  9   is the invention?       If gradient neighborhoods are standard                        9   and there's no processor even in that box.

 10   techniques and, you know, there's only three choices for                             10                And these claims that by the way, Tetra Tech

 11   images.   You're either using an intensity image, a range                            11   controls what its claims say; right?      They wrote the claims.

 12   image or one that combines them, what is the invention?                              12   So they wrote the claims to say that the sensor must be in

 13                And they find their invention in the word                               13   communication with the processor.      And when a patent attorney

 14   appropriate.    The gradient neighborhood has to be                                  14   writes a claim like that, they know it's going to take an

 15   appropriate.    And we heard from Dr. Morellas that that means                       15   actual assembled system to -- to meet that claim limitation

 16   it needs to be flexible to encompass different sizes.        So we                   16   and something in a box is going to meet that claim

 17   are told, though, by Dr. Frakes that the TensorFlow                                  17   limitation.

 18   convolutional neural networks are not flexible.       They are                       18                So here we have sensors in a box not communicating

 19   fixed.    So they do not meet even Dr. Morellas' definition of                       19   with anything, let alone a processor server.        And you can see

 20   appropriate gradient neighborhood.                                                   20   the left and the right sensor with no cable connected.

 21                Why do you think he added that requirement of                           21   That's what their expert actually cited for his evidence as

 22   flexible?    Well, he thought it would be a way to distinguish                       22   meeting this claim limitation.      But we don't get to look down

 23   the prior art.       So he thought I'm going to say it's flexible                    23   the line.

 24   so then it won't be a Sobel filter and it won't be a Canny                           24                You know, Mr. Barney makes fun of me for looking at

 25   method because those are fixed, too.       Instead, I'm gonna say                    25   when the boxes shipped after the sale.        He wants to look at



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  1   when the assembly happens way after that, months after that.                          1   case is they've said, well, AI does that.       And Pavemetrics

  2   That's what he wants to look at and that is not what you look                         2   you are the one responsible for that because you've -- you've

  3   at.   It's not an honorable argument.      You look at what was                       3   sold them the LRAIL and you've told them to use it.

  4   sold and what was sold it what's in the box.                                          4                Well, in order to indirectly infringe a patent, and

  5                And I will tell you, too when the processor is                           5   you'll see this in your jury instructions and you heard it,

  6   provided and you know in the case of CSX, there's no software                         6   you have to actually believe that what your customer will do

  7   on it.    These claims require a processor configured to run an                       7   is an infringement.      So you have to know about the patent and

  8   algorithm.    The software has to actually be on the processor.                       8   I don't mean just the specifications.

  9   In this case at the time of the sale because that's the act                           9                There can be a lot of things disclosed in

 10   of infringement they picked and here was the effects.        You                     10   specifications.      That's one way to get things to the public

 11   know from our time line that the software was added two                              11   is to disclose things in your specifications and not claim

 12   months after CSX had the processors so there can be no direct                        12   them.   That happens all the time.     In this case what they did

 13   infringement.                                                                        13   is they kept a continuation pending and they got additional

 14                And so we would ask that you check no for direct                        14   claims on the same specifications in a later patent.         A

 15   infringement of Claim 1 and no for direct infringement of                            15   patent that did not issue until 2020 and a patent that they

 16   Claim 21.    And there you can see it's right in the question.                       16   did not tell us about until July of 2021.

 17   Did Tetra Tech prove that Pavemetrics infringed by selling or                        17                So you have these attorneys writing to my client

 18   offering to sell?       They picked those acts of infringement not                   18   Pavemetrics on January 5, 2021 and accusing them of

 19   us.                                                                                  19   infringing the '293 patent, Tetra Tech's patents.       Tetra Tech

 20                Okay.    I'd also like to talk about these                              20   knows its patent portfolio.      It didn't raise any other

 21   allegations indirect infringement so we're on Claim 8 of the                         21   patents with Pavemetrics.      It only raised the '293 and it did

 22   '557 patent.    That's the claim where they agree that                               22   so after the sale to AID, by the way.

 23   Pavemetrics doesn't actually perform that claim.       We don't                      23                And then it wasn't until about six months later

 24   perform the method of crack detection; right?       Pavemetrics                      24   that Tetra Tech raised the '557 patents after this lawsuit

 25   isn't running the LRAIL.      And so what they've done in this                       25   was filed.    So by then they're not even allowed to talk to my



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  1   clients.   They emailed us.   They emailed the attorneys in                         1   Hebert, and they do understand the patents and they can tell

  2   July of 2021 and said you also -- we also believe you're                            2   you why they don't infringe as they have done in this case.

  3   infringing the '557 patent.    And we, of course, immediately                       3                So even if Pavemetrics had known about the '577

  4   responded to that in this lawsuit.                                                  4   patent and even if they had subjectively believed that LRAIL

  5              Mr. Habel testified that Pavemetrics was always                          5   could infringe, using it could infringe, which they did not.

  6   confident that they did not infringe those two patents and                          6   There is still no induced infringement because the use of

  7   you were here for that testimony.                                                   7   LRAIL doesn't infringe.

  8              Okay.    So Sale 1 to AID happened long before                           8                If you look at the claim in Claim 8, it requires a

  9   Pavemetrics knew about these patents.     It was sold on                            9   whole bunch of inputs.      A lot of inputs that are not needed

 10   December 23rd, 2020.     No dispute about that.    The sensors                     10   to run that claim.       And we've pointed here to a few of those

 11   were shipped on January 4th, 2021.     That's the day before                       11   that Pavemetrics does not use.       It does not input detected

 12   Pavemetrics received the first threatening letter on                               12   tie bounding box data.      That has actually to be a box and

 13   January 5th, and then the processor was shipped on                                 13   yeah, it's true the ties are kinda shaped -- are shaped like

 14   February 12th.     It wasn't until July of 2021 that Tetra Tech                    14   a rectangular, but remember what Dr. Hebert said.

 15   sent a letter naming the '557 patent.                                              15                He said the ties they're inspecting aren't new.

 16              And the supposed use by AID that he showed you, the                     16   Right?   They might have some ballast, some rocks on them,

 17   date, I wrote it down, it was Slide 25.     That XML file was                      17   they might have some shifting away so they're not exactly

 18   dated April 13, 2021.    Well, before July 2021 and any notice                     18   rectangle.    So that's why Pavemetrics uses a map so they can

 19   of these patents or any knowledge of these patents of the                          19   make sure they -- they encompass that entire, um, the entire

 20   '557 patent.   So we had to have knowledge of the patent which                     20   area of the rail.       If they limit it to a box, they would

 21   we didn't have until July 2021 and then you have to actually                       21   probably miss some.

 22   believe, subjectively believe that you infringe.                                   22                Okay.    No inputting the rail base edge feature

 23              And it doesn't matter whether you were educated in                      23   coordinates.       Dr. Frakes explained that.   He also explained

 24   the patent or not.     It's about your subjective belief.    Just                  24   no comparing ties in the elevation data with a tie surface

 25   so happens these guys are very technical, Mr. Laurent and Dr.                      25   plane model.       So any one of these reasons including that



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  1   Pavemetrics did not believe it infringed Claim 8 results in a                       1                "Q.    And hiring Bill Larson gave you access to more

  2   no infringement verdict.    Check no on Question 2.                                 2   information about CSX and Pavemetrics' LRAIL; correct?

  3              And finally, let's talk about what prompted this                         3                "A. Yes, I think he was able to, uh, provide

  4   dispute.   Well, we know, we know that Pavemetrics is a                             4   insights with respect to CSX's understanding of the

  5   problem in Tetra Tech's view.    This was October 2020, around                      5   marketplace."

  6   the time that Mr. Keyes decided to go and look for patents.                         6                He wanted insights so he hired Bill Larson and he

  7   He received an email from Bill Larson who told him right                            7   started collecting information on Pavemetrics.

  8   upfront, no uncertain terms that Pavemetrics is a problem.                          8                Now, this is Rob Olenoski.    Remember, he's the

  9              And you heard Mr. Keyes testify that because                             9   Tetra Tech consultant that requested a quote from Pavemetrics

 10   Pavemetrics, uh, because CSX purchased from Pavemetrics,                           10   for an LRAIL.       Remember, Tetra Tech was the long-time

 11   Tetra Tech's Business Unit didn't make its plan for that                           11   customer of Pavemetrics on road inspection and here they are

 12   quarter.   So he's annoyed that they did not make their plan                       12   asking about rail inspection so Pavemetrics is excited.

 13   for that quarter.     And he's told here by Bill Larson why                        13   Here's like another customer.      And so they sent them a quote.

 14   Pavemetrics is a problem.     They're a low cost solution.    They                 14   They let them come look at their unit.

 15   have conducted a successful trial with the FRA.       Pavemetrics                  15                And here we have the email and I love this email.

 16   has done the work that Tetra Tech did not do.                                      16   It's one of my favorite emails in the case, Exhibit 189

 17              And their other big problem was their development                       17   because it gives us so much information in the very first

 18   deal with Canadian National.     Canadian National was paying                      18   sentence he has some questions.       I see the software will only

 19   for that development and did not want their data released.                         19   work with the sensors that come with the unit.       That's

 20   No photos, no data especially not to a competitor like CSX.                        20   exactly our point here on noninfringement; right?

 21   So Tetra Tech just did not have the proven data that it                            21                So the 10323 software that only works with the

 22   needed to get the customer.                                                        22   sensors it was sold with in 2020 Sale A, not gonna work with

 23              Well, you saw throughout that summer, Tetra Tech                        23   Sales 2, 3, 4.       Not available like they're saying in this

 24   was looking for information on Pavemetrics.       And here you                     24   case and Tetra Tech knew it back in June of 2020.

 25   have Gary Keyes saying:                                                            25                Number two, if Tetra Tech needed multiple systems,



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  1   would Pavemetrics do anything for a discount?        Right?   Like                     1               Even after the lawsuit was filed, Tetra Tech is

  2   music to John's ears, music to Mr. Laurent's ears.        They want                    2   collecting information on Pavemetrics.     It gets a lot of the

  3   to buy multiple systems.         I hope he was really wanting to buy                   3   information through discovery in this case and it sought to

  4   multiple systems and wasn't just digging up whatever discount                          4   depose the customers.     It sent subpoenas to its customers, to

  5   Pavemetrics was offering CSX for the five systems it was                               5   Pavemetrics' customers.      It subpoenaed CSX.    CSX tried to

  6   buying.   I'm not sure, but I will maybe give them the benefit                         6   fight that subpoena unsuccessfully and they were subpoenaed

  7   of the doubt here.                                                                     7   to testify.

  8               Mr. Laurent, viewing them as a customer, says of                           8               This is not a way to win friends and influence

  9   course, come on over and so they showed up.        Rob Olenoski                        9   people.    Tetra Tech still talks about getting CSX's business

 10   showed up to see LRAIL the day it was delivered to CSX.          And                  10   after the subpoenaing CSX in this case to testify.        They also

 11   he took photos of it and he sent those photos to Gary Keyes                           11   subpoenaed AID.    They even tried to depose the potential

 12   in the corporate office.                                                              12   acquirer of Pavemetrics.     They filed one motion to compel in

 13               Why did he send, I think it was about five and six                        13   this case and it was to find out the name --

 14   emails you heard in his deposition?         He sent the quote, he                     14               THE COURT:    Counsel, counsel, counsel.    Side bar,

 15   sent the photos, he sent every single piece of information he                         15   please.

 16   had about Pavemetrics to Gary Keyes in the head office.          And                  16             (Following proceedings were held at side bar:)

 17   we asked him why he did that and he said for informational                            17               THE COURT:    Can you tell me why we're talking about

 18   purposes.   And that's all he said over and over again for                            18   discovery and these subpoenas being sent to other parties?

 19   informational purposes.                                                               19   That's not evidence in this case.      It goes against everything

 20               Tetra Tech was collecting information on                                  20   we talked about in the motions in liminae.        I don't want to

 21   Pavemetrics and it didn't stop.         You know, we keep asking why                  21   talk about litigation proceedings.      It's completely improper.

 22   we're here.    We're here today on three sales to CSX.        Is that                 22   I was trying to not object during your closing, but at some

 23   really why you're being taken away from your friends and                              23   point it gets ridiculous.

 24   family for three sales, damages on three sales even if they                           24               The other thing is the fact that you have code the

 25   were infringement?     I'm not so sure that's why we're here.                         25   expert didn't review, that's violating one of the things we



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  1   talked about in the motion in liminae.        This whole thing                         1   the sale to Tetra Tech regardless of Pavemetrics and whether

  2   about the subpoenas to customers, Mr. Barney, do you have                              2   it was practicing their patents or not.

  3   anything to add?                                                                       3               Now, we saw this slide already.       Pavemetrics always

  4               MR. BARNEY:     I also feel same way, but I was taught                     4   believed that it did not infringe these patents.        It was very

  5   the last thing you should do is object during closing.                                 5   careful about these patents.      Immediately responded to, uh,

  6               THE COURT:    I can do curative instruction or not                         6   Mr. Parker's letter.      You heard Mr. Habel testify about that.

  7   say anything about it.      I'll leave it up to you.                                   7   He always responded in the time set by Mr. Parker.        He

  8               MR. BARNEY:     I would appreciate a curative                              8   immediately hired counsel and filed this lawsuit.        I believe

  9   instruction.                                                                           9   they said it was within 11 days of the letter.

 10               THE COURT:    This isn't that case.                                       10               Now, Pavemetrics brought this lawsuit to stop the

 11               What about the expert's review of this source code?                       11   bullying.    Here we have an email from Mr. Habel to at the a

 12   I can do the same thing with that and say counsel mentioned                           12   potential acquirer.      This is in May 2021 and he's updating a

 13   source code that's not in evidence.                                                   13   potential acquirer on the lawsuit and he's telling them that

 14               MR. BARNEY:     That would be appropriate was well.                       14   they received letters of intimidation from Tetra Tech such as

 15               THE COURT:    Okay.                                                       15   the one and he attached the letter.

 16                          (Side bar concluded.)                                          16               He wanted the acquirer to know that he was

 17               THE COURT:    Please proceed.                                             17   receiving the threatening letters.      And then he told them

 18               MS. LEA:     Okay.    So in the case of the three sales                   18   that we brought a lawsuit.     We brought a lawsuit to get a

 19   with CSX, you heard Brad Spencer tell you that Tetra Tech is                          19   determination that we do not infringe.

 20   just too expensive.      They had three proposals in the range of                     20               Who would bring a lawsuit to get a determination, a

 21   $4 to $5 million and Pavemetrics was $350,000.        Brad Spencer                    21   declaratory judgment that they do not infringe if they

 22   was buying five of these and that $25 million was too much.                           22   thought they infringed?      He believed he did not infringe.

 23   He didn't have the budget.        Even if he wanted to do it, he                      23   That negates indirect infringement and it negates their

 24   couldn't have bought it.                                                              24   willfulness allegations.     No one at Pavemetrics was trying to

 25               They could not -- Tetra Tech could never have made                        25   willfully infringe anyone's patents.      They always believed



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  1   they did not infringe these patents and they invested in this                         1                I know you'll do the right thing.    I appreciate

  2   lawsuit, brought this lawsuit to get a determination from                             2   your time.    Thank you very much.

  3   you.                                                                                  3                THE COURT:    Now, Mr. Barney will come up and give a

  4                Okay.   Now, this is another letter.    So, of course,                   4   rebuttal argument.

  5   CSX has attorneys and CSX inquired about the lawsuit.        So                       5                I just wanted to clarify a couple things, um, that

  6   Pavemetrics wrote to CSX and -- and expressed that we filed a                         6   came up in the closing argument.       There was some talk about

  7   lawsuit to show that the patents are not infringed.        To show                    7   this case is not about the three sales, it's about something

  8   that the infringement is without merit.                                               8   else.   This case is about the three sales.      You're here to

  9                Pavemetrics decided to stand up to the bully.        It                  9   decide infringement based on the sales that were made.       All

 10   decided not to back down.      They wanted to show it does not                       10   these, um, other things that counsel spoke about are not part

 11   infringe and that these patents are invalid.        And, of course,                  11   of this case and not relevant to your determination of

 12   it said to CSX's lawyer, you're welcome to call our                                  12   infringement.    You're to follow the law and the facts.

 13   attorneys.    You're welcome to call our attorneys and get any                       13                There was mention of subpoenas that went to other

 14   details about the case that you would like because they                              14   people.   That's got nothing to do with this case.     It's kind

 15   believed in their case.                                                              15   of improper to bring out that sort of thing in closing

 16                So I would ask you to please rule in Pavemetrics'                       16   argument.

 17   favor.    These patents are not infringed by Pavemetrics' sale                       17                Um, the other thing is there was some illusion to

 18   and they are invalid in view of Pavemetrics' early work.                             18   the fact that Ms. Lea had software code in her office that

 19                I want to thank you all very much.     And I want to                    19   could have been reviewed.       That's not in evidence either.

 20   ask you, Mr. Barney gets to go again and I do not.       So when                     20   That's not really relevant to what we're talking about here.

 21   he talks today for a few more minutes, think about what I                            21                Mr. Barney, you can do your rebuttal argument.

 22   would say in response.      Think about what our witnesses                           22                MR. BARNEY:    Hello, again, ladies and gentlemen.

 23   testified to.    When you're in the jury room, think about what                      23   I'm gonna keep this brief cause I know you're all eager to

 24   would Ms. Lea say if she were here.      What evidence would she                     24   get started with your deliberations.       So I want to respond to

 25   show us?     What testimony would she point out?                                     25   the validity issues that Ms. Lea talked about.



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  1                And if I could please start with Slide 42.                               1   word for it or anybody else's other than the Judge.

  2                You're gonna have these questions in your verdict                        2                The Judge has told you what prior art is and when

  3   form and these go to the question of whether or not                                   3   you're alleging that a public use is a prior art, that's

  4   Pavemetrics has proved by clear and convincing evidence that                          4   something that can invalidate a patent, there's a specific

  5   these various allegations that they've made render our                                5   test you have to pass.       An invention was publicly used when

  6   patents invalid.      And remember what they're asking you to                         6   it was either accessible to the public or commercially

  7   decide.                                                                               7   exploited.    That's what public use is.

  8                They want you to decide that the Patent Office made                      8                Now, there's another definition for an offer for

  9   a mistake.    After all of that examination by the expert                             9   sale that says it was either offered for sale -- excuse me.

 10   patent examiner that you saw on that patent video, they would                        10   It was offered for sale and what was offered was ready to be

 11   like you now to revoke those patents or at least the claims                          11   patented.    That means everything was put together in one

 12   of the patents based on their allegations of obviousness.                            12   package at the time of the sale and if they wanted to, they

 13                Remember their burden of proof is much higher than                      13   could have submitted that to the Patent Office and actually

 14   what we have on infringement.      You're gonna see that in your                     14   gotten the patent on it.      So keep those two standards in mind

 15   jury instruction.      It's called clear and convincing evidence.                    15   when you take a look at what they're asserting as their

 16   You have to be left with an abiding conviction that what                             16   obviousness combinations.

 17   they're saying is correct and that these patents are invalid.                        17                Next slide, please.    So what they call the UML sale

 18                Now, if you've had hard time following their                            18   and support is actually a collection of documents and that's

 19   invalidity arguments, you're not alone and it's not your                             19   fine they're allowed to do that.       They're allowed to take a

 20   fault.    I'd like to address a couple just problems with their                      20   collection of documents and say this is the evidence we're

 21   invalidity case at a high level.                                                     21   providing to you to show public use.       And so two of those

 22                If I could have the next slide, please.     The first                   22   documents are fine.       There's nothing wrong with them relying

 23   thing you need to look to in your jury instructions is what                          23   on an invoice.    That's perfectly fine.    There's nothing wrong

 24   is the definition of prior art.      You don't need to guess                         24   with them relying on a user manual.       That's perfectly fine.

 25   about it.    You don't need to take my word for it or Ms. Lea's                      25                But they're also trying to rely on these two



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  1   snippets of source code.    That was source code that was on                          1   actually got put on a railroad track and actually got put in

  2   somebody's computer at some time.    Um, one of them's undated.                       2   public use that the public could have access to.    They just

  3   The one on the right is completely undated so we actually                             3   didn't do it.

  4   don't know when it existed.     The one on the left has a date                        4              Dr. Hebert's the one that came the closest.      He

  5   of May 9, 2014.   But these source code snippets are really                           5   suggested well, I might have had some emails back in my

  6   important to their public use case because without the source                         6   office that might have had something to do with this, but

  7   code snippets, all you have is sensors.                                               7   they didn't put them in evidence.    You remember that?    He was

  8               All they sold to the University of Massachusetts                          8   asked, well, are they in evidence?    Where are they?     He said,

  9   were their old sensors.     These are just basic sensors that                         9   no, they're not in evidence.

 10   don't practice the claimed invention.     And so they're really                      10              And so ladies and gentlemen, all you have before is

 11   relying a lot on these snippets of source code.     The problem                      11   the documents they put in evidence.     And so I would encourage

 12   is there is no evidence, none, that that source code was                             12   you when you go back to the jury room and you start talking

 13   actually delivered to the University of Massachusetts Lowell,                        13   about invalidity, maybe the first thing you should do is just

 14   was actually put into a system for rail inspection and was                           14   look to see if you can find any evidence, anything at all,

 15   actually sent out on a railroad track and put in public use.                         15   any document that shows that that source code was actually in

 16               Remember the jury instruction we just looked at.                         16   public use; put into a system, put on railroad tracks and put

 17   There's got to be a public use.     There has to be a public                         17   in public use.   But don't spend too much time cause I can

 18   use.   Now, we know these source code snippets weren't made                          18   guarantee you, you're not gonna find anything.

 19   public.   All the witnesses said that.    So this is not an                          19              The next slide, please.    So these are not prior

 20   issue where the source code got published and was therefore                          20   art.   Now, even if you do assume that these are prior art for

 21   available to the public.                                                             21   the sake of argument, their combination has another problem.

 22               They're relying on public use and do that they have                      22   And that is when you combine them together, if I could have

 23   to come in with some sort of documentation that these source                         23   the next slide, they can't find everything they need in just

 24   code snippets actually made their way to the University of                           24   those four documents and that's why their expert, Dr. Frakes,

 25   Massachusetts, actually got loaded into a rail inspection,                           25   he keeps adding more and more documents.    And by the time he



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  1   gets to Claim 21, he's up to six documents.                                           1   or you may not because it went by so quickly that the only

  2               His idea is that a person of ordinary skill in the                        2   thing Dr. Frakes said about Claim 8 of the '557 patent, he

  3   art sitting there was going to find it obvious to reach out                           3   was asked one question about it.     Sir, is the patent invalid?

  4   to six different documents, including confidential source                             4   Yes.   Cause they were in a hurry at that time and they were

  5   code and put them all together into one sort of a pot and                             5   running out of time to put their evidence in.     That's it.

  6   stir it together and come up with our invention.     They're                          6   That's their invalidity case on Claim 8 of the '557 patent.

  7   allowed to argue that.     They're allowed to argue that.     It's                    7              Nevertheless, just to close the loop on it and make

  8   just you have to ask yourself is that really likely.        And                       8   sure nobody makes a mistake or misremembers, the other

  9   remember their burden of proof, clear and convincing                                  9   problem with their, uh, argument on Claim 8 of the '557

 10   evidence.   It's a very high burden.     So that's another                           10   patent is the prior art that they're relying on which is

 11   problem with their arguments.                                                        11   those four references that make up the prior use, even their

 12               The even bigger problem is on the next slide.         The                12   own expert Dr. Frakes admitted that that doesn't do removal

 13   even bigger problem is even if you were to combine all those                         13   of rail head.

 14   things together, as Dr. Morellas explained, the source code                          14              He said it right there on one of his

 15   and those documentations that they're relying on for their                           15   demonstratives, the UML system could extract the rail head

 16   public use didn't include the track generation limitation and                        16   creating an image with only the rail head.    Well, ladies and

 17   didn't include, uh, identifying a feature based on the track                         17   gentlemen, that's the opposite.    That's opposite of removing

 18   elevation map.                                                                       18   a rail head, and he's just asking you to take his word for it

 19               So even if you were to combine all that stuff                            19   that it would have been obvious for somebody to do the

 20   together and even if it were actually prior art which it's                           20   opposite of that.

 21   not, you still don't have the features and so it still                               21              He didn't show you one scrap of paper anywhere in

 22   wouldn't render it obvious.     That's another problem with                          22   the prior art where anybody ever did that.    And in fact,

 23   their, um, their obviousness argument.                                               23   there is no evidence that anybody ever did that before

 24               And since Ms. Lea did bring up Claim 8 of the '557                       24   Dr. Mesher.   So that's another big problem with their

 25   patent.   And I'll just mention to you, you may remember this                        25   invalidity case.



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  1                And the last thing I'll say is you have to apply                          1   the University of Massachusetts' research, and they were

  2   common sense.    You have to ask yourself before you -- before                         2   sitting telling themselves internally we don't yet have all

  3   you overrule the Patent Office so to speak, you have to ask                            3   the algorithms for automated distress analysis.        They didn't

  4   yourself does this make common sense?          If this were so                         4   have them.    It wasn't obvious at that time.

  5   obvious that a person would sit there back in 2015 and reach                           5                THE COURT:    Counsel, you've got 30 seconds.

  6   out and grab five or six references and put them together to                           6                MR. BARNEY:     You can trust me it would have been a

  7   arrive at the claimed invention, why didn't Pavemetrics do                             7   great slide, but that's what happens in litigation, you run

  8   it?   I mean, gosh, why didn't they do it?                                             8   out of time.

  9                And if you look at the time line, you start to see                        9                Ladies and gentlemen, it's been an honor to present

 10   another big problem with their case.       So they made their                         10   to you.    In your verdict form, the other piece of information

 11   first sale, it wasn't really an LRAIL by the way.         All they                    11   you're gonna have is the damages.       And just remember our

 12   did was sell their sensors to University of Massachusetts.                            12   damages expert was the only one who actually put a number on

 13   These are just the same sensors that are used for inspecting                          13   there.

 14   roads.   It wasn't actually an LRAIL at that time.        So they                     14                His number was, for lost profits, uh, it was

 15   made their sale of sensors in 2012 for use in research on                             15   $3,357,000 in lost profits and $250,000 for a reasonable

 16   rail systems.                                                                         16   royalty.     That is the only number anybody presented in this

 17                And then they didn't make another sale all the way                       17   case for appropriate damages and we ask that that be the

 18   until 2020.    And it is true that what Ms. Lea said that there                       18   damages you award.

 19   was a GREX litigation going on, and so that certainly could                           19                Thank you, again, ladies and gentlemen.

 20   have been part of the reason they weren't making sales.          I'm                  20                It's been an honor.

 21   not doubting her about that, but take a look at what they                             21                THE COURT:    Thank you, Counsel.

 22   were saying internally during that time period and ask                                22                Okay.   Now you are free to deliberate.     We're going

 23   yourself was it really obvious to them to reach out and grab                          23   to have the bailiff come and be sworn in.        He's gonna be your

 24   those five or six references and come up with our invention?                          24   bodyguard here while you're deliberating on the case and make

 25                In 2014 they were sitting around, this was after                         25   sure no one talks to you and tries to exert any undue



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  1   influence over the jury.                                                               1   the courtroom deputy and make sure he sends the right stuff

  2                THE CLERK:    Please raise your right hand.                               2   back there.

  3                               (Bailiff sworn.)                                           3                THE CLERK:    We are in recess.

  4                THE CLERK:     Please state your name for the record.                     4                              (Jury deliberates.)

  5                THE BAILIFF:    Gary Bolin B-o-l-i-n.                                     5                THE COURT:    So we have a note from the jurors.      Um,

  6                             (Jury not present.)                                          6   they have reached a verdict.       So we'll get them in here and

  7                THE COURT:    So I don't know how long the jury will                      7   see what they have to say.

  8   go today, but my typical practice is to allow them to stay as                          8                Anything we need to discuss before that?

  9   long as they want.      So if they decide they're gonna stay                           9                MS. LEA:     No, Your Honor.

 10   late, um, we're gonna stick around and let them deliberate.                           10                MR. BARNEY:     No, Your Honor.

 11   At some point, you know, we'll call it if it gets too late                            11                THE COURT:    Okay.   Let's get the jury in.

 12   and it looks like they're not going to come back today.                               12                               (Jury present.)

 13                If they don't come back, we'll start back up                             13                THE COURT:    Welcome back to the jurors.    Thanks

 14   tomorrow at 9:00.      So what I would say if you could stay                          14   again for all your hard work.       I understand the jury has

 15   within reach of the courtroom deputy this afternoon in case                           15   reached a verdict.      I'll ask the jury foreperson to please

 16   we get questions and things.       Just make sure if you're not in                    16   pass the verdict up to the courtroom deputy.

 17   the courtroom, we know how to get you back here in a few                              17                I'll ask the courtroom deputy to please read the

 18   minutes just so we don't need to keep them waiting.                                   18   verdict.

 19                Tomorrow, same thing.    Try to be within five                           19                United States District Court.

 20   minutes cause if we get a note and it takes, you know, a half                         20                Central District of California.

 21   hour for a party to come, it really drags out the process for                         21                Pavemetrics Systems, Inc. versus Tetra Tech, Inc.

 22   them.                                                                                 22                Case No. CV 21-1289.

 23                Okay.   We'll wait to see if we hear from the jury.                      23                Verdict form.

 24   Thank you.                                                                            24                Jury verdict.

 25                I'm sorry.     You've got to go over the exhibits with                   25                We the jury unanimously agree to the answers to the



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  1   following questions and return them under the instructions of                        1               Claim 21 of the '293 patent?

  2   this court as our verdict in this case.                                              2               Yes.

  3                Findings of Infringement Claim.                                         3               5.   Did Pavemetrics prove by clear and convincing

  4                A-1.    Did Tetra Tech prove by a preponderance of                      4   evidence that Claim 21 of the '293 patent would have been

  5   the evidence that Pavemetrics directly infringed any of the                          5   obvious to a person of ordinary skill in the art in view of

  6   following claims of the '293 patent by selling or offering in                        6   Pavemetrics' UML sale and support and/or UML-TRB2014 in

  7   the United States to CSX the laser rail inspection system                            7   combination with EC-TRB2014 and Gibert-Serra?

  8   LRAIL Claim No. 1 as to the '293 patent?                                             8               Yes.

  9                No.                                                                     9               B.   The '557 patent.

 10                A-2.    Claim 21 of the '293 patent?                                   10               6.   Did Pavemetrics prove by clear and convincing

 11                No.                                                                    11   evidence that Claim 8 of the '557 patent would have been

 12                B.    Induced Infringement.                                            12   obvious to a person of ordinary skill in the art in view of

 13                2.    Did Tetra Tech prove by a preponderance of the                   13   Pavemetrics' UML sale and support and/or UML-TRB2014?

 14   evidence that Pavemetrics induced AID to infringe Claim 8 of                        14               Yes.

 15   the '557 patent?                                                                    15               Dated August 24, 2022 and signed by the juror.

 16                No.                                                                    16               THE COURT:   Thank you.

 17                Finding of Invalidity Defenses.                                        17               Thank you to the jurors.   I appreciate your hard

 18                A.    The '293 patent.                                                 18   work in the case.    Thank you for helping us with this

 19                4.    Did Pavemetrics prove by clear and convincing                    19   process.    The parties certainly appreciate all of your hard

 20   evidence that the following claims of the '293 patent would                         20   work.   I'm gonna talk to the parties for just a minute or

 21   have been obvious to a person of ordinary skill in the art                          21   two, but sometimes they like to talk to the jurors after the

 22   and view of Pavemetrics' UML sale and support and/or                                22   case to see if you've got any information that you can convey

 23   UML-TRB2014 either alone or in combination EC-TRB2014.                              23   to them about your deliberation process.    If you want to talk

 24                Claim 1 of the '293 patent?                                            24   to the lawyers, um, they'll typically be outside the

 25                Yes.                                                                   25   courtroom here and they'd probably like to talk with you.       If



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  1   not, you're perfectly free to go.       They won't chase after you                   1               (Proceedings were concluded at 5:08 p.m.)

  2   or anything so it's completely up to you.                                            2

  3                With that I will thank the jury.     You are excused.                   3                         CERTIFICATE OF REPORTER

  4                               (Jury excused.)                                          4

  5                THE COURT:    Just briefly what are the parties'                        5   COUNTY OF LOS ANGELES       )

  6   thoughts on a schedule for post-trial motions?                                       6                               )   SS.

  7                MR. BARNEY:    Well, what is your normal practice,                      7   STATE OF CALIFORNIA         )

  8   Your Honor?                                                                          8

  9                THE COURT:    I'd like to give you enough time, but                     9   I, LAURA ELIAS, OFFICIAL REPORTER, IN AND FOR THE UNITED

 10   can we do it in two weeks?                                                          10   STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA,

 11                MR. BARNEY:    I think that might, uh, that's a                        11   DO HEREBY CERTIFY THAT I REPORTED, STENOGRAPHICALLY, THE

 12   little tight, but I think we can get that done, Your Honor.                         12   FOREGOING PROCEEDINGS AT THE TIME AND PLACE HEREINBEFORE SET

 13                THE COURT:    We could do it in three if you need                      13   FORTH; THAT THE SAME WAS THEREAFTER REDUCED TO TYPEWRITTEN

 14   more time.    Do you want three weeks?                                              14   FORM BY MEANS OF COMPUTER-AIDED TRANSCRIPTION; AND I DO

 15                MR. BARNEY:    Three might be a little better.                         15   FURTHER CERTIFY THAT THIS IS A TRUE AND CORRECT TRANSCRIPTION

 16                THE COURT:    Okay.   So we'll say post-trial motions                  16   OF MY STENOGRAPHIC NOTES.

 17   will be due in three weeks and then I'll ask the plaintiffs                         17

 18   for a proposed judgment to be filed.                                                18

 19                MR. RE:   Pardon me?                                                   19   DATE:   AUGUST 27, 2022_________

 20                THE COURT:    I'll ask you to submit a proposed                        20

 21   judgment.                                                                           21       /s/    LAURA MILLER ELIAS

 22                MR. RE:   Oh yes, Your Honor.                                          22   LAURA MILLER ELIAS, CSR 10019

 23                THE COURT:    I'll let you go for now.   You probably                  23   FEDERAL OFFICIAL COURT REPORTER

 24   want to talk to the jurors.        Thanks.                                          24

 25                THE CLERK:    This court is adjourned.                                 25



                           UNITED STATES DISTRICT COURT                                                           UNITED STATES DISTRICT COURT




                                                                              Exhibit 5
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